Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 1 of 67 PageID# 21




         EXHIBIT A
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 2 of 67 PageID# 22

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     United States Patent [wi                                              [111    Patent Number:                        5,811,447
     Kunz et al.                                                           [45]    Date of Patent:                  Sep. 22,1998

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     U.S. Patent               Sep. 22, 1998      Sheet 1 of 21   5,811,447




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                 fte?;

                 IB




                                               FIG. 1A
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 9 of 67 PageID# 29



     U.S. Patent         Sep. 22,1998     Sheet 2 of 21       5,811,447




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Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 10 of 67 PageID# 30



     U.S. Patent           Sep. 22,1998           Sheet 3 of 21                    5,811,447



                           0     SUCCINIC
                           1   ANHYDRIDE,
                       O'^ NEtj, DMAP
                                CH2CI. RT




                                                             COOH


              RORIDIN A                             RORIDIN A HEMISUCCINATE
                  1                                                       2




                                                                         07 Q
                                                         \
                                                                         Z    0
               NHS, DCC                                      0
                                                  0-^                         H
               CH2CI, RT                                                 0,
                                                  0^'"
                                          0
                                                                     0            OH
                                              \                               H

                                                  CO-O-N
                                                                     r
                                                                     0
                                RORIDIN A HEMISUCCINYL SUCCINIMIDATE
                                                   (RA-HS-NHS)
                                                                 3




                                  FIG. 2
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 11 of 67 PageID# 31



     U.S. Patent                   Sep. 22,1998            Sheet 4 of 21                        5,811,447


                                                                                                 ACATIC
                       ^           9         TBDMS-CI,                       7v7 0             ANHYDRIDE,
                                             IMIDAZOLE.                              jl        TEA. DMAP.
               \               0    ^         nMF. RT             \             0^ CH2CI2.RT
           0=-^
                   0

                        ,0
                               H
                                    /
                                                           0^
                                                                      0
                                                                                h/                        ^
                                                          HO^^'
                                                                               x's
                                        OH                                         0-TBDMS
                               H                                                H
            RORIDIN A
                   1


                                                                                                SUCCINIC
                                                                                      ^        ANHYDRIDE.
                                                  TBAF,                       0/0 tea. DMAP.
                                                   THF,
                                                     RT
                                                                                                CH2CI2.RT
                                                                                 ^        II              ^

          CH3C00^'                                   CH3COO

                                             0-TBDMS
                                         H




                        ,0. .H                                              0..H




          CH3COO                                        CH3COO


                                                                                                          0

                                              r
                                              COOH                                             CO-O-N
            RORIDIN A HEMISUCCINATE                                                                       r
                           7                                 RORIDIN A HEMISUCCINYL                       q
                                                                          SUCCINIMIDATE
                                                                          (RA-HS-NHS)
                                              FIG. 3                             8
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 12 of 67 PageID# 32



     U.S. Patent                       Sep. 22,1998              Sheet Sof 21               5,811,447

                    1 -q       KINETICS OF NRAN01 ON A375m/m
           o
           a>


           in

                                                                                   •  5 MIN
           V)                                                                      ♦ 15 MIN
           m
           <                                                                       • 30 MIN
                                                                                   o 60 MIN
                   .01         ~i—I I I I 1111   1—I I I I n n     1—I I I II111   1 I I I I 1111
                         .01                .1               1               10              100
                                                 ug/ml NRAN01

                                                    FIG. 4A




                     1 ri        KINETICS OF NRAN01 ON B054
               o
               o»

               lO
                    .1-
                                                                                   •  5 MIN
               V)                                                                  ♦ 15 MIN
               m
               <                                                                   • 30 MIN
                                                                                   o 60 MIN
                    ,01       1—I—I 11II i|—1—I—I 11111] I I I 11111| I I                       I
                          .01            .1            1           10                          100
                                                  ug/ml NRAN01

                                                     FIG. 4B
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 13 of 67 PageID# 33



     U.S. Patent                 Sep. 22,1998            Sheet 6 of 21         5,811,447

               110^ 24 HOUR RORIDIN A-o/n RECOVERY ON B054
               100-

               90-
          -J
          O
          ^80-
                                                                   • NRAN01-RA
          8 70-                                                    ♦ FREE RA


               60-

               50 ^

                40      MM ini| I I I I iin| I I I I iin| rmrmi i i i» mii|
                 .0001       .001       .01         .1         1         10   100
                                    ug/ml OF RORIDIN A

                                          RG. 5A




                     24 HOUR EXPOSURE OF NRANOI-RA-o/n
               120-, RECOVERY ON B054, HT29, Ml4
                100-      9*9                            • B054-NRAN01-RA
                                                         ♦ HT29-NRAN01-RA
              §80-                                       • M14-NRAN01-RA

              8 60-
                40-

                20         I I I 11 lll| I I I I I lll| mm MII| I 11 iiiii|
                     .0001          .001            .01     .1            1

                                    ug/ml OF RORIDIN A

                                            FIG. 5B
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 14 of 67 PageID# 34



     U.S. Patent                          Sep. 22,1998                 Sheet 7 of 21                  5,811,447


               120-n
                               24 HOUR EXPOSURE OF NRAN01-PE-o/n
                               RECOVERY ON B054. HT29. Ml4
                                                                                         o B054
               100-
                                                                                         ♦ HT29
               80-                                                                       • M14
          -J
          o
          a:
          •


          z
           o
           o   40-

               20                  I I I I I lll|—I I I I I lll{       I I I I Mll|    I I I I I lll|
                        .001                 .01              .1                 1                 10

                                                    ug/ml PROTEIN

                                                     FIG, 6A




                         1




                    o
               CO                  24 HOUR EXPOSURE OF PE-o/n
                                   RECOVERY ON B054, HT29, Ml4
                                                                                            •   B054
                                                                                            ♦ HT29
                                                                                            •   M14


              q: 60-




                                    I I I mill       I I I mm           I I I iiiii|    I
                             .01               .1                  1             10
                                                    ug/ml PROTEIN

                                                      FIG. 6B
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 15 of 67 PageID# 35



     U.S. Patent                  Sep. 22,1998             sheets of21         5,811,447

                        5 MIN. RORIDIN A, DIRECT
                        [3H]L£UCINE-4 HOURS ON HT29
             100-
                                                              •   FREE RA
              80-                                             A 2'RA-NRAN01
                                                              • 13'RA-NRAN01
           S 60 J
            8 ^0
              20-

               0        I I I mill I I I iiiiil I I I
                   .001         .01          .1                      1
                                 ug/ml OF RORIDIN A

                                      RG. 7A




                         5 MIN. RORIDIN A, o/n RECOVERY.
              120-1 [3H]LEUCINE-4 HOURS ON HT29
               100-
                                                                  o FREE RA o/n
               80-                                                * 2'RA-NRAN01 o/n
                                                                  • 13'RA-NRAN01 o/n
             2 60-
             8 40-
             ^20-
                   0         I I I I I lll|    MM I lll|
                       001              .01           .1
                                  ug/ml OF RORIDIN A

                                              FIG. 7B
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 16 of 67 PageID# 36



     U.S. Patent              Sep. 22,1998          Sheet 9 of 21      5,811,447

                     5 MIN. RORIDIN A. DIRECT.
                     [3H]LEUCINE-4 HOURS ON A375m/m
             100-
                                                      • FREE RA
              90-                                     • 2'RA-NRAN01
                                                      A 13'RA-NRAN01
           S 80^
           O
           o
             70-

              60-

              50     I I I I Illl|—I 1 I 1I IIT| I I I I I mi
                .001            .01           .1            1
                            ug/ml OF RORIDIN A

                                RG. 7C




                      5 MIN. RORIDIN A. RECOVERY,
                      [3H]LEUCINE-4 HOURS ON A375m/m
              100-
                                                       o FREE RA o/n
                                                       • 2'RA-NRAN01 o/n
            (K 60-
                                                       * 13'RA-NRAN01 o/n




                          I III iiii|—I I I I mil VI I III ,
                   .001           .01          .1               1
                             ug/ml OF RORIDIN A

                                    FIG. 7D
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 17 of 67 PageID# 37



     U.S. Patent                     Sep. 22,1998         Sheet 10 of 21             5,811,447




           120-       5 MIN. RA-48HR. RECOVERY ON B054
           100-                 *—*


               80-

         §60-                                                        o FREE RORIDINE A
                                                                     ♦ .NRAN01-2'RA
          8 40-                                                      • NRAN01-13'RA

          ^ 20 J
               0           I I I I iiii| I I I I iiii| I I I mill I I I Iiii'l
                   .0001             .001      .01       .1                 1
                                       ug/ml OF RORIDIN A

                                                FIG. 8A




               120^ 5 MIN. RA-48HR. RECOVERY ON A375m/m
               100-              m    m     m
                                                                       • FREE RORIDINE A
                                                                       ♦ NRAN01-2"RA
               80 J
                                                                       • NRAN01-13'RA
          S 60^
           i
               20-


                            I I I MINI I I I MINI I M I llll{ I I I I IIM|
                    .0001            .001           .01         .1               1
                                       ug/ml OF RORIDIN A

                                                FIG. 8B
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 18 of 67 PageID# 38



     U.S. Patent                 Sep. 22, 1998           Sheet 11 of 21             5,811,447




            120n      5 MIN. RA-48HR. RECOVERY ON HT29

             100-
                                                                        •   FREE RORIDINE A

             80-                                                        ♦ NRAN01-2'RA
                                                                        • NRANOl-I^RA
           2 60-
           8 40-
             20-

              0           Mill lll|—I I I I llll|      MM I lll|    I I I I I IM|
                  .0001          .001            .01           .1              1
                                   ug/ml OF RORIDIN A

                                          FIG. 8C
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 19 of 67 PageID# 39



     U.S. Patent         Sep. 22,1998     sheet 12 of 21       5,811,447




                                              mi




                                  RG, 9A
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 20 of 67 PageID# 40



     U.S. Patent         Sep. 22, im      sheet o of 21        5,811,447




                             FIG. 9B
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 21 of 67 PageID# 41



     U.S. Patent             Sep. 22, 1998          Sheet 14 of 21                  5,811,447

                CYTOTOXICfTY OF SURAMIN AT 24HR. ON PSMC



                                                                       •       LEUCINE
                                                                       ♦ THYMIDINE
       a: 60




                  Mil I lll| 1 I I I I111] MM I lll| I I I
                           1            10      100        1000
                                     ug/ml

                                 FIG. 10A




                          CYTOTOXICITY OF STAUROSPORIN
                          AT 24HR. ON PSMC
               lOO-n
                                                                           •    LEUCINE
               80-1
                                                                           ♦ THYMIDINE
           ^60-
           I 40-
               20^

                       11 nnm 11 mm 111 uiii| 111 iiiiiT 111mm 11 mini i m i
                   10~^ 10 ^ 10°              10^       10'      10^           10      10^

                                             ng/ml

                                       FIG. 10B
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 22 of 67 PageID# 42



     U.S. Patent             Sep. 22, 1998            Sheet 15 of 21              5,811,447

                          CYTOTOXICITY OF NITROGLYCERIN
                          AT 24HR. ON PSMC

                                                                    •   LEUCINE
                                                                    ♦ THYMIDINE




                                    FIG.       10C




                          CYTOTOXICITY OF CYTOCHALASIN B
              120-=-      at 24HR. ON PSMC
              100-P


                                                                •   LEUCINE
                                                                ♦ THYMIDINE




                       11 iiiiiii 111 mill 111 mill
                 .001       .01        .1                  10       100
                                            ug/ml
                                     FIG.       10D
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 23 of 67 PageID# 43



     U.S. Patent         Sep. 22,1998      sheet 16 of 21     5,811,447




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                                        RG. 11
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 24 of 67 PageID# 44



     U.S. Patent         Sep. 22,1998     Sheet 17 of 21      5,811,447
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 25 of 67 PageID# 45



     U.S. Patent         Sep. 22,1998     Sheet 18 of 21      5,811,447




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                                   no. 13
                                                                    C3

           PERCENT CHANGE IN LUMINAL AREA RATIO (TREATED/NORMAL)
        IN PIG ARTERY (N=4) 3 WEEKS POST-CYTOCHALASIN B TREATMENT
      200                                                           ft
a:
<     180 H
<
      160-
z
      140-                                                          CZ}
z
z>    120-                                                          •p

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V)     80-                                                          oc
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o     -40-
6$    -60
                0.00     0.01    0.10     1.00    1o.'oo
                   TREATMENT DOSE (ug/ml)
                                                                     (/I
                                                                     QC

                          FIG. 14
                                                                     <1
                                                                           Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 26 of 67 PageID# 46
                                                           d


                                                           hd
                                                           1-^


                                                           9

                   TAMOXIFEN   HEPARIN


                                                           zn
                                                           n
                                                           V
                                                           hi

 Lp(a)                                   VASCULAR SMOOTH
         PLASMIN         TGF-BETA         MUSCLE CELL
                                                           <x
apo(a)                                    PROLIFERATION


                                                           sr
                                                           «


                         TGF-BETA                          IsJ
                                                           O
                        NEUTRALIZING                       o

                          ANTIBODY                         to




                      no. 15
                                                               in
                                                               QC




                                                               <1
                                                                    Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 27 of 67 PageID# 47
                                                                                     C
                                                                                     CZl




                                                                                     ft
              PLATELET DERIVED
               GROWTH FACTOR


                                                                                     CZJ
                                 PROLIFERATING                     CONTINUAL
   RESTING                  ,
                                                                                     V
                                 SMOOTH MUSCLE                PROLIFERATING SMOOTH
SMOOTH MUSCLE.
    CELLS                            CELLS                        MUSCLE CELLS
                     /                               A
                                                                                     00
                   V
                                                  AUTOCRINE
              FIBROBLAST                           GROWTH
            GROWTH FACTOR                                                            C/3
                                                   FACTOR                            sr
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                                       TGF-BETA          SMALL MOLECULE
                                     (ACTIVE FORM)          INHIBITOR



                                  FIG. 16                                             in
                                                                                     SJ

                                                                                      QC


                                                                                      4^

                                                                                      <I
                                                                                           Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 28 of 67 PageID# 48
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 29 of 67 PageID# 49



                                                             5,811,447
                                  1                                                                    ^
         THERAPEUTIC INHIBITOR OF VASCULAR                            adouble balloon cathelcr, i.e., for regional delivery of the
                   SMOOTH MUSCLE CELLS                                therapeutic agent at the angioplasty site (e g 8; U.S. Fat.
                                                                      No. 4,824,436), and by using biodegradable materials
        niis is acontinualioD oEappUcation Scr. No. 08/062,451        imprecated with adrag ix. to compet^te for problems of
     filed May 13,1993 now abandoned which is acontinuation 5 short half-hfe (e.g., 9, U.S. Pat. No. 4,9-9,60-).
     in part of08/011,669 filed Jan. 28, 1993 now abandoned.               Verrucarins and Roridins are trichotherene drags pro
                                                                      duced as secondary metabolites by the soil fungi Myroth-
                   FIELD OF THE INVENTION                             eciiun verrucaria and Myrotheciutn roridium. Vemicarin is
       _ . .       .    ,,       ,1 . .u                              a raacrocyclic triester. Roridin is a macrocyclic diester of
       niis invention relat^ generally to taapeutic m^hods                  {(10). As agroup, the trichothcceoes are structur-
     involving surgical or intravenous roduction of bmdmg                    J sesquiter^noid mycotoxins produced by
     partner directed to certain targe ceU populations ^ch as        V                          characterized by the 12,13-
     smootb muscle ee ls, cancer cclls, somatic celb^iog                 rtcto.hec.9-e„e Liestracture. Theircytotoxicaeliv.
     modulation to amehorate adisea^ state and eBfeclor ^Us of P                                  <,„„elated with their ability
     the immune system particulYly for treating randitions s^h ^^            ^            internalized, and to inhibit protein
     as stenosis following vascular trauma or disease, cancer,    i" y*""
     Lases resulting bcm hyperactivity or hyperplasia of and macromolecular synthesis i„ he cell
     somatic ceUs and diseases that are mediated by immune                 At least five considerations would, on their face, appear to
     system effector cells. Surgical or intravenous introduction of   preclude use of inhibitory drugs to prevent stenosis reciting
     active agents capable of altering the proliferation or migra-    from overgrowth of smooth muscle cells. First^, inhibitory
     tionofsmooth muscle cells orcontraction ofsmooth muscle " agents may have systemic toxicity that rould create an
     proteins is also described. The invention also relates to the    unacceptable level of risk for patients with cardiova^ular
     direct or targeted delivery of therapeutic agents to vascular    disease. Second, inhibitory agents might interfere with v^-
     smooth muscle cells that results in dilation and fixation of     cular wound healing following surgery and that could either
     the vascular lumen (biological stenting effect). Combined delay healing or weaken the structure or elasticity of the
     administration of a cytocidal conjugate and a sustained " newly healed vessel wall. Third, inhibito^ agents falling
     release dosage form of a vascular smooth muscle cell smooth muscle cells could damage surroundmg endothehum
     inhibitor isalso disclosed. Mechanisms for in vivo vascular      and/or other medial smooth muscle cells. Dead and dying
     smooth muscle cell proliferation modulation, agents that         cells also release mitogenic agents that might stimulate
     impact those mechanisms and protocols for the use of those       additional smooth muscle cell proliferation and exacerbate
     agents are discussed.                                            stenosis. Fourth, delivery of therapeutically effective levels
                                                                      of an inhibitory agent may be problematic from several
               BACKGROUND OFTHE INVENTION                             standpoints: namely, a) delivery of a large number of mol-
        „     ,       .1-1                           rDTr^A\          eculesinto the intercellular spacesbetween smooth muscle
        PeKutaneous   translummal eomnary angioptety ^CA)                   ^ necessaiy, i.e.. to esubUsh favorable conditions
      IS widely used as the primary treatment m^^ity in m^ 35                   J                 efecUve dose of molecules to
      patients with coronary artery di«^. PTCA can rehe^                       membrane; b) directing an inhibitoo- drug into
      myocardial ischemia in patients with coronary                          imracellular compartment, i.e., where its action is
      by reccing luinen obstracuon and improvmg coronary                J J     ^                               optimizing the
                                      '"'T ToJf^TltTS                 associaionitheinhibitorydragwilhitsintraceUularlarget,
      C
      500,000                               HK ,0^ i^Wem
                                                   n •> ?,            tiin ofbecauJeLooth
                                                                      F®h,    the drug, e.g. tomuscle
                                                                                                neighboring  cells, may betakes
                                                                                                      cell proUferation      difficult.
                                                                                                                                 place
      Steals following nCA remans a sigruflcanl problem               over several weeks it would appear apriori that the inhibi-
      wilh from 25% to35% ofthe patients deve oping rest™os.s                                       administered over several weeks,
      withm 1 to 3 months. Restenosis results ^gniflcant „                                                 , beneflcial effect,
      morbidity and mortality and frequently necessitates further      F      P                    f
      interventions such as repeal angioplasty or coronary bypass        As is apparent from the foregoing, many problems remam
      surgery. No surgical intervention or post-surgical treatment     to be solved in the use of inhibitory drugs, including
      (to date) has proven effective in preventing restenosis.         cytotoxic agents, to effectively treat smooth muscle cell
        HeprocessesresponsibleforstenosisafterPTCAarenot so P-oUfe^'ion- Hwould be ^SWy advantageous to
      comptaely understLl but may result from acomplex                      ""tods or "^iWing ste^^
      interlay among several different biologic agents and path-       v^^cu ar smooth muscle cells foltow ng raumat cmw to
      wasi 4wed in histological sections, restenotic lesions                  such as occurs durmg v^lar suige^ In addm^^^
      may have an oveigrowth of smooth mu^le                 in the

      suggested, (1,
                 ^1 ^ 4, ^                                             releaseconditions
                                                                               compounds   wouldthealso
                                                                                         where          be useful
                                                                                                     target        mthe treatment
                                                                                                            cell population        of
                                                                                                                            is acces-
        Cotnpounds that reiMrtedly suppress smooth rnusde pro-                  ^ administration.
      liferation m vitro (4, 6, 7) may have undesirable phanma-                   ^
      cological side effects when used in vivo. Heparin is an 60                      SUMMARY OFTHE INVENTION
      example of one such compound, which reportedly inhibits
      smooth muscle cell proliferation in vitro but when used in    In one aspect ofthe invention, new therapeutic methods
      vivo has the potential adverse side effect of inhibiting and therapeutic conjugates are provided for inhibiting vas-
      coagulation. Heparin peptides, while having reduced anti- cular smooth muscle cells in amammalian host. The thera-
      coagulant activity, have the undesirable pharmacological 65 peutic conjugates contain avascular smooth muscle binding
      property of having a short pharmacological half-life. protein or peptide that binds in aspecific manner to the cell
      Attempts have been made to solve such problems by using membranes of avascular smooth muscle cell or an intersti-
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 30 of 67 PageID# 50



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                                  3                                                               ^                        .
     tial matrix binding protein/peptide thai binds in aspecific       iting vascular smooth muscle cells in a mammalian host
     manner to interstitial matrix (e.g., collagen) of the artery      employing atherapeutic agent that inhibits the activity ofthe
     wall coupled to atherapeutic agent that inhibits the activity     cell (e.g., proliferation contraction, migration or 'h® hke)
     ofthe ceU In one embodiment, inhibition ofceUular activity        but does not kill the eel
     results in reducing, delaying, or eliminating stenosis after 5 muscle ceU bmding protein. Also, the methods and do^ge
     angioplasty or other vascular surgical procedures. The thera- forms of this aspect of the present invention are usefol for
     peutic conjugates of the invention achieve these advanta- inhibiting target cell proliferation or falling such target cells
     geous effects by associating with vascular smooth muscle employing atherapeutic agent that inhibits Proliferation or is
     Sk and pericyles, which may transform into smooth cytotoxic to the target cells and, optionally, atarget cell
     muscle cells. The therapeutic conjugate may contain; (1) 10 binding protein. In addition, the methods and dosage forms
     therapeutic agents that alter cellular metabolism or are of this aspect of the present mvention are useful for deliv-
     inhibitors of protein synthesis, cellular proliferation, or ceU ering cytostatic, cytoc.dal or
     migration; (2) microtubule and microfilament inhibitors that peutic agents to target cells, such as effec or cells of the
     affect morphology or increases in ceU volume; and/or (3)
     inhibitors of extraceUular matrix synthesis or secretion. In
                                                                        immune system, that are accessible by local admmistration
                                                                        of the dosage form optionally employing » target cell
     one representative embodiment, the conjugates include a binding protem. Finally, dosage foiras f
     cytotoxic therapeutic agent that is asesquiterpenoid myc-          tion are useful to r^uce or          PJ
     otoxin such as averrucarin or aroridin. Other embodiments          tion or hyperactivity of normal tissue (i.e., somatic wlls)
     involve cytostatic therapeutic agents that inhibit DNA syn-           The dosage forms of the present invention are preferably
     thesis and proliferation at doses that have aminimal effect 20 either non-degradable microparticulates or nanoparticulates
     on protein synthesis such as protein kinase inhibitors (e.g., or biodegradable microparticulates or nanoparticulates.
     staurosporin), suramin, transforming growth factor-beta More preferably, the microparticles or nanoparticles are
     (TGF-beta) activators or production stimulators such as formed of apolymer contaimng rnatrix that biodegrades by
     trans-2-[4-(l,2-diphenyl-l-butenyl)phenoxy]-N,N- random, nonenzymatic, hydrolytic scissioning. Aparticu-
     dimethylethylamine (tamoxifen), TGF-beta itself, and nitric 35 larly preferred structure is formed of amixture of thermo-
     oxide releasing compounds (e.g., nitroglycerin) or analogs plastic polyesters (e.g., polylactide or polyglyc^ide) or a
     or functional equivalents thereof. Other moieties that inhibit copolymer oflactide and glycolide components. The lactide/
     cell division and are, therefore, useful in the practice ofthe glycoUde structure has the added advantage that biodegra-
      present invention, include, for example, taxol and analogs        dation thereof forms lactic acid and glycolic acid, both
      thereof such astaxotere. Inaddition, therapeutic agents that 30 normal metabolic products of mammals.
      inhibit the contraction or migration ofsmooth muscle cells        Preferable therapeutic agents dispersed within the micro-
      and maintain an enlarged luminal area following, for              particulates or nanoparticulates are those exhibiting inhibi-
      example, angioplasty trauma (e.g., the cytochalasins, such as     tion ofatherapeutically significant target cell activity with-
      cytochalasin B, cytochalasin C, cytochalasin D, taxol or          out killing the target cell, or target cell killing activity. For
      analogs thereof such as taxotere or the like) are also con- 35    treatment of restenosis ofvascular smooth mu^le cells,
      templated for use in accordance with the present invention.       useful therapeutic agents inhibit target cell activity (e.g..
      Other aspects of the invention relate to vascular smooth          proliferation or migration) without killing the target cells,
      muscle binding proteins that specifically associate with a        Preferred therapeutic moieties for this purpose are protein
      chondroitin sulfate proteoglycan (CSPG) expressed on the          kinase inhibitors (e.g., staurosporin or the like), TGF-beta
      membranes of a vascular smooth muscle cell, and in a 40 production or activation stimulators, such as tamoxifen or
      preferred embodiment this CSPG has amolecular weight of           TGF-beta itself, taxol or analogs thereof (e.g., taxotere),
      about 250 kDaltons. In preferred embodiments the vascular smooth muscle migration and/or contraction inhibitors (e.g.,
      smooth muscle binding protein binds to a CSPG target on   the cytochalasins, such as cytochalasin B, cytochalasin C,
      the cell surface with an association constant of at least cytochalasin D or the like), suramin, and nitric oxide-
      10"''M. In another preferred embodiment, the vascular 45 releasing compounds, such as nitroglycerin, or analogs or
      smooth muscle binding protein contains a sequence of functional equivalents thereof. In cancer therapy, useful
      amino acids found inthe Fab, Fv orCDR (complementarity             therapeutic agents inhibit proliferation orare cytotoxic to the
      determining regions) ofmonoclonal antibody NR-AN-01 or             tai^et cells. Preferred therapeutic moieties for this purpose
      functional equivalents thereof.                                    are TGF-beta production or activation stimulators, such as
         Other aspects of the invention include methods for inhib- 50    tamoxifen or TGF-beta itself, taxol or analogs thereof (e.g.,
      iting stenosis, e.g., following angioplasty in a mammalian         taxotere), Roridin Aand Pseudomonas exotoxin, or analogs
      host, by administering to ahuman or animal subject in need         or functional equivalents thereof. For treatnient of immune
      of such treatment a therapeutically effective dosage of a          system-modulated diseases, such as arthritis, useful thera-
      therapeutic conjugate of the invention. In one representative      peutic agents deliver cytostatic, cytocidal or metabolism-
      embodiment, the dosage of therapeutic conjugate may be 55 modulating therapeutic agents to target cells that are acces-
      administered with an infusion catheter, to achieve a KT^M   sible by local administration ofthe dosage form. Preferred
      to        concentration ofsaid therapeutic conjugate at the therapeutic moieties for this purpose are Roridin A,
       site ofadministration in a blood vessel.                          Pseudomonas exotoxin, suramin, TGF-beta production or
          The present invention also contemplates therapeutic activation stimulators, such as tamoxifen or TGF-beta itself,
       methods and therapeutic dosage fomis involving sustained 60 taxol or analogs thereof (e.g., taxotere) and protem kinase
       release of therapeutic agent to target cells. Preferably, the inhibitors (e.g., staurosporin), sphmgosme, or analog or
       target cells are vascular smooth muscle cells, cancer cells, functional equivalents thereof. For treatment of pathologi-
       somatic cells requiring modulation to ameUorate adisease cally proliferating normal tissues (e.g., proliferatiye
       state and cells involved in immune system-mediated dis-           vitreoretinopathy, corneal pannus and the like), anti-
       eases that are accessible by local administration of the 65 proUferative agents or antunigration agents are preferred
       dosage form. Consequently, the methods and dosage forms (e.g., cytochalasins, taxol or analogs thereof somatostatin,
       of this aspect of the present invention are useful for inhib- somatostatin analogs, N-ethylmaleimide, antisense
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 31 of 67 PageID# 51



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                                 5                                                                         '
     olieonucleotides, TGF-beta production or activation                     destroy proliferating vascular smooth muscle cells involved
     stimulators,
     ^ \          such as tamoxifen or TGF-beta itself and the               in vasculararteromyectomy
                                                                             biological stenosis. The mitogenic  agents released
                                                                                                          are prevented          after this
                                                                                                                         from stimulatmg
       lie dosage forms of the present invention are optionally              the remaining viable vascular smooth muscle celk to pro-
     targeted
     protein ortopeptide.Prefened
                   arelevant targetbinding
                                    ceU population   by a binding
                                           proteins/peptides of the 5 liferate and restenose
                                                                      anti-rantraction        the vessel orby anti-proliferative
                                                                                        (anti-mi^ation)       admmistration ofsus-
                                                                                                                                 he
     present invention are vascular smooth muscle cell binding               tamed release agents of the present inv^tion.
     protein, tumor cell binding protein and immune system                     TGF-beta, TGF-beta activator and JGF-beta production
     eflfector cell binding protein. Preferred vascular smooth               stimulator sustamed release dosage forms of the present
     muscle cell binding proteins specifically associate with a jq invention may be employed in the prevention or treatment ot
     chondroitin sulfate proteoglycan (CSPG) expressed on the conditions characterized by inappropriate proliferation of
     membranes of a vascular smooth muscle cell, and in a                    smooth muscle cells, such as the prevention or reduction of
     preferred embodiment this CSPG has a molecular weight of                restenosis following angioplasty or other vascular trauma,
     about 250kDaltons. Inpreferred embodiments, theva^lar                   TGF-beta or such TGF-beta activators and production
     smooth mascle binding protein binds to a CSPG target on                 stimulators inhibit abnormal proliferation of smooth muscle
     the cell surface with an association constant of at least                     ^ preferred TGF-beta activator/production stimulator
              In other preferred embodiments, the vascular                             2-[4-(l,2-diphenyl-l-butenyl) phenoxy-N,N-
     smooth muscle binding protein contains a sequence of                    dimethylethylaraine.
     amino acids found in the Fab, Fv orCDR                       'y            The amount ofTGF-beta, TGF-beta activator orTGF-beta
     determining regions) of monoclonal antibody NR-^-Ol or                               stimulator therapeutic or prophylactic agent
     tocuonal ^mviJenls               O preferred                       -»                              release dosage forms isseleaed Ic
     tides useful in this embodiment of the present mvention                                             j
     include those that localize to intercellular stroma and matrix          treat vascular trauma of
     located between and among vascular smooth muscle cells.                 doses bemg sufficient to treat lesser vascular trauma such as
     Preferred binding peptides of this type are specifically                in the prevention of va^ular rejection following graft or
     associated with collagen, reticulum fibers or other intercel- 25 transplant. Such dosage forms are also amenable to chronic
     lular matrix compounds. Preferred tumor cell binding pro- use for prophylactic purposes with respect to disease stales
     teins are associated with surface cell markers expressed by involving proliferation ofva^ular smooth muscle cells over
     the target tumor cell population or cytoplasmic epitopes time (e.g., atherosclerosis, coronary heart disease,
     thereof. Preferred immune system-modulated target cell thrombosis, myocardial infarction, stroke, smooth muscle
     binding proteins are associated with cell surface markers of 30 neoplasms such as leiomyoma and leiomyosarcoma of the
     the target immune system effector cells or cytoplasmic bowel and uterus, uterine fibroid or fibroma and the like),
     epitopes thereof. Binding peptides/proteins ofthe present For the prevention/treatment of restenosis, for example, a
     invention also target pathologically proliferating normal large dose (optionally, in sustained release form) is admin-
      tissues.                                                               istered before orduring an angioplasty procedure, followed
        The present invention also provides therapeutic methods 35 by a sustained release dosage form designed to release
      and therapeutic dosage forms involving administration of               smaller, follow up doses over time to maintain an anti-
      free (i.e., non-targeted or non-binding partner associated)            proliferative effect for a time sufficient to substanUally
      therapeutic agent to target cells. Preferably, the target cells        reduce the risk of or prevent restenosis. Apreferr^ thera-
      are vascular smooth muscle ceUs and the therapeutic agent               peutic protocol duration for this purpose isfrom about 3 to
      is an inhibitor of vascular smooth muscle cell contraction, 40 about 26 weeks.
      allowing the normal hydrostatic pressure to dilate the vas-               Further provided is a method for upregulating cellular
      cular lumen. Such contraction inhibition may be achieved by             mRNA coding for TGF-beta. Cells (e.g., smooth muscle
      actin inhibition, which ispreferably achievable and sustain-            cells) amenable to such metabolic manipulation are identi-
      able at a lower dose level than that necessary to inhibit               fied in the manner described herein and are exposed to
      protein synthesis. Consequently, the vascular smooth muscle 45 sustained release formulation of an effective amount of a
      cells synthesize protein required to repair minor cell trauma TGF-beta mRNA regulator (i.e., asubset ofTGF-beta pro-
      and secrete interstitial matrix, thereby facilitating the fixa-         duction stimulators). In this manner, TGF-beta production is
      tion ofthe vascular lumen ina dilated state near itsmaximal             stimulated, thereby inhibiting the abnormal proliferation of
      systolic diameter. This phenomenon constitutes a biological   smooth muscle cells.
      stenting effect that diminishes or prevents the undesirable 50 Free TGF-beta, TGF-beta production stimulator or TGF-
      recoil mechanism that occurs inupto25% ofthe angioplasty                beta activator may beemployed incombination protocols to
      procedures classified as successful based on an initial post-           prevent or combat conditions characterized by abnormal
      procedural angiogram. Cytochalasins (which inhibit the        proliferation of smooth muscle cells. In one such protocol,
      polymerization of G- to F-actin which, in turn, inhibits the  systemic TGF-beta orTGF-beta activator orTGF-beta pro-
      migration and contraction ofvascular smooth muscle cells) 55 duction stimulator isadministered prior to a local (e.g., via
      are the preferred therapeutic agents for use in this embodi-  catheter) administration of a cytotoxic agent (e.g., free
      ment of the present invention. Free therapeutic agent pro-    cytotoxic agent, acytotoxic agent-containing conjugate, ora
      tocols of this type effect a reduction, a delay, or an elimi- cytotoxic agent-containing sustained release dosage form),
      nation ofstenosis after angioplasty orother vascular surgical The TGF-beta, TGF-beta activator or TGF-beta production
      procedures. Preferably, free therapeutic agent is adminis- 60 stimulator decreases the effect ofthe proliferative stimulus
      tered directly or substantially directly to vascular smooth   provided upon cell death caused by the action of the cyto-
      muscle tissue. Such administration is preferably effected by            toxic agent. In this manner, proliferating smooth muscle
      aninfusion catheter, to achieve a 10"^M to 10"^-M concen-               cells canbe killed without causing rampant proliferation of
      tration ofsaid therapeutic agent atthe site ofadministration            the remaining cells. Preferably, systemic TGF-beta orTGF-
      in a blood vessel.                                                 65 beta activator or TGF-beta production stimulator adminis-
         Another embodiment of the present invention incorpo-                 trations occur following cytotoxic agent administration to
      rates administration of a cytocidal targeted conjugate to               maintain an anti-proliferative environment. Also, localized
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 32 of 67 PageID# 52



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                                  7                                                                     *                       .. .
     TGF-beta TGF-beta activator or TGF-beta production                  AN-01 therapeutic conjugate inhibits cellular activity in
     stimulator administration can optionaUy be carried out in           marker-positive A375 ceUs, as measured by protein synthe-
     coniunction with the localized delivery of cytoloxic agent.         sis.                                           ,j .    u    •
     Similarly, TGF-beta, TGF-beta activator or TGF-bela pro-               FIG. 7D presents graphically expenmental da^
                             ^ad^ in co^binaUoo wU- s
     one or more cytostalic ag      .                                                  ccUular activity in marker-positive cells, since
           BRIEF DESCRIPTION OFTHE DRAWINGS                              protein synthesis in A375 cells wasnotinhibited when the
                                                                 ,       cells were allowed an overaight recovery period prior to
       HG. lA is aphotomicrograph of vascular smooth muscle              testing Jq vitro.
     cells of a24-year-old male patient.                                             presents graphically experimental data showing
        HG. IB isa photomicrograph ofvascular smooth muscle                         ^         treatment ofcells invitro with free RA
     cells in an artery of a24-year-old male patient with vascular       therapeutic agent was non-specifically cytotoxic, the
     smooth muscle binding protein bound to the cell surface and         ra-NR-AN-01 therapeutic conjugate did not exert long-
     membrane. The patient received the vascular smooth muscle           lasting inhibitory eflFects on cellular activity in vascular
     binding protein by i.v. administration 4 days before the                                     ^ evidenced by metabolic activity in
     arterial tissue wasprepared for histology.                           B054 cells that were allowed a 48 hour recovery period
       FIG. 2 depicts a first scheme for chemical coupling ofa                      testing.
     therapeutic agent to a vascular smooth muscle binding                  pj^ gg graphically depicts experimental data similar to
     protein.                                                          20 those presented in FIG. 8A, above, but using a second
       FIG. 3 depicts a second scheme for chemical coupling of            marker-positive cell type, namely A375, the data show that
     a therapeutic agent to a vascular smooth muscle binding              "pulse" treatment with the RA-NR-AN-01 therapeutic con-
     protein.                                                             jugate did not exert long-lasting inhibitory effects oncellular
       FIG. 4A graphically depicts experimental data showing              activity, asmeasured bymetabolic activity inA375 cells that
     rapid binding ofvascular smooth muscle binding protein to 25 were allowed a 48 hour recovery period prior to testing,
     marker-positive testcellsin vitro.                                     FIG. 8C graphically depicts results similar to those pre-
        FIG. 4B graphically depicts experimental data showing             sented in FIG. 8A and FIG. SB, above, but using a marker-
     rapid binding of vascular smooth muscle binding protein to           negative control cell type, namely HT29. The results show
     vascular smooth muscle cellsin vitro.                                that the "pulse" treatment with the RA-NR-AN-01 thera-
       FIG. 5A presents graphically experimental data showing 30 peutic conjugate did not exert long-lasting inhibitory effects
     undesirable cytotoxicity of even low levels of therapeutic on the cellular activity of marker-negative control cells, as
     conjugate (i.e., RA-NR-AN-01), and the free RA therapeutic measured by metabolic activity in HT29 cells that were
     agent, when vascular smooth muscle cells were treated for allowed a 48 hour recovery period pnor to testing.
     24 hours in vitro.                                                      FIG. 9Ashows stenosis due tointimal smooth muscle cell
        FIG. 5B graphically presents experimental data showing            proliferation in ahistological section of an untreated artery
     the effects ofRA-NR-AN-01 therapeutic conjugate on meta-             5 weeks after angioplasty in an animal model.
     bolic activity of marker-positive and -negative cells. The             FIG. 9B shows inhibition of stenosis in a histological
      data show undesirable nonspecific cytotoxicity of the con-          section ofan artery treated with therapeutic conjugate at 5
     jugate for all these cells in a24 hour treatment in vitro. The       weeks after angioplasty in an animal model.
      nonspecificity results from extracellular hydrolysis of the           FIG. lOA graphically depicts experimental data compar-
      coupling ligand which exposes the tested cells to free drug.        ing protein synthesis and DNA synthesis inhibition capabil-
        HG. 6A graphically depicts experimental data showing              ity of suramin with respect to vascular smooth muscle cells,
      undesirable nonspecific cytotoxicity of PE-NR-AN-01                    FIG. lOB graphically depicts experimental data compar-
      therapeutic conjugate for marker-positive and marker-               ing protein synthesis and DNA synthesis inhibition capabil-
      negative test cells after 24 hours of treatment in vitro, even      ity ofstaurosporin with respect to vascular smooth muscle
      though the 24 hour treatment was followed byanovernight             cells.
      recovery period prior to testing the metabolic activity.               FIG. IOC graphically depicts experimental data compar-
        FIG. 6B depicts experimental data showing nonspecific             ing protein synthesis and DNA synthesis inhibition capabil-
      cytotoxicity of the fi-ee PE therapeutic agent on marker-           ity of nitroglycerin with respect to vascular smooth muscle
      positive and -negative test cells after 24hours of treatment        cells.
      in vitro.                                                                 FIG. lOD graphically depicts experimental data compar-
         FIG. 7A graphically presents experimental data showing           ing protein synthesis and DNAsynthesis inhibition capabil-
      that ashort 5 minute "pulse" treatment, i.e., instead of 24         ity ofcytochalasin Bwith respect to vascular smooth muscle
      hours, followed by exposure to [3H]leucine, with free RA 55 cells.
      therapeutic agent being nonspecifically cytotoxic, i.e., for              FIG. 11 shows a tangential section parallel to the inner
      control HT29 marker-negative ceUs, but, in contrast, the             surface ofa smooth muscle cell which ismagnified 62,500
      RA-NR-AN-01 therapeutic conjugate isnot cytotoxic inthis             times and ischaracterized by numerous endocytic vesicles,
      "pulse" treatment.                                                   several ofwhich contain antibody coated gold beads in the
         FIG. 7B presents graphically experimental data showing go process of being internalized by the cell in vitro.
      that free RA therapeutic agent is nonspecifically cytotoxic               FIG. 12 shows asmooth muscle cell which is magnified
      for control HT29 marker-negative cells, even in a5'"pulse"   62,500 times and ischaracterized by amarked accumulation
      treatment followed by a 24 hour recovery period prior to     ofgold beads in lysosomes at 24 hours following exposure
      [3H]leucine exposure, but, in contrast, the RA-NR-AN-01      ofthe cell to the beads in vitro.
      therapeutic conjugate isnot cytotoxic to cells.            65 FIG. 13 shows a smooth muscle cell which ismagnified
         FIG. 7C presents graphically results ofexperiments show-          62,500 times and is characterized by accumulation of gold
      ing that "pulse" treatment ofcells in vitro with the RA-NR-          beads in lysosomes in vivo.
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 33 of 67 PageID# 53



                                                               5,811,447
                                                                                                         10
        FIG. 14 depicts an in vivo dose response study of ihe                 ranging from about 3toabout 21 days. Release over alonger
     effect ofcytochalasin Bon the luminal area ofpig femoral                 time period is also contemplated as a "sustained release
     arteries.                                                                dosage form of the present invention.
       FIGS. 15 and 16depict pathways for the modulation of
     vascularsmooth muscle cell proliferation in vivo.
                 DETAILED DESCRIPTION OF THE                                    "Dosage form" means afree (non-targeted ornon-binding
                             INVENTION                                        partner associated) therapeutic agent formulation, aswell as
                                                                              sustained release therapeutic formulations, such as those
        As usedherein the following termshave the meanings as
     set forth below:
                                                                      10      incorporating microparticulate or nanoparticulate, biode
        "Therapeutic conjugate" means avascular smooth muscle                 gradable or non-biodegradable polymeric material capable
     or an interstitial matrix binding protein coupled (e.g.,                 of binding to one or more binding proteins or peptides to
     optionally through a linker) to a therapeutic agent.                     deliver atherapeutic moiety dispersed therein toatarget cell
        "Therapeutic agent" includes any moiety capable ofexert       15
                                                                              population.
     ing atherapeutic orprophylactic effect in the practice ofthe
     present invention.
       "Target" and "marker" are used interchangeably in                        "Staurosporin" includes staurosporin, a protein kinase C
     describing the conjugate aspects of the present invention to             inhibitor of the following formula,
     mean a molecule recognized in a specific manner by the 20
     matrix or vascular smooth muscle binding protein, e.g., an                                   NHMe
     antigen, polypeptide antigen or cell surface carbohydrate
     (e.g., a glycolipid, glycoprotein, or proteoglycan) that is
     expressed on the cell surface membranes of a vascular                                  MeO

     smooth muscle cell or a matrix structure.                           25
        "Epitope" is used to refer to a specific site within the
     "target" molecule that is bound by the matrix or smooth
      muscle binding protein, e.g., a sequence of three or more
      amino acids or saccharides.
        "Coupled" is used to mean covalent or non-covalent 30
      chemical association (i.e., hydrophobic as through van der                                                      NH
      Waals forces or charge-charge interactions) of thematrix or
      vascular smooth muscle binding protein with thetherapeutic
      agent. Due to the nature ofthe therapeutic agents employed,
      the binding proteins will normally be associated with the 35
      therapeutic agents by means of covalent bonding.             as well as diindoloalkaloids having one of the following
                                                                   general structures:
         "Linker" means an agent that couples the matrix or
      smooth muscle binding protein to a therapeutic agent, e.g.,
      an organic chemical coupler.                                       40
         "Migration" ofsmooth muscle cells means movement of
      these cellsin vivofrom the medial layers of a vessel intothe
      intima, such asmay also be studied invitro byfollowing the
      motion of a cell from one location to another (e.g., using
      time-lapse cinematography ora video recorder and manual
      counting ofsmooth muscle cell migration out ofa defined
      area in the tissue culture over time).
         "Proliferation," i.e., of smooth muscle cells or cancer
      cells, means increase in cell number, i.e., by mitosis of the
      cells.                                                             50
          "Abnormal or Pathological or Inappropriate Prolifera
       tion" means division, growth or migration ofcells occurring                                                                        in
       more rapidly or to a significantly greater extent than typi
       cally occurs ina normally functioning cell ofthe same type.
          "Expressed" means mRNA transcription and translation 55
       with resultant synthesis, glycosylation, and/or secretion of a
       polypeptide by a cell, e.g., CSPG synthesized by a vascular
       smooth muscle cell or pericyte.
          "Macrocyclic trichothecene" is intended to mean anyone
       of the group of structurally related sesquiterpenoid macro- 60
       cyclic mycotoxins produced by several species offungi and
       characterized by the 12,13-epoxytrichothec-9-ene basic
       structure, e.g., verrucarins and roridins that are the products
       of secondary metabolism in the soil fungi Myrotheciiun
       verrucaria and Myrolhecium roridiwn.                               65

         "Sustained release" means a dosage form designed to
       release a therapeutic agent therefrom for a time period
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 34 of 67 PageID# 54



                                                            5,811,447

                             -continued                                                        -continued
                                                                                                                                VI
                                                              IV




                                                                   10




                                                                   15 The perhydroisoindole moiety inturn contains an 11-, 13- or
                                                                      14-atora carbocyclic- or oxygen-containing ring linked to
                                                                      positions C-8 and C-9. AH naturally occurring cytochalasins
     More specifically, the term "staurosporin" includes K-252  contain a methyl groupat C-5;a methyl or methylene group
     (see, for example, Japanese Patent Application No. 62,164, at C-12; and a methyl group at C-14 or C-16. Exemplary
     626), BMY-41950 (U.S. Pat. No. 5,015,578), UCN-01 (U.S. 20 molecules include cytochalasin A, cytochalasin B, cytocha
     Pal.No.4,935,415), TAN-999 (Japanese Patent Application    lasin C, cytochalasin D, cytochalasin E, cytochalasin F,
                                                                cytochalasin G,cytochalasin H,cytochalasin J, cytochalasin
     No.01,149,791), TAN-1030A (Japanese Patent Application             K,cytochalasin L,cytochalasin M,cytochalasin N,cytocha
     No. 01,246,288), RK-286C (Japanese Patent Application              lasin O, cytochalasin P, cytochalasin Q, cytochalasin R,
     No.02,258,724) and functional equivalents and derivatives 25       cytochalasin S, chaetoglobosin A, chaetoglobosin B, cha-
     thereof. Derivatives of staurosporin include those discussed       etoglobosin C,chaetoglobosin D,chaetoglobosin E, chaeto
     inJapanese Patent Application Nos. 03,72,485; 01,143,877;          globosin F, chaetoglobosin G,chaetoglobosin J, chaetoglo
     02,09,819 and 03,220,194, as well as in PCTInternational           bosin K, deoxaphomin, proxiphomin, protophomin,
     Application Nos. WO 89 07,105 and WO 91 09,034 and                 zygosporin D, zygosporin E, zygosporin F, zygosporin G,
     European Patent Application Nos. EP 410,389 and EP 30              aspochalasin B,aspochalasin C,aspochalasin Dand theUke,
     296,110. Derivatives of K-252, a natural product, are              as well as functional equivalents and derivatives thereof.
     known. See, for example, Japanese Patent Application Nos.          Certain cytochalasin derivatives are set forth in Japanese
                                                                        Patent Nos. 72 01,925; 72 14,219;72 08,533; 72 23^94; 72
     63,295,988; 62,240,689; 61,268,687; 62,155,284; 62,155,            01924; and 72 04,164. Cytochalasin B is used in this
     285; 62,120,388 and 63,295,589, as well as PCT Interna 35          description as a prototypical cytochalasin.
     tional Application No. WO 88 07,045 and European Patent              As referred to herein, "tamoxifen" includestrans-2-[4-(l,
     Application No. EP 323,171.                                        2-diphenyl-l-butenyl)phenoxy]-N,N-dimethyl-ethylamine
                                                                        which is capable of enhancing theproduction or activation
       "Cytochalasin" includes fungal metabolites exhibiting an 40 of TGF-beta. The activated form of TGF-beta, in turn,
                                                                   inhibits vascular smooth muscle cell proliferation. Evidence
     inhibitory effect on target cellular metabolism, including    exists that tamoxifen also acts to stabilize or organize areas
     prevention of contraction or migration of vascular smooth     of smooth muscle cell trauma. This organization/
     muscle cells. Preferably, cytochalasins inhibit the polymer   stabilization may stem &om a blockage of smooth muscle
      ization of monomeric actin (G-actin) to polymeric form           cell maturation. Functional equivalents and derivatives of
      (F-actin), thereby inhibiting cell functions requiring cyto- 45 the aforementioned chemical compound are also included
      plasmic microfilaments. Cytochalasins typically are derived      within thescope of theterm "tamoxifen" forthepurposes of
      from phenylalanine (cytochalasins), tryptophan                   thisdisclosure. Exemplary tamoxifen functional equivalents
      (chaetoglobosins), or leucine (aspochalasins), resulting in a    are plasmin, heparin, compounds capable of reducing the
      benzyl, indol-3-yl methyl or isobutyl group, respectively, at    level or inactivating the lipoprotein Lp(a) or the glycopro-
                                                                    50 tein apolipoprotein(a) and derivatives or analogs thereof.
      position C-3 of a substituted perhydroisoindole-l-one moi           As referred to herein, "TGF-beta" includes transforming
      ety (Formula V or VI).                                            growth factor-beta aswell asfunctional equivalents, deriva
                                                                       tives and analogs thereof. TGF-beta is a polypeptide pro
                                                                       duced in a latent propeptide form having, at this time, no
                                                                    55 identified biological activity. To be rendered active and,
                                                                       therefore, capable of inhibiting vascular smooth muscle cell
                                                                        proliferation, the propeptide form of TGF-beta must be
                                                                        cleaved. Functional equivalents of TGF-beta are, for
                                                                       example, moieties capable of disrupting cyclin-dependent
                                                                    60 protein kinase (CDK) transformation from a slow migrating
                                                                       form to a rapid migrating form, disrupting CDK-cyclin
                                           NH                           complex formation or activation or the like.
                                                                           "TGF-beta activator" includes moieties capable of
                                                                        directly or indirectly activating thelatent form of TGF-beta
                                                                    65 to the active form thereof. Plasmin, plasmin activators,
                                                                       tamoxifen as weU as analogs, derivatives or functional
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 35 of 67 PageID# 55



                                                              5,811,447
                                  13                                                               14
     equivalents thereof are exemplary TGF-beta activalors use-          The therapeutic conjugates and dosage forms of the
     fill in the practice ofthe present invention.                     invention arc useful for inhibiting the activity ofvascular
       "TGF-beta production stimulator" includes moieties              smooth muscle cells, e.g., for reducing, delaying, or elimi-
     capable of directly or indirectly stimulating the production      nating stenosis following angioplasty. As used herein the
     of TGF-beta (generally thelatent form thereof). Such TGF- 5 term "reducing" means decreasing the intimal thickening
     beta production stimulators may be TGF-beta mRNA regu-           results from stimulation of smooth muscle cell prolif-
     lators (i.e., moieties that increase the production of TGF- eration following angioplasty, cither in an animal model or
     beta mRNA), enhancers ofTGF-beta mRNA expression or                        "Delaying" means delaying the time until onset of
     the like.                                                         visible intimal hyperplasia (e.g., observed histologically or
        "Direct" action implies that afirst moiety acts on asecond         angiographic examination) following angioplasty and
     moiety, e.g., aTGF-beta activator acts on the latent form of                   accompanied by "reduced" restenosis. "Elimi-
     TGF-beta. Such direct action of1GF-beta production stimu-         nating" restenosis following angioplasty means completely
     lators indicates that ceUs upon which the production stimu-                 „^^^^r completely "delaying" intimal hyperpla-
                                                                       sia in a patient to an extent which makes it no longer
     "'""inlreS-action impUes that afirst moiety acts ^                necessary to surgically intervene, i.e., to re-establish a
     more intermediate moires, one of which ultimately acts on         suitable blood flow through the v^l by repeat angiophsty
     the second moiety, e.g., a TGF-beta activator acts on a           atheroectomy, or coronary artery bypass surgery. The efifects
     moiety that itself or through one or more other moieties acts     of reducing, delaying, or eliminatmg stenosis may be deter-
     on latent TGF-beta. Such indirect action of TGF-beta pro-      mined by methods routine to those skilled m the art
     duction stimulators indicates that the stimulators act on a 20 including, but not limited to, angiography, ultrasonic
     moiety that itself or through one or more other moieties acts     evaluation, fluoroscopic imaging, fiber optic endoscopic
     on a population of cells to stimulate the production of           examination or biopsy and histology. The therapeutic con-
     TGF-beta mRNA or the expression of TGF-beta.                      jugates of the invention achieve these advantageous effects
       As referred to herein, "taxol" includes taxol, analogs          by specifically binding to the cellular membranes ofsmooth
     thereof suchas taxotere as wellas functional equivalents or 25 muscle cellsand pericytes.
     derivatives thereof. Taxol is readily taken up into cells and       Therapeutic conjugates of the invention are obtained by
     stabilizes such cells against cell division.                      coupling a vascular smooth muscle binding protein to a
        As referred to herein, a "cytostatic agent" includes moi-      therapeutic agent. In the therapeutic conjugate, the vascular
     eties capable of inhibiting one or more pathological activi- smooth muscle binding protein performs the function of
     ties of target cells for a time sufficient to achieve a thera- 30 targeting the therapeutic conjugate to vascular smooth
     peutic benefit.                                                   muscle cells or pericytes, and the therapeutic agent performs
        As referred toherein, smooth muscle ceUs and pericytes         the function ofinhibiting the cellular activity ofthe smooth
     include those cellsderived from themedial layers ofvessels        muscle cell or pericyte.
     and adventitia vessels which proliferate in intimal hyper-        Therapeutic dosage forms (sustained release-type) ofthe
     plastic vascular sites following injury, such as that caused 35 present invention exhibit the capability to deliver therapeutic
     during PTCA.                                                          to target cells over asustained period of time. Thera-
        Characteristics of smooth muscle cells include a histo-        peutic dosage forms of this aspect of the present invention
      logical morphology (under fight microscopic examination)         may be of any configuration suitable for this purpose,
      of aspindle shape with an oblong nucleus located centrally       Preferred sustained release therapeutic dosage forms exhibit
      in the cell with nucleoli present and myofibrils in the 40 one or more of the following characteristics:
      sarcoplasm. Under electron microscopic examination,          microparticulate (e.g., from about 0.5 micrometers to
      smooth muscle cells have long slender mitochondria in the  about 100 micrometers in diameter, with from about 0.5 to
     juxtanuclear sarcoplasm, afew tubular elements of granular        about 2 micrometers more preferred) or nanoparticulate
     endoplasmic reticulum, and numerous clusters of free ribo-        (® g>from about 1.0 nanometer to about 1000 nanometers in
      somes. Asmall Golgi complex may also be located near one 45 diameter, with from about 50 to about 250 nanometers more
      pole of the nucleus. The majority of the sarcoplasm is preferred), free flowing powder structure;
      occupied by thin, paraUel myofilaments that may be, for the         biodegradable structure designed to biodegrade over a
      most part, oriented to the long axis of the muscle cell. These    period of time between from about 3lo about 180 days, with
      actin containing myofibrils may be arranged in bundles with from about 10 to about 21 days more preferred, or non-
      mitochondria interspersed among them. Scattered through 50 biodegradable structure to allow therapeutic agent diffusion
      the contractile substance ofthe cell may also be oval dense    to occur over atime period ofbetween from about 3to about
      areas, with similar dense areas distributed at intervals along 180 days, with from about 10 to about 21 days preferred,
      the inner aspects of the plasmalemma.                               biocompatible with target tissue and the local physiologi-
        Characteristics of pericytes include a histological mor-        cal environment into which the dosage form is being
      phology (under light microscopic examination) character- 55 administered, including biocompatible biodegradation prod-
      ized by an irregular cell shape. Pericytes are found within       ucts;
      the basement membrane that surrounds vascular endothelial           facilitate a stable and reproducible dispersion of thera-
      ceUs and their identity may be confirmed by positive              peutic agent therein, preferably to form atherapeutic agent-
      immuno-staining with antibodies specific for alpha smooth         polymer matrix, with active therapeutic agent release occur-
      muscle aclin (e.g., anti-alpha-sml, Biomakor, Rehovot, 60 ring through one or both of the following routes: (1)
      Israel), HMW-MA^ and pericyte ganglioside antigens such diffusion of the therapeutic agent through the dosage form
      as MAb 3G5 (11); and, negative immuno-staining with (when the therapeutic agent is soluble in the polymer or
      antibodies to cytokeratins (i.e., epithelial and fibroblast polymer mixture forming the dosage form); or (2) release of
      markers) and von Willdebrand factor (i.e., an endothelial the therapeutic agent as the dosage form biodegrades; and
      marker). Both vascular smooth muscle cells and pericytes 65 capability to bind with one or more cellular and/or inter-
      are positive by immunostaining with the NR-AN-01 mono- stitial matrix epitopes, with from about 1 to about 10,000
      clonal antibody.                                            binding protein/peptide-dosage form bonds preferred and
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 36 of 67 PageID# 56



                                                              5,811,447
                                  15                                                                     16
     with a maximum of about1 bindingpeptide-dosage formper               emulsion-based processes, that constitute modified solvent
     150 square angstroms of particle surface area more pre               extraction processes such as those described by Cowsar et
     ferred. The total number bound depends upon the particle             al., "Poly(Lactide-Co-Glycolide) Microcapsules for Con
     size used. The binding proteins or ^ptides are capable of               trolled Release of Steroids," Methods Enzyniology,
     coupling to the paniculate therapeutic dosage form through              112:101-116, 1985 (steroid entrapment in
     covalent ligand sandwich or non-covalent modalities as set              microparticulates); Eldridge et al., "Biodegradable and Bio-
     forth herein.                                                           compatible Poly(DL-Lactide-Co-Glycolide) Microspheres
        Nanoparticulate sustained release therapeutic dosage                 as an Adjuvant for Staphylococcal Enterotoxin B Toxoid
     forms
     lUiUl^ ofpreferred
            Ul          embodiments
                        ^uiuuuiiu^^ijio of the present invention are         Which Enhances the Level of Toxin-Neutralizing
                                                                                                         cf\ '^c\nG ono/: mm

     biodegradable and bind to the vascular smooth muscle cells lO Antibodies," Infection and Immunity, 59:2978-29^, 1991
     and enter such cells primarily by endocytosis. The biodeg- (toxoid entrapment); Cohen et al., "Controlled Delivery
     radation of such nanoparticulates occurs over time (e.g., 10 Systems for Proteins Based on Po>y(I-actic/Glyrahc
     to 21 days) in prelysosomic vesicles and lysosomes. The Microspheres," Pharmaceutical Research, 8(6):713-720
     preferred larger microparticulate therapeutic dosage forms 1991 (enzyme entrapment); and Sanders et al.. Controlled
     of the present invention bind to the target cell surface or 15 Release of aLuteinizing Hormone-Releasing Hormone ^a-
     interstitial matrix, depending on the binding protein or logue from Poly(D,L-Lactide-Co-Glycohde)
     peptide selected, and release the therapeutic agents for Microspheres," J. Pharmaceutical Science, 73(9)
     subsequent target cell uptake with only afew ofthe smaller :1294—1297, 1984 (peptide entrapment).
     microparticles entering the cell by phagocytosis. Apracti-       In general, the procedure for forming paniculate dosage
     tioner in the art will appreciate that the precisc mechanism 20 forms ofthe present invention involves dissolving the poly-
     by which atarget cell assimilates and metaboUzes adosage mer in a halogenated hydrocarbon solvent, dispersing a
     form of the present invention depends on the morphology,                therapeutic agent solution (preferably aqueous) therein, and
     physiology and metabolic processes of those cells.                      adding an additional agent that acts as a solvent for the
        The size of the targeted sustained release therapeutic               halogenated hydrocarbon solvent but not for the polymer,
     paniculate dosage forms is also important with respect to the 25        The polymer precipitates out from the polymer-halogenated
     mode of ceUular assimilation. For example, the smaller                  hydrocarbon solution onto droplets ofthe therapeutic agent
     nanoparticles can flow with the interstitial fluid between              containing solution and entraps the therapeutic agent. Pref-
     cells and penetrate the infused tissue until it binds to the            erably the therapeutic agent is substantially uniformly dis-
     normal or neoplastic tissue that the binding protein/peptide persed within the sustained release dosage form of the
     isselected to target. This feature isimportant, for example, 30 present invention. Following particulate formation, they are
     because the nanoparticles follow lymphatic drainage chan                washed and hardened with an organic solvent. Waterwash
     nels from infused primary neoplastic foci, targeting meta-              ing and aqueous non-ionic surfactant washing steps follow,
     static foci along the lymphatic tract. The larger micropar            priorto drying at room temperature under vacuum.
     ticles tend to be more easily trapped interstitially in the             Forbiocompatibility purposes, paniculate dosage forms,
     infused primary tissue.                                            35 characterized by a therapeutic agent dispersed therein in
        Preferable sustained release dosage forms of the present             matrix form, are sterilized prior to packaging, storage or
     invention are biodegradable microparticulates or nanopar                administration. Sterilization may be conducted in any con
      ticulates. More preferably, biodegradable microparticles or            venient manner therefor. For example, the particulates can
      uduuHiii
      nanoparticles 11V.          apw.j containing matrix that
                    are formed ofapolymer                                    be irradiated with gamma radiation, provided that exposure
     biodegrades by random, nonenzymatic, hydrolytic scission- 40            to such radiation does not adversely impact the structure or
     ing to release therapeutic agent, thereby forming pores                 function of the therapeutic agent dispersed in the therapeutic
     within the particulate stnicture.                                       agent-polymer matrix or the binding protein/peptide
        Polymers derived from the condensation of alpha                      attached thereto. If the therapeutic agent or bindmg protem/
     hydroxycarboxylic acids and related lactones are preferred              peptide is so adversely impacted, the particulate dosage
     for use in the present invention. Aparticularly preferred 45            forms can be produced under sterile conditions.
     moiety is formed of a mixture of thermoplastic polyesters                   Release of the therapeutic agent from the particulate
     (e.g., polylactide or polyglycolide) or acopolymer of lactide           dosage forms of the present invention can occur as aresult
     and glycolide components, such as poly(lactide-co-                      of both diffusion and particulate matrix erosion. Biodegra-
     glycolide). An exemplary structure, a random poly(DL-                   dation rate directly impacts therapeutic agent release kmet-
     lactide-co-glycolide), is shown below, with the values of x 50          ics. The biodegradalion rate is regulable by alteration of the
     and y being manipulable by a practitioner in the art to                 composition or stnicture of the sustained release dosage
     achieve desirable microparticulate or nanoparticulate prop-              form. For example, alteration ofthe lactide/glycolide ratio in
                                                                              preferred dosage forms of the present invention can be

                           o          o               o            o
                           II         II              II           II
              O—CH—C—O—CH—C-                •O—CHz—C—O—CH:—C-                  -OH
                     I
                     CHj        CH3




         Other agents suitable for forming particulate dosage                 conducted, as described by Tice et al., "Biodegradable
      forms of the present invention include polyorthoesters and              ControUed-Release Parenteral Systems," Pharmaceutical
      polyacetals {Polymer Letters, 18:293,1980) and polyortho-               Technology, pp. 26-35, 1984; by inclusion of polymer
      carbonates (U.S. Pat. No. 4,093,709) and the like.                65    hydrolysis modifying agents, such ascitric acid and sodium
         Preferred lactic acid/glycolic acid polymer containing               carbonate, as described by Kent et al.,"Microencapsulation
      matrix particulates of thepresent invention are prepared by             of Water Soluble Aaive Polypeptides," U.S.Pat. No.4,675,
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 37 of 67 PageID# 57



                                                              5,811,447
                                  17                                                             18
     189; by aJlering ihe loading of therapeutic agent in the      TGF), respectively. Preferred immune system efifector cell-
     lactide/glycolide polymer, the degradation rate being         binding peptides are anti-TAC, IL-2 and the like, which
     inveisely proportional to the amount of therapeutic agent     localize to activated T cells and macrophages, respectively,
     contained therein, and by judicious selection of an appro-    Other preferred binding proteins/peptides useful in the prac-
     priate analog ofa common family oftherapeutic agents that 5 tice of the present invention include moieties capable of
     exhibit different potencies so as to alter saidcore loadings; localizing to pathologically proliferating normal tissues,
     and byvariation ofparticulate size, asdescribed by Beck et such aspericytes ofthe intraocular vasculature implicated in
     al., "Poly(DL-Lactide-Co-Glycolide)/Norethisterone Micro-             degenerative eye disease.
     capsules: An Injectable Biodegradable Contraceptive," Biol.    Therapeutic agents ofthe invention are selected to inhibit
     Reprod., 28:186-195, 1983, or the like. All of the afore- lO a cellular activity of a vascular smooth muscle cell, e.g.,
     mentioned methods ofregulating biodegradation rate influ-    proliferation, migration, increase incell volume, increase in
     ence theintrinsic viscosity ofthe polymer containing matrix,          extracellular matrix synthesis (e.g., collagens,
     thereby altering the hydration rate thereof.                          proteoglycans, and the like), or secretion of extracellular
        The preferred lactide/glycolide structure isbiocompatible    matrix materials bythe cell. Preferably, the therapeutic agent
     with the mammalian physiological environment. Also, these 15 acts either: a)asa "cytostatic agent" toprevent ordelay cell
     preferred sustained release_dosage forms have the advan-        division in proliferating ceUs by inhibiting replication of
     tage that biodegradation thereof forms lactic acid and gly-     DNA(e.g., a drug such asadriamycin, staurosporin, tamox-
     colic acid, both normal metabolic products of mammals.          ifen or the like), or by inhibiting spindle liber formation
        Functional groups required for binding protein/peptide-      (e-g-, a drug such as colchicine) and the like; or b) as an
     particulate dosage form bonding tothe particles, are option- 20 inhibitor of migration of vascular smooth muscle cells from
     ally included in the particulate structure, along with the      the medial wall into the intima, e.g., an "anti-migratory
     non-degradable or biodegradable polymeric units. Func-          agent" such as a cytochalasin; or c) as an inhibitor of the
     tional groups that are exploitable for this purpose include     intracellular increase in cellvolume (i.e., thetissue volume
     those that are reactive with peptides, such as carboxyl         occupied by a cell; a "cytoskeletal inhibitor" or "metabolic
     groups, amine groups, sulfhydryl groups and the like. Pre- 25 inhibitor"); or d) asan inhibitor that blocks cellular protein
     ferred binding enhancement moieties include the terminal        synthesis and/or secretion or organization of extracellular
     carboxyl groups ofthe preferred (lactide-glycolide) polymer     matrix (i.e., an "anti-matrix agent" such as tamoxifen).
     containing matrix or the like.                                     Representative examples of "cytostatic agents" include.
       Useful vascular smooth muscle binding protein is a                  e.g., modified toxins, methotrexate, adriamycin, radionu-
     polypeptide, peptidic, or mimetic compound (as described 30 elides (e.g., such as disclosed in Fritzbeig et al., U.S. Pat.
     below) that is capable of binding to a target or marker on a No. 4,897,255), protein kinase inhibitors (e.g.,
     surface component ofanintact ordisrupted vascular smooth     staurosporin), stimulators of the production or activation of
     muscle cell in such a manner that allows for either release of        TGF-beta, including tamoxifen and functional equivalents
     therapeutic agent extracellularly inthe immediate interstitial or derivatives thereof, TGF-beta or functional equivalents,
     matrix with subsequent diffusion of therapeutic agent into 35 derivatives oranalogs thereof, taxol oranalogs thereof (e.g.,
     the remaining intact smooth muscle cells and/or internaliza-   taxotere), inhibitors ofspecific enzymes (such asthe nuclear
     tion by the cell into an intracellular compartment of the      enzyme DNAtopoisomera.se II and DNApolymerase, RNA
     entire targeted biodegradable moiety, permitting delivery of   polymerase, adenyl guanyl cyclase), superoxide dismutase
     the therapeutic agent. Representative examples of usefiil      inhibitors, terminal deoxynucleotidyl- transferase, reverse
     vascular smooth muscle binding proteins include antibodies 40 transcriptase, anlisense oligonucleotides that suppress
     (e.g., monoclonal and polyclonal affinity-purified                    smooth muscle cell proliferation and the like, which when
     antibodies, F(ab% Fab', Fab, and Fv fragments and/or                  delivered into a cellular compartment at an appropriate
     complementarity determining regions (CDR) of antibodies               dosage wQl act to impair proliferation of a smooth muscle
     orfunctional equivalents thereof, (e.g., binding peptides and         cell or pericyte without killing the cell. Other examples of
     the like)); growth factor-s, cytokines, and polypeptide hor- 45       "cytostatic agents" include peptidic or mimetic inhibitors
     mones and the like;and macromolecules recognizing extra-              (i.e., antagonists, agonists, or competitive or non-
     cellular matrix receptors (e.g., integrin and fibronectin             competitive inhibitors) of cellular factors that may (e.g., in
     receptors and the like).                                              the presence of extracellular matrix) trigger proliferation of
        Other preferred binding peptides useful in targeting the           smooth muscle cells or pericytes: e.g., cytokines (e.g.,
     dosage form embodiment of the present invention include 50            interleukins such as IL-1), growth factors, (e.g., PDGF,
     those that localize to intercellular stroma and matrix located        TGF-alpha or -beta, tumor necrosis factor, smooth muscle-
     between and among vascular smooth muscle cells. Such              and endothelial-derived growth factors, i.e., endothelin,
     binding peptides deliver the therapeutic agent to the inter-      FGF), homing receptors (e.g., for platelets or leukocytes),
     stitial space between the target cells. The therapeutic agent     and extracellular matrix receptors (e.g., integrins). Repre-
     is released into such interstitial spaces forsubsequent uptake 55 sentative examples of useful therapeutic agents in this
     by the vascular smooth muscle cells. Preferred binding            category ofcytostatic agents forsmooth muscle proliferation
     peptides of this type are associated with epitopes on             include: subfragments of heparin, triazolopyrimidine
     collagen, extracellular glycoproteins such as tenascin,           (Trapidil; a PDGF antagonist), lovastatin, and prostaglan-
     reticiJum and elastic fibers and other intercellular matrix           dins El or 12.
     material.                                                        60      Representative examples of "anti-migratory agents"
        Preferred tumor cellbinding peptides are associated with include inhibitors (i.e., agonists and antagonists, and com-
     epitopes of myc, ras, bcr/Abl, erbB and like gene products, petitive or non-competitive inhibitors) of chemotactic fac-
     as well as mucins, cytokine receptors such as lL-6, EGF,    torsandtheir receptors (e.g., complement chemotaxins such
     TGFand the Uke, which binding peptides localize to certain  as C5a,C5adesarg or C4a;extracellular matrix factors, e.g.,
     lymphomas (myc), carcinomas such as colon cancer (ras), 65 collagen degradation fragments), or of intracellular cytosk-
     carcinoma (erbB), adenocarcinomas (mucins), breast cancer   elelal proteins involved in locomotion (e.g., actin, cytosk-
     and hepatoma (IL-6 receptor), and breast cancer (EGF and    eletal elements, and phosphatases and Idnases involved in
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 38 of 67 PageID# 58



                                                              5,811.447
                                 19                                                             20
     locomolion). Representative examples of useful therapeutic    ing (e.g., following wound healing). A representative
     agents in this category of anti-migratory agents include:     example of a useful therapeutic agent in this category of
     caffeic acid derivatives and nilvadipine (a calcium           anti-matrix agents is colchicine, aninhibitor of secretion of
     antagonist), and steroid hormones. Preferred anti-migratory   extracellular matrix. Another example is tamoxifen for
     therapeutic agents are the cylochalasins.                   5 which evidence exists regarding its capability to organize
        Representative examples of "cytoskeletal inhibitors"       and/or stabilize as well as diminish smooth muscle cell
     include colchicine, vinblastin, cylochalasins, taxol and the         proliferation following angioplasiy. The organization or
     like that act on microtubule and microfilament networks              stabilizationmay stem from the blockage of vascularsmooth
     within a cell.                                                       muscle cell maturation in to a pathologically proliferating
        Representative examples of "metabolic inhibitors" lo form.
     include staurosporin, trichothecenes, and modified diphthe-   Forthesustained release dosage form embodiments of the
     ria and ricin toxins, Pseudomomsexotoxin and the like. In   present invention, therapeutic agents preferably are tho.se
     a preferred embodiment, the therapeutic conjugate is con-      that inhibit vascular smooth muscle cell activity without
     structed with a therapeutic agent that is a simple trichoth-   killing thecells (i.e., cytostatic therapeutic agents). Another
     ecene or a macrocyclic trichothecene, e.g., a verrucarin or 15 way to define a cytostatic agent is a moiety capable of
     roridin. Trichothecenes aredrugs produced bysoil fungi of      inhibiting one or more pathological activities of the target
     {he. c\zs& Fungi imperfectioT \so\3\&6 bom Baccharus mega-     cells for a time sufficient lo achieve a therapeutic benefit.
     potamica (Bamburg, J. R. Proc. Molec. Subcell. Biol.           Preferred therapeutic agents for this purpose exhibit one or
     8:41-110, 1983; Jarvis & Mazzola, Acc. Chem. Res.              more of thefollowing capabilities: to inhibit DNA synthesis
     15:338-395, 1982). ITiey appear to be the most toxic mol- 20 prior toprotein synthesis inhibition ortoinhibit migration of
     ecules that contain only carbon, hydrogen and oxygen                 vascular smooth muscle cellsinto the intima. These thera-
     (Tamm, C. Fortschr. Chem. Org. Naturst. 31:61-117,1974).             peutic agents do not significantly inhibit protein synthesis
     They are all reported to act at the level of the ribosome as         (i.e., do not kQl the target cells) and, therefore, facilitate
     inhibitors ofprotein synthesis atthe initiation, elongation, or      cellular repair and matrix production tostabilize the va.scular
     termination phases.                                             25   wall lesion caused by angioplasty, by reducing smooth
       There are two broad classes of trichothecenes: those that          muscle cell proliferation.
     have only a central sesquiterpenoid structure and those that     Exemplary of such preferred therapeutic agents are pro-
     have an additional macrocyclic ring (simple and macrocy-      tein kinase inhibitors, suchas staurosporin (staurosporine is
     die trichothecenes, respectively). ITie simple trichothecenes available from Sigma Chemical Co., St. Louis, Mo.)
     may besubdivided into three groups (i.e.. Group A, B,and 30 cylochalasins, such as cytochalasin B (Sigma Chemical
     C) asdescribed in U.S. Pat. Nos. 4,744,981 and 4,906,452   Co.), and suramin (FBA Pharmaceuticals, West Haven,
     (incorporated herein byreference). Representative examples Conn.), as well as nitroglycerin (DuPont Pharmaceuticals,
     ofGroup Asimple trichothecenes include: Scirpene, Roridin  Inc., Manuti, Puerto Rico) or analogs or functional equiva-
     C, dihydrotrichothecene, Scirpen-4, 8-dioI, Verrucarol,    lents thereof. These compounds are cytostatic and have been
     Scirpentriol, T-2 tetraol, pentahydroxyscirpene, 35 shown to exert minimal protein synthesis inhibition and
     4-deacetylneosolaniol, Irichodermin, deacetylcalonectrin,  cytoloxicily at concentrations where significant DNA syn-
     calonectrin, diacetylverrucarol, 4-monoacetoxyscirpenoI,   thesis inhibition occurs (see Example 8 and FIGS.
     4,15-diacetoxyscirpenol, 7-hydroxydiacetoxyscirpenol,      lOA-lOD). Other exemplary preferred therapeutic agents
     8-hydroxydiacetoxy-scirpenol (Neosolaniol), 7,8-           are TGF-bela activators or production stimulators, such as
     dihydroxydiacetoxyscirpenol, 7-hydroxy-8- 40 tamoxifen and functional equivalents orderivatives thereof,
     acetyldiacetoxyscirpenol, 8-acelylneosolaniol, NT-1, NT-2, TGF-beta and its analogs, derivatives or functional equiva-
     HT-2, T-2, and acetyl T-2 toxin.                           lents may also be employed. Taxol and its analogs, deriva-
        Representative examples of Group B simple trichoth-     lives orfunctional equivalents are also useful in the practice
     ecenes include: Trichothecolone, Trichothecin,                       of the present invention. A useful protocol for identifying
     deoxynivalenol,           3-acetyldeoxynivalenol, 45 therapeutic agents useful in sustained release dosage form
     5-acelyldeoxynivalenol, 3,15-diacetyldeoxynivalenol,      embodiments of the present invention is setforth inExample
     Nivalenol, 4-acetylnivalenol (Fusarenon-X), 4,15-         8, for example. A practitioner in the art is capable of
     idacelylnivalenol, 4,7,15-triacelylnivalenol, and tetra-  designing substantially equivalent experimental protocols
     acetylnivalenol. Representative examples of Group Csimple for making such an identification for different target cell
     trichothecenes include: Crotocol and Crotocin. Representa- 50 populations, such as adherent monolayer target cell types,
     live macrocyclic trichothecenes include Verrucarin A, Ver-    Other embodiments of the present invention involve
     rucarin B,Verrucarin J (Salratoxin C),Roridin A,Roridin D, agents that are cytotoxic tocancer cells. Preferred agents for
     Roridin E(Salratoxin D),Roridin H,Satraloxin F,Salratoxin  these embodiments are Roridin A, Pseudomoms exotoxin
     G, Salratoxin H, Vertisporin, Myloxin A, Myloxin C,        and the like or analogs or functional equivalents thereof. A
     Mytoxin B, Myrotoxin A, Myrotoxin B, Myroloxin C, 55 plethora of such therapeutic agents, including radioisotopes
     Myroloxin D,Roritoxin A,Roritoxin B,and Roriloxin D.In     and the like, have been identified and are known in the art.
     addition, the general "trichothecene" sesquiterpenoid ring In addition, protocols for the identification of cytotoxic
     structure is also present in compounds termed "baccharins" moieties are known and employed routinely in the art.
     isolated from thehigher plant Baccharis megapotamica, and     Modulation of immune system-mediated disease effector
     these are describedin the literature, for instanceas disclosed 60 cells can also be accomplished using the sustained release
     byJarvis el al. (Chemistry ofAUeopathy, ACS Symposium                dosage forms of the present invention. Such modulation is
     SeriesNo. 268: ed. A. C. Thompson, 1984, pp. 149-159).         preferably conducted with respect lo diseases having an
       Representative examples of "anti-matrix agents" include      effector cell population that is accessible through local
     inhibitors (i.e., agonists and antagonists and competitive and sustained release dosage form administration. Therapeutic
     non-competitive inhibitors) of matrix synthesis, secretion 65 moieties having the requisite modulating activity, e.g.,
     and assembly, organizational cross-linking (e.g., trans-       cylocidal, cytostatic, metabolism modulation or like activity
     glutaminases cross-linking collagen), and matrix remodel-      upon lymphorccticular cells in the treatment of arthritis
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 39 of 67 PageID# 59



                                                               5,811,447
                                   21                                                                22
     (inlra-articular administration), sprue (oral administration),       other epitopes in this target (14) are also useful in the
     uveitis and cndophthalmitis (intra-ocular administration)            therapeutic conjugates and methods of the invention. In the
     and keralitis (sub-conjunctival administration), are identifi        present case, six other murine monoclonal antibodies and
     able using techniques that are known in the art. These agents        two human chimeric monoclonal antibodies have also been
     can also be used to reduce hyperaclivity of epithelial glands     5 selected, as described herein, that specifically target to the
     and endocrine organs that results in multiple disorders.             250 kD CSPG of vascular smooth muscle cells. The anti
     Preferred agents for these embodiments include Roridin A,            bodies also appear to be internalized by the smooth muscle
     Pseudomonas exotoxin, suramin, protein kinase inhibitors             cells following binding to the cell membrane. Immunoreac-
     (e.g., staurosporin), TGF-beta and TGF-beta activators or            tivity studies have also shown the binding of the murine
     production stimulators such as tamoxifen, taxol and the like,     10 MAbs to the 250 kD antigen in 45 human normal tissues and
     or analogs or functional equivalents thereof.                        30 different neoplasms and some of these results have been
        Other preferred therapeutic agents useful in the practice of      disclosed previously (U.S. Pat. No. 4,879,225). In this
     the present invention include moieties capable of reducing           disclosure and other human clinical studies, MAbs directed
     or eliminating pathological proliferation, migration or              to the CSPG 250 kD antigen localized to vascular smooth
     hyperactivity of normal tissues. Exemplary of such thera-         15 muscle cells in vivo. Further, it will be recognized that the
     peutic agents are those capable of reducing or eliminating           amino acid residues involved in the multi-point kinetic
     hyperactivity of corneal epithelium and stroma, pathological         association of the NR-AN-01 monoclonal antibody with a
     proliferation or prolonged contraction of smooth muscle              CSPG marker antigenic epitope (i.e., the amino acids con
     cells or pericytes of the intraocular vasculature implicated in  stituting the complementarity determining regions) are
     degenerative eye disease resulting from hypeiplasia or        20 determined by computer-assisted molecular modeling and
     decreased vascular lumen area. Preferred agents for this         by the use of mutants having altered antibody binding
     purpose are TGF-beta and TGF-beta activators or produc           afi&nity. The binding-site amino acids and three dimensional
     tion stimulators .such as tamoxifen, taxol and analogs           model of the NR-AN-01 antigen binding site serve as a
     thereof, staurosporin and cytochalasin B as well as func         molecular model for constructing functional equivalents,
     tional equivalents or derivatives thereof.                    25 e.g., short polypeptides ("minimal polypeptides"), that have
        Vascular smooth muscle binding proteins of the invention      binding affinity for a CSPG synthesized by vascular smooth
     bind to targets on the surface of vascular smooth muscle         muscle cells and pericytes.
     cells. It will be recognized that specific targets, e.g.,           In a presently preferred embodiment for treating stenosis
     polypeptides or carbohydrates, proteoglycans and the like,       following vascular surgical procedures, e.g., PTCA, selected
     that are associated with the cell membranes of vascular 30 binding proteins, e.g., antibodies or fragments, for use in the
     smooth muscle cells are useful for selecting (e.g., by           practice of the invention have a binding affinity of >10"'
     cloning) or constructing (e.g., by genetic engineering or        liter/mole for the vascular smooth muscle 250 kD CSPG,
     chemical synthesis) appropriately specific vascular smooth       and also the ability to be bound to and internalized by
     muscle binding proteins. Particularly useful "targets" are       smooth muscle cells or pericytes.
     internalized by smooth muscle cells, e.g., as membrane 35 lliree-dimensional modeling is also useful to construct
     constituent antigen turnover occurs in renewal. Internaliza-     other functional equivalents that mimic the binding of
     tion by cells may also be by mechanisms involving                NR-AN-01 to its antigenic epitope, e.g., "mimetic" chemical
     phagolysosomes, clathrin-coated pits, receptor-mediated          compounds that mimic the thiree-dimensional aspects of
     redistribution or endocytosis and the like. In a preferred       NR-AN-01 binding to its epitope in a CSPG target antigen.
     embodiment, such a "target" is exemplified by chondroitin 40 As used herein, "minimal polypeptide" refers to an amino
     sulfate proteoglycans (CSPGs) synthesized by vascular            acid sequence of at least six amino acids in length. As used
     smooth muscle cells and pericytes, and a discrete portion        herein, the term "mimetic" refers to an organic chemical
     (termed an epitope herein) of the CSPG molecule having an        polymer constructed to achieve the proper spacing for
     apparent molecular weight of about 250 kD is especially          binding to the amino acids of, for example, an NR-AN-01
     preferred. The 250 kD target is an N-linked glycoprotein that 45 CSPG target synthesized by vascular smooth muscle cells or
     is a component of a larger 400 kD proteoglycan complex           pericytes.
     (14). In one presently preferred embodiment of the                  It will be recognized that the inventors also contemplate
     invention, a vascular smooth muscle binding protein is           the utility of human monoclonal antibodies or "humanized"
     provided by NR-AN-01 monoclonal antibody (a subculture           murine antibody as a vascular smooth muscle binding pro
     of NR-ML-05) that binds to an epitope in a vascular smooth 50 tein in the therapeutic conjugates of their invention. For
     muscle CSPG target molecule. The monoclonal antibody             example, murine monoclonal antibody may be "chimerized"
     designated NR-ML-05 reportedly binds a 250 kD CSPG               by genetically recombining the nucleotide sequence encod
     synthesized by melanoma cells (Morgan et al., U.S. Pat. No.      ing the murine Fv region (i.e., containing the antigen binding
     4,897,255). Smooth muscle cells and pericytes also report        sites) with the nucleotide sequence encoding a human con
     edly synthesize a 250 kD CSPG as well as other CSPGs (11). 55 stant domain region and an Fc region, e.g., in a manner
     NR-ML-05 binding to smooth muscle cells has been dis             similar to that disclosed in European Patent Application No.
     closed (Fritzberg et al., U.S. Pat. No. 4,879,225). Mono         0,411,893 A2. Some murine residues may also be retained
     clonal antibody NR-ML-05 and subculture NR-ML-05 No.             within the human variable region framework domains to
     85-41-4I-A2, freeze # A2106, have both been deposited with       ensure proper target site binding characteristics. Humanized
     the American Type Culture Collection, Rockville, Md. and 60 vascular smooth muscle binding partners will be recognized
     granted Accession Nos. riB-5350 and HB-9350, respec              to have the advantage of decreasing the immunoreactivity of
     tively. NR-ML-05 is the parent of, and structurally and          the antibody or polypeptide in the host recipient, which may
     functionally equivalent to, subclone NR-AN-01, disclosed         thereby be useful for increasing the in vivo half-life and
     herein. It will be recognized that NR-AN-01 is just one          reducing the possibility of adverse immune reactions.
     example of a vascular smooth muscle binding protein that 65 Also contemplated as useful binding peptides for resteno-
     specifically associates with the 400 kD CSPG target, and         sis treatment sustained release dosage forms of the present
     that other binding proteins associating with this target and     invention are those that localize to intercellular stroma and
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 40 of 67 PageID# 60



                                                              5,811,447
                                 23                                                                   24
     matrix located between and among vascular smooth muscle          pounds (i.e., "linkers") that react to form a bond between
     cells. Such binding peptides deliver the therapeutic agent to    reactive groups (such as hydroxyl, amino, amido, or sulf-
     the interstitial space between the target cells, 'fhetherapeutic hydryl groups) in a therapeutic agent and other reactive
     agent is relea.sed into such interstitial spaces for subsequent  groups (of a similar nature) in the vascular smooth muscle
     uptake by the vascular smooth muscle cells. Preferred bind 5 binding protein. This bond may be, for example, a peptide
     ing peptides of this type are associated with epitopes on        bond, disulfide bond, thioester bond, amide bond, thioether
     collagen, extracellular glycoproteins such as tenascin,          bond, and the like. In one illustrative example, conjugates of
     reticulum and elastic fibers, cytokeratin and other intercel     monoclonal antibodies with drugs have been summarized by
     lular matrix components. Minimal peptides, mimetic               Morgan and Foon (Monoclonal Antibody Therapy to Can-
     organic chemical compounds, human or humanized mono 10 cer: Preclinical Models and Investigations, Basic and Clini
     clonal antibodies and the like that localize to intracellular    cal Tumor Immunology, Vol. 2, Kluwer Academic
     stroma and matrix are also useful as binding peptides in this    Publishers, Hingham, Mass.) and by Uhr J. of Immunol.
     embodiment of the present invention. Such binding peptides       133:i-vii, 1984). In another illustrative example where the
     may be identified and constructed or isolated in accordance      conjugate contains a radionuclide cytostatic agent, U.S. Pat.
     with known techniques. In preferred embodimenls of the 15 No. 4,897,255, Fritzberg et al., incorporated herein by
     present invention, the interstitial matrix binding protein       reference, is instructive of coupling methods that may be
     binds to a target epitope with an association constant of at     useful. In one presently preferred embodiment, the thera
     least about                                                      peutic conjugate contains a vascular smooth muscle binding
        Useful binding peptides for cancer treatment embodi           protein coupled covalently to a trichothecene drug. In this
     ments of the present invention include those associated with 20 case, the covalent bond of the linkage may be formed
     cell membrane and cytoplasmic epitopes of cancer cells and       between one or more amino, sulfhydryl, or carboxyl groups
     the like. These binding peptides localize to the surface         of the vascular smooth muscle binding protein and a) the
     membrane of intact cells and internal epitopes of disrupted      trichothecene itself; b) a trichothecene hemisuccinate car-
     cells, respectively, and deliver the therapeutic agent for       boxylic acid; c) a trichothecene hemisuccinate (HS)
     assimilation into the target cells. Minimal peptides, mimetic 25 N-hydroxy succinimidate ester; or d) trichothecene com
     organic compounds and human or humanized antibodies that         plexes with poly-L-lysine or any polymeric carrier. Repre
     localize lo the requisite tumor cell types are also useful as    sentative examples of coupling methods for preparing thera
     binding peptides of the present invention. Such binding          peutic conjugates containing a trichothecene therapeutic
     peptides may be identified and constructed or isolated in        agent are described in U.S. Pat. Nos. 4,906,452 and 4,744,
     accordance with known techniques. Preferred binding pep 30 981, incorporated herein by reference. Other examples using
     tides of these embodimenls of the present invention bind to      a hydrazide for forming a Schifif base linkage between
     a target epitope with an association constant of at least about  binding proteins and trichothecenes are disclosed in pending
     10-®M.                                                           U.S. patent application No. 07/415,154, incorporated herein
        Binding peptides to membrane and cytoplasmic epitopes         by reference.
     and the like that localize to immune system-mediated dis 35 The choice of coupling method will be influenced by the
     ease effector cells, e.g., cells of the lymphoreticular system,  choice of vascular smooth muscle binding protein or
     are also usefiil (o deliver sustained release dosage forms of    peptide, interstitial matrix binding protein or peptide and
     the present invention. The therapeutic agent is delivered to     therapeutic agent, and also by such physical properties as,
     target cells for internalization therein by such sustained       e.g., shelf life stability, and/or by such biological properties
     release dosage forms. Minimal peptides, mimetic organic 40 as, e.g., half-life in cells and blood, intracellular compart-
     compounds and human or humanized antibodies that local           mentalization route, and the like. For example, in one
     ize to the requisite effector cell types are also useful as      presently preferred therapeutic conjugate, hemisuccinate
     binding peptides of the present invention. Such binding          conjugates of the Roridin A therapeutic agent have a longer
     peptides may be identified and constructed or isolated in        serum half-life than those of Verrucarin A, and this increased
     accordance with known techniques. Preferred binding pep 45 stability results in a significantly increased biological activ
     tides of these embodiments of the present invention bind to      ity.
     a target epitope with an association constant of at least about     The sustained release embodiment of the present inven
     10-®M.                                                           tion includes a therapeutic agent dispersed within a non-
        Other preferred binding proteins or peptides useful in the    biodegradable or biodegradable polymeric structure. Such
     practice of the present invention include moieties capable of 50 dispersion is conducted in accordance with the procedure
     localizing to pathologically proliferating normal tissues,       described by Cowsar et al., "Poly(Lactide-Co-Glycolide)
     such as pericytes of the intraocular vasculature implicated in   Microcapsules for Controlled Release of Steroids," Methods
     degenerative eye disease. The therapeutic agent is delivered     Enzymology, 112:101-116, 1985; Eldridge et al., "Biode
     to target cells for internalization therein by such sustained    gradable and Biocompatible Poly(DL-Lactide-Co-
     release dosage forms. Minimal peptides, mimetic organic 55 Glycolide) Microspheres as an Adjuvant for Staphylococcal
     compounds and human or humanized antibodies that local             Enterotoxin B Toxoid Which Enhances the Level of Toxin-
     ize to the requisite pathologically proliferating normal ceU Neutralizing Antibodies," Infection and Immunity,
     types are also useful as binding peptides of the present     59:2978-2986, 1991; Cohen et al., "Controlled Delivery
     invention. Such binding peptides may be identified and       Systems for Proteins Based on Poly(Lactic/Glycolic Acid)
     constructed or isolated in accordance with known tech 60 Microspheres," Pharmaceutical Research, 8(6):713-720,
     niques. Preferred binding peptides of these embodiments of   1991; and Sanders et al., "Controlled Release of a Lutein-
     the present invention bind to a target epitope with an       izing Hormone-Releasing Hormone Analogue from Poly(D,
     association constant of at least about 10~®M.                L-Lactide-Co-Glycolide) Micro^heres," J. Pharmaceutical
        Representative "coupling" methods for linking the thera   Science, 73(9):1294-1297, 1984.
     peutic agent through covalent or non-covalent bonds to the 65 The physical and chemical character of the sustained
     vascular smooth muscle binding protein include chemical      release dosage form of the present invention is amenable to
     cross-linkers and heterobifunctional cross-linking com       several alternative modes of attachment to binding proteins
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 41 of 67 PageID# 61



                                                              5,811,447
                                  25                                                             26
     or peplides. Dosage forms (sustained release-type) of the     'ITie binding protein or peptide is reacted with biotinami-
     present invention are capable of binding to binding proteins/ docaproale N-hydroxysuccinimide ester at a 1-3 molar
     peptides through, for example, covalent linkages, inlerme-    offering of biotin-containing compound to the binding
     diate ligand sandwich attachment, or non-covalent adsorp-     protein/peptide to form a biotinylated binding protein/
     tion or partial entrapment. When the preferred polylactic/ 5 peptide. A molar excess of the biotinylated binding protein/
     glycolic acid particulates are formed with the therapeutic    peptide is incubated with the avidin-derivatized particulates
     agent dispersed therein, the uncharged polymer backbone is    to form a targeted dosage form of the present invention,
     oriented both inward (with the quasi lipophilic therapeutic      Alternatively, the particulate carboxy groups are biotiny-
     agcnt contained therein) and outward along with a majority    lated (e.g., through carbodiimide activation of the carboxy
     of the terminal carboxy groups. These surface carboxy lo group and subsequent reaction with amino alkyl
     groups may serve as covalent attachment sites when acti-      biotinamide). The biotinylated particulates are then incu-
     vated by, for example, a carbodiimide) for nucleophilic      batedwitha saturating concentration (i.e., a molarexcess)of
     groups of the binding protein/peptide. Such nucleophilic     avidin or streptavidin to form protein coated particulates
     groupsinclude lysineepsilonaminogroups(amide linkage),       havingfree biotin bindingsites. Such coated particulatesare
     serine hydroxylgroups(ester linkage)or cysteinemercaptan 15 then capable of reactionwith a molar excess of biotinylated
     groups (thioester linkage). Reactions with particular groups binding protein formed as described above. Another option
     depend upon pH and the reduction state of the reaction        involves avidin or streptavidin bound binding peptide or
     conditions.                                                   protein attachment to biotinylated particulates.
        For example, poly-lactic/glycolic acid particulates having   In addition, binding protein/peptide-particuJate attach-
     terminal carboxylic acid groups are reacted with 20 ment can be achieved by adsorptionof the binding peptide
     N-hydroxybenztriazole in the presence of a water soluble              to the particulate, resulting firom the nonionic characterof
     carbodiimide of the formula R—N=C=N—R' (wherein R                     the partially exposed polymer backbone of the particulate.
     is a 3-dimethylaminopropyl group or the like and R' is an             Underhigh ionicstrength conditions (e.g., 1.0 molarNaCl),
     ethyl group or the like). The benztriazole-derivatized par-           hydrogen and hydrophobic particulate-binding protein/
     ticulates (i.e., activated imidate-bearing moieties) are then    25   peptide binding are favored.
     reacted with a protein/peptide nucleophilic moiety such as               Moreover, binding protein/peptide may be partially
     an available epsilon amino moiety. Alternatively,                     entrapped in the particulate polymeric matrix upon forma-
     p-nitrophenol, tetrafluorophenol, N-hydroxysuccinimide or             tion thereof. Under these circumstances, such entrapped
     like molecules are useful to form an active ester with the            binding protein/peptide provides residual selective binding
     terminalcarboxygroupsof poly-lactic/glycolic acid particu-       30   character to the particulate. Mild particulate formation
     lates in the presenceof carbodiimide. Other binding protein/          conditions, such as those employed by Cohen et al., F/tar-
     peptide nucleophilic moieties include hydroxyl groups of              maceiuicalResearch, 8: 713-720 (1991), are preferred for
     serine, endogenous free thiols of cysteine, thiol groups              this embodiment of the present invention. Such entrapped
     resulting from reduction of bindingprotein/peptide disulfide          binding protein is also useful in target cell reattachment of
     bridges using reducing agents commonly employed for that         35   a partially degraded particulate that has undergone exocy-
     purpose (e.g., cysteine, dithiothreitol, mercaptoethanol and          tosis. Other polymeric particulate dosage forms (e.g., non-
     the like) and the like. Additionally, the terminal carboxy            biodegradable dosage forms) having different exposed func-
     groups of the poly lactic/glycolic acid particulates are acti-        tional groupscan be bound to binding proteins or peplides
     vatable by reaction with thionyl chloride to form an acyl             in accordance with the principlesdiscussed above.
     chloridederivatizedmoiety. The derivatizedparticulatesare        40      Exemplary non-biodegradable polymers usefiil in the
     then reacted with binding peptide/protein nucleophilic                practice of the present invention are polystyrenes,
     groups to form targeted dosage forms of the present inven-            polypropylenes, styrene acrylic copolymers and the like,
     tion.                                                                 Such non-biodegradable polymers incorporate or can be
        Direct sustained release dosage form-binding protein or            derivatized to incorporate functional groups for attachment
     peptide conjugation may disrupt binding protein/peptide          45 of binding protein/peptide, including carboxylic acid
     target cell recognition. Ligand sandwich attachment tech-           groups, aliphatic primary amino groups, aromatic amino
     niques are useful alternatives to achieve .sustained release        groups and hydroxyl groups.
     dosage form-binding protein/peptide attachment. Such tcch-             Carboxylic acid functional groupsare coupledto binding
     niquesinvolvethe formation of a primary peptideor protein           protein or peptide using, for example, the reaction mecha-
     shell using a protein that does not bind to the target cell      so nisms set forth above for poly-lactic/glycolic acid biode-
     population. Binding protein/peptide is then bound to the            gradable polymeric particulate dosageforms.Primary amino
     primary peptide or protein shell to provide the resultant           functional groups are coupled by, for example, reaction
     particulate with functional binding protein/peptide. An             thereof with succinic anhydride to form a terminalcarboxy
     exemplary ligand sandwich approach involves covalent                moiety that can be bound to binding peptide/protein as
     attachment of avidin or streptavidin lo the particulates         55 describedabove.Additionally, primaryaminogroupscan be
     throughfunctional groupsas describedabovewith respectto             activatedwith cyanogen bromide and form guanidine link-
     the "direct" binding approach. The binding protein or pep-          ages with binding protein/peptide primary amino groups,
     tide is derivatized, preferably minimally,with functionaUzed        Aromatic amino functional groups are, for example, diazo-
     biotin (e.g., through active ester, hydrazide, iodoacetal,          tized with nitrous acid to form diazonium moieties which
     maleimidyl or like functional groups). Ligand (i.e., binding     60 react with binding protein/peptide tyrosines, thereby pro-
     peptide or protein/functionalized biotin) attachment to the         ducing a diazo bond between the non-biodegradable par-
     availablebiotin binding sites of the avidin/streptavidin pri-       ticulate and the binding protein/peptide. Hydroxyl func-
     mary protein shell occurs through the use of a saturating           tionalgroupsare coupled to bindingprotein/peptide primary
     amount of biotinylated protein/peptide.                             amino groups by, for example, converting the hydroxyl
        For example,poly-lactic/glycolic acid particulateshaving      65 moiety to a terminalcarboxylicacid functional group. Such
     terminalcarboxylic acid groups are activated with carbodi-          a conversion can be accomplished through reaction with
     imide and subsequently reacted with avidin or streptavidin.         chloroacetic acid foUowed by reaction with carbodiimide.
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 42 of 67 PageID# 62



                                                             5,811,447
                                 27                                                                    28
     Sandwich, adsorption andentrapment techniques, discussed            therapeutic conjugate solution, wherein the vascular smooth
     above with respect to biodegradable particulates,are analo          muscle protein binding protein is NR-AN-01 and the thera
     gously applicable to non-biodegradable particulate-binding          peutic agent is Roridin A, a trichothecenedrug. For treating
     protcin/peptide affixation.                                         vascular trauma, e.g., resulting from surgery or disease (e.g.,
       In a preferred embodiment, targeting is specific for poten        see below), when the therapeutic conjugate is administered
     tially proliferating cells that result in increased smooth          with an infusion catheter, 10 ml will commonly be su£5cient
     muscle in the intima] region of a traumatized vascular site,        volume to fill the catheter and infuse 1 to 1.5 ml into one to
     e.g., following angioplasty, e.g., pericytes and vascular           three traumatic lesion sites in the vessel wall. It will be
     smooth muscle cells. Aspects olF the invention relate to            recognized by those skilled in the art that desired therapeu-
     therapeutic modalities in which the therapeutic conjugate of   10   tically effective dosages of a therapeutic conjugate accord
     the invention is used to delay, reduce, or eliminate smooth         ing to the invention will be dependent on several factors,
     muscle proliferation after angioplasty, e.g., PTCA, athero-
     ectomy and percutaneous transluminal coronary rotational
                                                                         including, e.g.: a) the binding afi^ity ofthe vascular smooth
     atheroblation.
                                                                     muscle binding protein in the therapeutic conjugate; b) the
        In another preferredembodiment,targetingis specificfor       atmospheric  pressure applied during infusion; c) the time
     primary or metastatic tumor foci accessible to local 15 over which the therapeutic conjugate administered resides at
     administration, e.g., tumors exposed for infiltration by lap-   the vascular site; d) the nature of the therapeutic agent
     arotomy or visible for fluoroscopic or computerized tomog       employed; and/or e) the nature of the vascular trauma and
     raphy guiding and infusion needle administration to internal    therapydesired.Those skilled practitioners trainedto deliver
     tumor foci or tumors confined to a small area or cavity         drugs at therapeuticallyeffective dosages (e.g., by monitor
     within the mammal, e.g., ovarian cancer located in the 20 ing drug levelsandobservingclinicaleffectsin patients)will
     abdomen, focal or multifocal liver tumors or the like.          determine the optimal dosage for an individual patient based
     Aspects of this embodiment of the invention involve thera       on experience and professional judgment. In a preferred
     peutical modalities wherein the therapeutic agent is cyto-      embodiment, about 0.3 atm (i.e., 300 mm of Hg) to about 5
     toxic to the target cells or metabolically modulates the cells, atm of pressure applied for 15 seconds to 3 minutes directly
     increasingtheirsensitivityto chemotherapyand/or radiation 25 to the vascular wall is adequate to achieve infiltration of a
     therapy.                                                        therapeutic conjugate containing the NR-AN-01 binding
        In another embodiment, targeting is specific for a local     proteininto the smoothmusclelayersof a mammalian artery
     administrationaccessibleeffectorcell population implicated      wall. Those skilled in the art will recognize that infiltration
     in immune system-mediated diseases, e.g., arthritis, intra      of the therapeuticconjugate into intimal layers of a diseased
     ocular immune system-mediated disease or sprue. Aspects 30 human vessel wall will probably be variable and will need
     of this embodiment of the present invention involve thera       to be determined on an individual basis.
     peutic modalitieswherein the therapeutic agent is cytotoxic        Sustained release dosage forms of an embodiment of the
     or modifies the biological response of the target cells to      invention may only need to be delivered in an anti-
     effect a therapeutic objective.                                 proliferative therapeutic dosage sufficient to expose the
        In another embodiment, targeting is specific for a local 35 proximal (6 to 9) cell layers of the tunica media smooth
     administration accessible pathologically proliferating or       muscle cells lining the lumen to the dosage form. This
     hyperactive normal cell population implicated in, e.g.,         dosage is determinable empirically, e.g., by a) infusing
     degenerative eye disease,cornealpannus, hyperactive endo        vessels from suitable animal model systems and using
     crine glandsor the like.Aspects of this emlx)diment of the     immunohistochemical, fluorescent or electron microscopy
     present inventioninvolvetherapeutic modalitieswhereinthe 40 methods to detect the dosage form and its effects; and b)
     therapeutic agent reduces or eliminates proliferation or       conducting suitable in vitro studies.
     hyperactivity of the target cell population.                      In a representative example, this therapeutically effective
        For treatment of a traumatized or diseased vascular site,   dosage is achieved by determining in smooth muscle cell
     the therapeutic conjugates or dosage forms of the invention    tissue culture the pericellular agent dosage, which at a
     may be administered to the host using an infusion catheter, 45 continuous exposure results in a therapeutic effect between
     such as produced by C. R. Bard Inc., Billerica, Mass., or that the toxic and minimal effective doses. This therapeutic level
     disclosed by Wolinsky (7; U.S. Pat. No. 4,824,436) or          is obtained in vivo by determining the size, number and
     Spears (U.S. Pat. No. 4,512,762). In this case, a thcrapeu-    therapeutic agent concentration and release rate requiredfor
     tically effectivedosage of the therapeutic conjugate will be   particulatesinfusedbetween the smooth muscle cells of the
     typically reached when theconcentration of conjugate in the 50 artery wall to maintain this pericellular therapeutic dosage.
     fluid space between the balloons of the catheter is in the        The dosage form should release the therapeutic agent at a
     range of about 10"^ to 10"^^M. It will be recognized from         rate that approximates the pericellular dose of the following
     the Examplesprovided herewith that therapeutic conjugates         exemplary therapeutic agents: from about 0.01 to about 100
     of the invention may only need to be delivered in an              micrograms/ml nitroglycerin,from about 1.0 to about 1000
     anti-proliferative therapeutic dosage sufficient to expose the 55 micrograms/ml of suramin, from about 0.001 to about 100
     proximal (6 to 9) cell layers of the intimal or tunica media      micrograms/ml for cytochalasin, and from about 0.01 to
     cells lining the lumen to the therapeutic anti-proliferative      about 10' nanograms/ml of staurosporin as well as from
     conjugate, whereas the anti-contractile therapeutic dosage        about 0.001 to about 100 micrograms/ml taxol.
     needs to expose the entire tunica media, and further that this       For TGF-beta activators or production stimulators, such
     dosage can be determined empiricaUy, e.g., by a) infusing 60 as tamoxifen, several exemplary dosing regimens are
     vessels from suitable animal model systems and using              contemplated, depending upon the condition being treated
     immunohistochemical methods to detect the conjugate and           and the stage to which the condition has progressed. For
     its effects (e.g., such as exemplified in the EXAMPLES            prophylactic purposes with respect to atherosclerosis, for
     below); and b) conducting suitable in vitro studies such as       example, a low chronic dose sufficient to elevate in vivo
     exemplified in EXAMPLES 3, 4, and 5, below).                   65 TGF-beta production or activation is contemplated. An

        In a representative example, this therapeutically effective    exemplarydose of this type is about0.1 mg/kg/day(ranging
     dosage is achieved by preparing 10 ml of a 200 /<g/ml               between about 0.1 and about 10 mg/kg/day). Another exem-
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 43 of 67 PageID# 63



                                                                 5,811,447
                                     29                                                                   30
     plary dose range is from about 0.01 to about 1000                     ribosomes or DNA metabolism, will inSuence the dosage
     micrograms/ml. Low doses, such as 0.1 ng/Kg/day, are also             and time required to achieve a therapeutically effective
     contemplated for use with respect to ameliorating stenosis            dosage, and that this process can be modeled in vitro and in
     following relatively low trauma injury or intervention, such          animal studies, such as those described in the Examples
     as vein grafts or transplants or organ dlografts, for example.        provided below, to find the range of concentrations over
     No adverse side effects (e.g., nausea as experienced by               which the therapeutic conjugate or dosage form should be
     recipients of higher dose administrations when tamoxifen              administered to achieve its effects of delaying, reducing or
     has been employed in the treatment of breast cancer) are              preventing restenosis following angioplasty. For example,
     anticipated with respect to these chronic or low dosing               therapeutic conjugates radiolabeled with alpha-, beta- or
     regimens.                                                          10 gamma-emitters of known specific activities (e.g., millicu-
        For prevention of restenosis following angioplasty, an
                                                                           ries per millimole or milligram of protein) are useful for
     example of a higher trauma injury or intervention resulting
                                                                           determining the therapeutically effective dosage by using
     in a stronger acute proliferative stimulus to smooth muscle
     cells, a higher dose would be required. For example, a                them in animal studies and human trials with quantitative
     dosing regimen is contemplated which involves a single                imaging or autoradiography of histological tissue sections to
     "pre-loading" dose (or multiple, smaller pre-loading doses) 15 determine the concentration of therapeutic conjugate that is
     given before or at the time of the intervention, with a chronic       required by the therapeutic protocol. A therapeutically effec
     smaller (follow up) dose delivered for two to three weeks or          tive dosage of the therapeutic conjugate or dosage form will
     longer following intervention. For example, a single pre              be reached when at least three conditions are met: namely,
     loading dose may be administered about 24 hours prior to              (1) the therapeutic conjugate or dosage form is distributed in
     intervention, while multiple preloading doses may be 20 the intimal layers of the traumatically injured vessel; (2) the
     administered daily for several days prior to intervention. An         therapeutic conjugate or dosage form is distributed within
     exemplary single pre-loading dose is about 50 mg,'kg                  the desired intracellular compartment of the smooth muscle
     (ranging between ateut 5 and about 1000 mg/kg), while an              cells, i.e., that compartment necessary for the action of the
     exemplary multiple pre-loading individual dose is about 10            therapeutic agent, or the therapeutic agent released from the
     mg/kg/day (ranging between about 0.01 and 10 mg/kg/day). 25 dosage form extracellularly is distributed within the relevant
     Such a dosing regimen may involve a systemic pre-loading              intracellular compartment; and (3) the therapeutic agent
     dose followed by a sustained release chronic dose, or the             inhibits the desireid cellular activity of the vascular smooth
     sustained release dosage form may be designed to deliver a            muscle cell, e.g., proliferation, migration,, increased cellular
     large dose over a short time interval as well as a smaller            volume, matrix synthesis, cell contraction and the like
     chronic dose for the desired time period thereafter. Some 30 described above.
     nau.sea may be encountered at the higher dose; however, the              It will be recognized that where the therapeutic conjugate
     use of a sustained release or other targeted dosage form is           or dosage form is to be delivered with an infusion catheter,
     expected to obviate this side effect, because the recipient           the therapeutic dosage required to achieve the desired inhibi
     will not be subjected to a high systemic dose of the thera            tory activity for a therapeutic conjugate or dosage form can
     peutic agent.                                                      35 also be anticipated through the use of in vitro studies. In a

        It will be recognized by those skilled in the art that desired     preferred aspect, the infusion catheter may be conveniently
     therapeutically effective dosages of the catheter adminis             a double balloon or quadruple balloon catheter with a
     tered sustained release dosage forms of the invention will be         permeable membrane. In one representative embodiment, a
     dependent on several factors, including, e.g.: a) the binding         therapeutically effective dosage of a therapeutic conjugate or
     aflinity of the binding protein associated with the dosage 40 dosage form is useful in treating vascular trauma resulting
     form, if any; b) the atmospheric pressure and duration of the         from disease (e.g., atherosclerosis, aneurysm, or the like) or
     infusion; c) the time over which the dosage form adminis              vascular .surgical procedures such as angioplasty,
     tered resides at the target site; d) the rate of therapeutic agent    atheroectomy, placement of a stent (e.g., in a vessel),
     release from the particulate dosage form;                             thrombectomy, and grafting. Atheroectomy may be
        e) the nature of the therapeutic agent employed; £) the 45 performed, for example, by surgical excision, ultrasound or
     nature of the trauma and/or therapy desired; and/or g) the            laser treatment, or by high pressure fluid flow. Grafting may
     intercellular and/or intracellular localization of the particu        be, for example, vascular grafting using natural or synthetic
     late dosage form. Those skilled practitioners trained to              materials or surgical anastomosis of vessels such as, e.g.,
     deliver drugs at therapeutically effective dosages, (e.g., by         during organ grafting. Those skilled in the art will recognize
     monitoring therapeutic agent levels and observing clinical 50 that the appropriate therapeutic dosage for a given vascular
     effects in patients) are capable of determining the optimal           surgical procedure (above) is determined in in vitro and in
     dosage for an individual patient based on experience and              vivo animal model studies, and in human preclinical trials.
     professional judgment. In a preferred embodiment, about 0.3           In the EXAMPLES provided below, a therapeutic conjugate
     atm (i.e., 300 mm of Hg) to about 3 atm of pressure applied           containing Roridin A and NR-AN-01 achieved a therapeu
     for 15 seconds to 3 minutes to the arterial wall is adequate 55 tically effective dosage in vivo at a concentration which
     to achieve infiltration of a sustained release dosage form            inhibited cellular protein synthesis in test cells in vitro by at
     bound to the NR-AN-01 binding protein into the smooth                 least 5 to 50%, as judged by incorporation of radiolabeled
     muscle layers of a mammalian artery wall. Wolinsky et al.,            araino acids.
     "Direct Intraarterial Wall Injection of Microparticles Via a             In the case of therapeutic agents of conjugates or dosage
     Catheter: A Potential Drug Delivery Strategy Following 60 forms containing anti-migratory or anti-matrix therapeutic
     Angioplasty," Am. Heart Jour., 122(4):1136-1140, 1991.                agents, cell migration and cell adherence in in vitro assays,
     Those skilled in the art will recognize that infiltration of a        respectively, may be used for determining the concentration
     sustained release dosage form into a target cell population           at which a therapeutically effective dosage will be reached
     will probably be variable and will need to be determined on           in the fluid space created by the infusion catheter in the
     an individual basis.                                              65   vessel wall.
       It will also be recognized that the selection of a thera                While one representative embodiment of the invention
     peutic agent that exerts its effects intracellularly, e.g., on         relates to therapeutic methods employing an infusion
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 44 of 67 PageID# 64



                                                             5,811,447
                                 31                                                              32
    catheter, it will be recognized that other methods for drug       manner, e.g., through Fc rcceptor binding reticuloendothe-
    delivery orroutes ofadministration may also be useful, e.g.,     lial cells, asialo-receptor binding, and by binding to
    injection by the intravenous, intralymphatic, inlrathecal,       ubiquitin-expressing cells. The irrelevant "blocker"
    intraarterial, local delivery by implanted osmotic pumps or   decreases non-specific binding of the therapeutic conjugate
    other intracavity routes. Dosage form administration by 5 or dosage form and thus reduces side-effects, e.g., tissue
    these routes inaccordance with the present invention may be   toxicity, associated with the use of the therapeutic conjugate
    continuous orintermittent, depending, for example, upon the   or dosage form. The irrelevant "blocker' is advantageously
    patient's physiological condition, whether the purpose ofthe  administered from 5 minutes to 48 hours, most preferably
    administration is therapeutic or prophylactic and other fac-  from 15minutes toone hour, prior to administration of the
    tors known to and evaluable by a skilled practitioner. For lo therapeutic conjugate ordosage form, although the length of
     intravenous administration, nanoparticulate dosage forms of      time may vary depending upon the therapeutic conjugate
     the present invention are preferred. Intravenous administra-     and route or method of injection. Representative examples
     tion of nanoparticulates is useful, for example, where vas-      of irrelevant "blockers" include antibodies that are nonre-
     cular permeability is increased intumors for leakage, espe-      active with human tissues and receptors or cellular and
     cially in necrotic areas of tumors having damaged vessels 15 serum proteins prepared from animal sources that when
     which allow the leakage ofparticles into the interstitial fluid, tested are found not tobind in a specific manner (e.g., with
     and where artery walls have been denuded and traumatized         a Ka<10' M"^) to human cell membrane targets.
     allowing the particles to enter the interstitial area of the        Itwill be recognized that the conjugates and dosage forms
     tunica media.                                                    of tbe invention are not restricted in use for therapy follow-
       In the practice of certain embodiments of the present 20 ing angioplasty; rather, the usefulness of the therapeutic
     invention, catheter and other administration routes are pref-    conjugates and dosage forms will be proscribed by their
     erably conducted using dosage forms or therapeutic agents      ability to inhibit cellular activities of smooth muscle cells
     dispersed ina pharmaceutically acceptable carrier that is in and pericytes inthe vascular wall. Thus, other aspects ofthe
     liquid phase. Useful pharmaceutically acceptable carriers for  invention include therapeutic conjugates and dosage forms
     these purposes include generally employed carriers, such as 25 and protocols useful in early therapeutic intervention for
     phosphate buffered saline solution, water, emulsions (e.g.,    reducing, delaying, or eliminating (and even reversing)
     oil/water and water/oil emulsions) and wetting agents of         atherosclerotic plaques and areas of vascular wall hypertro-
     various types.                                                   phy and/or hyperplasia. Therapeutic conjugates and dosage
        Advantageously, non-coupled vascular smooth muscle            forms ofthe invention also find utility for early intervention
     cell binding protein (e.g., free NR-AN-01 antibody) is 30 in pre-atherosclerotic conditions, e.g., they are useful in
     administered prior to administration ofthe therapeutic agent patients ata high risk ofdeveloping atherosclerosis orwith
     conjugate or dosage form to provide a blocker of non-        signs ofhypertension resulting from atherosclerotic changes
     specific binding to cross-reactive sites. Blocking of such   invessels orvessel stenosis due to hypertrophy ofthe vessel
     sites is important because vascular smooth muscle cell           wall.
     binding proteins will generally have some low level of 35 The therapeutic conjugates and dosage forms of the
     cross-reactivity with cells in tissues other than the desired invention may also be used in therapeutic modalities for
     smooth muscle cells. Such blocking can improve localiza-         enhancing the regrowth of endothelial cells in injured vas-
     tion of the therapeutic conjugate or dosage form at the          cular tissues and in many kinds of wound sites including
     specific vascular site, e.g., by making more ofthe therapeu- epithelial wounds. In these therapeutic modalities, the thera-
     tic conjugate available to the cells. As an example, non- 40 peutic conjugates and dosage forms of the invention find
     coupled vascular smooth muscle binding protein is admin-     utility in inhibiting the migration and/or proliferation of
     istered from about 5 minutes to about 48 hours, most             smooth muscle cells or pericytes. Smooth muscle cells and
     preferably from about 5 minutes lo about 30 minutes, prior       pericytes have been implicated in the production offactors
     to administration of the therapeutic conjugate or dosage    in vitro that inhibit endothelial cell proliferation, and their
     form. In one preferred embodiment of the invention, the 45 proliferation can also result in a physical barrier to estab-
     unlabeled specific "blocker" is a monovalent or bivalent    lishing a continuous endothelium. Thus, the therapeutic
     form of an antibody (e.g., a whole antibody or an F(ab)*2,  conjugates and dosage forms ofthe invention find utility in
     Fab, Fab', or Fv fragment of an antibody). The monovalent   promoting neo-angiogenesis and increased
     form of the antibody has the advantage of minimizing        re-endothelialization, e.g., during wound heahng, vessel
     displacement of the therapeutic conjugate or dosage form 50 grafts and following vascular surgery. The dosage forms
     while maximizing blocking of the non-specific cross-        may also release therapeutic modalities that stimulate or
     reactive sites. The non-coupled vascular smooth muscle cell speed up re-endothelialization of the damaged vessel wall,
     binding protein is administered in an amount effective to An exemplary therapeutic agent for this purpose isvascular
     blocking binding of a least a portion of the non-specific        permeability factor.
     cross-reactive sites in a patient. The amount may vary 55 Still other aspects of the invention relate to therapeutic
     according tosuch factors asthe weight ofthe patient and the modalities for enhancing wound healing in a vascular site
     nature ofthe binding protein. In general, about 0.06 mg to and improving the structural and elastic properties ofhealed
     0.20 mg per kg body weight or more of the unlabeled         vascular tissues. In these therapeutic modalities using the
     specific blocker is administered to a human.                therapeutic conjugate or dosage form of the invention, i.e..
        In addition, a second irrelevant vascular smooth muscle 60 to inhibit the migration andproliferation of smooth muscle
     cell binding protein may optionally be administered to a cells orpericytes in a vessel wall, the strength and quality of
     patient prior to administration of the therapeutic conjugate  healing of the vessel wall are improved. Smooth muscle
     ordosage form to reduce non-specific binding of the thera-    cells in the vascular wound site contribute to the normal
     peutic conjugate or dosage form to tissues. In a preferred    process of contraction of the wound site which promotes
     embodiment, the irrelevant binding protein may be an anti- 65 wound healing. It is presently believed that migration and
     body which does not bind to sites in the patient through      proliferation ofsmooth muscle cells and matrix secretion by
     antigen-specific binding, but instead binds in a non-specific transformed smooth muscle cells may detract from this
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 45 of 67 PageID# 65



                                                             5,811,447
                                  33                                                            34
     normal process and impair the long-term structural and           When cytostatic agents are employed, the stabilizer or
     elastic qualities of thehealed vessel. Thus, other aspects of organizer is preferably administered prior locytostatic agent
     the invention provide for therapeutic conjugates and dosage   administration. Apreferred embodiment ofthis aspect of the
     forms that inhibit smooth muscle andpericyte proliferation    present invention fortheprevention or treatment of resteno-
     andmigration as wellas morphological transformation, and 5 sis features the following steps:
     improve the quality of the healed vasculature.                   1) systemic administration of a large, prophylactically
        Thepresent invention alsoprovides a combination thera-     effective dose of tamoxifen;
     peutic method involving a cytocidal therapeutic conjugate        2) after the passage of from about 0 to about 72 hours
     and a cytostatic therapeutic agent. The cytocidal conjugate   (preferably 24-72 hours), an effective amount of cytocha-
     includes a binding partner (such as a protein or peptide) lO lasin Bis locally administered (e.g., via a catheter during an
     capable of specifically localizing to vascular smooth muscle  angioplasty procedure); and
     cells and an active agent capable of killing such cells. The     3) daily system administrations of smaller, follow up
     cytocidal conjugate is administered, preferably intrave-      dosesof tamoxifen.
     nously or through any other convenient route therefor.        Optionally, a follow up dose of tamoxifen could also be
     localizes to the taiget smooth muscle cells, and destroys 15 locally administered in step 2.
     proliferating cellsinvolved in stenotic or restenotic events.    Using thisprotocol offers reduced and more highly orga-
     This cellular destruction causes the release of mitogens and  nized or more stable proliferation by smooth muscles cells
     othermetabolic events, which events generally lead, in turn,  in combination with a biological stenting effect.
     to vascular smooth muscle cellproliferation. The sustained           The present invention also provides methods for the
     release anti-proliferative or anti-contractile dosage forms of 20 treatment of cancer and immune system-mediated diseases
     the present invention are next administered, preferably           through local administration of a targeted particulate dosage
     through an infusion catheter orany convenient dosage form         form. The particulate dosage form is, for example, admin-
     therefor. The sustained release dosage form retards the       istered locally into primary and/or metastatic foci of can-
     vascular smooth muscle cell proliferation and/or migration    cerous target cells. Local administration is preferably con-
     andcontraction, thereby maintaining luminal diameter. This 25 ducted using an infusion needle or intraluminal
     treatment methodology constitutes a biological arteromyec-    administration route, infusing theparticulate dosage form in
     tomy useful in stenotic vessels resulting from vascular            the intercellular region of the tumor tissue orinluminal fluid
     smooth muscle cell hyperplasia and the like.                       surrounding the tumorcells.
        Alternatively, a combination protocol can be employed         Primary foci introduction is preferably conducted with
     involving a, for example, systemically administered TGF- 30 respect to target cells that are generally situated inconfined
     beta, TGF-beta activator or TGF-beta production stimulator    areas within a mammal, e.g.,ovarian carcinomas located in
     capable of stabilizing or organizing the proliferation occur- the abdominal cavity. The dosage form of the present
     ring at a diseased or traumatized smooth muscle site. The     invention binds to the target cell population and, optionally,
     therapeutic orprophylactic agent combined by, for example,    is internalized therein for release of the therapeutic agent
     local administration in protocols employing the aforemen- 35 over lime. Lx)cal administration of dosage forms of the
     tioned stabilizer/organizer may be either a cytotoxic agent   present invention tosuch primary foci results in a localized
     (e.g., free cytotoxic agent, a cytotoxic conjugate, or a      effect on such target cells, with limited exposure of other
     sustained dosage form incorporating a cytotoxic agent) or a   sensitive organs, e.g., the bone marrow andkidneys, to the
     cytostatic agent (e.g., free, targeted or sustained release        therapeutic agent.
     formulations of an agent capable of generating a biological 40 When metastatic foci constitute thetarget cellpopulation,
     stenting effect, an anti-migratory agent, a cytoskeletal         the administered microparticles and laiger nanoparticles are
     inhibitor, a metabolic inhibitor, an anti-proliferative agent or primarily bound to the target cellssituated neartheinfusion
     the like).                                                       site and are, optionally, internalized for release of the
        When a cytotoxic agent is employed, the stabilizer or         therapeutic agent, thereby generating a marked and localized
     organizer ispreferably administered prior to cytotoxic agent 45 effect onthe target cells immediately surrounding the infii-
     administration. Apreferred embodiment of this aspect of the        sion site. Inaddition, smaller nanoparticles follow interstitial
     present invention for the prevention ortreatment ofresteno-        fluid flow orlymphatic drainage channels and bind totarget
     sis features the following steps:                                  celk that are distal to the infusion site and undergoing
        1) systemic administration of a large, prophylactically         lymphatic metastasis.
     effective dose of tamoxifen;                                  50     The targeted dosage forms of this embodiment of the
        2) after the passage of from about 0 to about 72 hours      present invention can be used in combination with more
     (preferably 24to 72), aneffective amount of a, for example,    commonly employed immunoconjugate therapy. In this
     Pseudomonas exotoxin-monoclonal antibody conjugate             manner, the immunoconjugate achieves a systemic effect
     capable of localizing to vascular smooth muscle cells is       within the limits ofsystemic toxicity, while thedosage form
     locally administered (e.g., via a catheter during an angio- 55 of the present invention delivers a concentrated and sus-
     plasty procedure); and                                         tained dose of therapeutic agent to the primary and meta-
        3) daily system administrations of smaller, foUow up            .static foci, which often receive an inadequate therapeutic
     doses of tamoxifen.                                                dose from such "systemic" immunoconjugate administration
     Optionally, a follow up dose of tamoxifen could also be         alone, and avoids or minimizes systemic toxic effects,
     locally administered in step 2.                               60 Where thetarget cellpopulation canbe accessed by local
        Using thisprotocol offers reduced and more highly otga-      administration, thedosage forms ofthepresent invention are
     nized or more stable proliferation by smooth muscles ceUs       utilized to control immune system-mediated diseases,
     that are susceptible loacytotoxic agent targeted thereto. The   Exemplary of such diseases are arthritis, sprue, uveitis,
     cytotoxic agent aclsontheproliferating cells. Thefollow up      endophlhalmitis, keratitis andthelike. The target cellpopu-
     dosesof tamoxifen facilitate the prevention of proliferation 65 lations implicated in these embodiments of the present
     resulting from smooth muscle cell death caused by the              invention are confined to a body cavity or space, such as
     action of the cytotoxic agent.                                     joint capsules, pleural and abdominal cavity, eye and sub-
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 46 of 67 PageID# 66



                                                                5,811,447
                                   35                                                              36
     conjunctiva! space, respectively. Local administration is           sure of the vessel associated with vasospasm or early
     preferably conducted using an infusion needle for a                 relaxation of the muscular wall, due to trauma shock result
     intrapleural, iotraperiloneal, intraocular or sub-conjunclival       ing from vessel over-stretching by a balloon catheter during
     administration route.                                                angioplasty. This spasm of the tunica media which leads to
        This embodiment of the present invention provides a 5 decreases in the luminal area may occur within hours, days
     more intense, localized modulation of immune system cells            or weeks after the balloon dilation, as restoration of vascular
     with minimal effect on the systemic immune system cells.             muscle wall tone occurs. Recent observations during micro
     Optionally, the systemic cells of the immune system are              scopic examination of atheroectomy specimens suggest that
     simultaneously treatable with a chemotherapeutic agent con           elastic recoil may occur in up to 25% of angioplasty pro-
                                                                          cedures classified as successful, based on the initial post-
     jugated to a binding protein or peptide. Such a conjugate
                                                                          procedure angiogram. Because the biological stenting pro
     preferably penetrates from the vascular lumen into target            cedure relaxes the artery wall following balloon angioplasty,
     immune system cells.                                                 the clinician can eliminate over-inflation and its resuhant
        The local particulate dosage form administration may also         trauma shock as a means to diminish or delay the vessel
     localize to normal tissues that have been stimulated to              spasm or elastic recoil. Reduction or elimination of over-
     proliferate, thereby reducing or eliminating such pathologi          inflation decreases trauma to the muscular wall of the vessel,
     cal (i.e., hyperactive) conditions. An example of this               thereby reducing the determinants of smooth muscle cell
     embodiment of the present invention involves intraocular             proliferation in the intima and, therefore, reducing the
     administration of a particulate dosage form coated with a            incidence or severity of restenosis.
     binding protein or peptide that localizes to pericytes and              Biological stenting also decreases the incidence of throm-
     smooth mu.sclecells of neovascularizing tissue. Proliferation 20 bus formation. In pig femoral arteries treated with cytocha-
     of these pericytes causes degenerative eye disease. Preferred        lasin B, for example, the incidence of mural microthrombi
     dosage forms of the present invention release compounds              was decreased as compared to the balloon traumatized
     capable of suppressing the pathological proliferation of the         arteries that were not treated with the therapeutic agent. This
     target cell population. The preferred dosage forms can also          phenomenon appears to be a secondary benefit that may
     release compounds that increase vessel lumen area and 25 result from the increased blood flow through the traumatized
     blood flow, reducing the pathological alterations produced           vessel, said benefit being obtained through the practice of
     by this reduced blood supply.                                        the present invention.
        Still another aspect of the present invention relates to             Cytochalasins are exemplary therapeutic agents capable
     therapeutic modalities for maintaining an expanded luminal           of generating a biological stenting effect on vascular smooth
     volume following angioplasty or other vessel trauma. One 30 muscle cells. Cytochalasins are thought to inhibit both
     embodiment of this aspect of the present invention involves          migration and contraction of vascular smooth muscle cells
     administration of a therapeutic agent capable of inhibiting          by interacting with actin. The cytochalasins interact with the
     the ability of vascular smooth muscle cclls to contract.             ends of filamentous actin to inhibit the elongation of the
     Exemplary agents useful in the practice of this aspect of the        actin filaments. Low doses of cytochalasins (e.g., cytocha-
     present invention are those capable of causing a traumatized 35 lasin B) also disrupt microfilament networks of actin. In
     artery to lose vascular tone, such that normal vascular              vitro data indicate that after vascular smooth muscle cells
     hydrostatic pressure (i.e., blood pressure) expands the flac         clear cytochalasin B, the ceUs regenerate enough polymer
     cid vessel to or near to its maximal physiological diameter.         ized actin to resume migration within about 24 hours. In
     Loss of vascular tone may be caused by agents that interfere         vivo a.ssessmenls reveal that vascular smooth muscle cells
     with the formation or function of contractile proteins (e.g., 40 regain vascular tone within 2 to 4 days. It is during this
     actin, myosin, tropomyosin, caldesmon, calponin or the               recuperative period that the lumen diameter fixation and
     like). This interference can occur directly or indirectly            biological stenting effect occurs.
     through, for example, inhibition of calcium modulation,                 The therapeutic agent may be targeted, but is preferably
     phosphorylation or other metabolic pathways implicated in            administered directly to the traumatized vessel following the
     contraction of vascular smooth muscle cells.                      45 angioplasty or other traumatic event. The biological stenting
        Inhibition of ceflular contraction (i.e., loss of vascular        effect of cytochalasin B, for example, is achievable using a
     tone) may operate through two mechanisms to reduce the               single infusion of the therapeutic agent into the traumatized
     degree of vascular stenosis. First, inhibition of cellular           region of the vessel wall at a dose concentration ranging
     contraction for a prolonged period of time limits the number         from about 0.1 microgram/ml to about 1.0 micrograms/ml.
     of smooth muscle cells that migrate from the tunica media 50 Inhibition of vascular smooth muscle cell migration (from
     into the intima, the thickening of which results in vascular         the tunica media to the intima) has been demonstrated in the
     luminal stenosis. Second, inhibition of cellular contraction         same dose range (Example 11); however, a sustained expo
     causes the smooth muscle wall to relax and dilate under              sure of the vessel to the therapeutic agent is preferable in
     normal vascular hydrostatic pressure (i.e., blood pressure),         order to maximize these anti-migratory effects. If the vas-
     llierapeutic agents, such as the cytochalasins, inhibit 55 cular smooth muscle cells cannot migrate into the intima,
     smooth muscle cell contraction without abolishing the pro            they cannot proliferate there. Should vascular smooth
     tein synthesis necessary for traumatized, post-angioplasty or        muscle cells migrate to the intima, a subsequently admin
     other surgicaUy- or disease-damaged, smooth muscle cells             istered anti-proliferative sustained release dosage form
     to repair themselves. Protein synthesis is also necessary for        inhibits the intimal proliferation. As a result, the sustained
     the smooth muscle cells to secrete matrix, which fixes or 60 release dosage form of the present invention, incorporating
     retains the lumen in a state near its maximum systolic               a cytochalasin or other anti-proliferative therapeutic agent,
     diameter as the vascular lesion stabilizes (i.e., a biologically-    can be administered in combination with a free cytochalasin
     induced stenting effect).                                            therapeutic agent. In this manner, the biological stenting
        This biological stenting effect not only results in an            effect, as weU as an anti-proliferative or anti-migratory
     expanded vessel luminal area and increased blood flow rate 65 effect, can be achieved in a single administration protocol.
     through the vessel, but also significantly reduces elastic              Agents usefiil in the protocols of the present invention are
     recoil following angioplasty. Elastic recoil is an acute clo         identifiable, for example, in accordance with the following
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 47 of 67 PageID# 67



                                                                     5,811,447
                                 37                                                                   38
     procedures. A potential agent for free agent (i.e., non-              balloon traumatized pig femoral artery model. Preferably,
     targeted) administration exhibits one or more of the follow-          such agents demonstrate a 50% or greater inhibition of cell
     ing characteristics:                                                  proliferation in the tunica media vascular smooth muscle
       (i) retains an expanded luminal volume following angio-                    ^ indicated by a 1hour ';BpU flash labeling" prior
          plasty (e.g., PTCA, percutaneous translurainal angio- 5             tissue collection and histological evaluation. Ifan agent is
          plasty (PTA) /or the like) or other trauma,
                               . ui . 1
                                                        including
                                                j .u 1-1 \
                                                                                           f       of time sufficient to inhibit intimal
                                                                           smooth muscle proliferation 50% or greater with a single
          alheroecwmy (e.g., rotobhler, laser and .he 1Ae). com-
          nary artery bypass procednres or Ihe te;or resullmg                                               , "suaajned ^^jeasc dosage
          from vascular disease (e.g., alher<^lerosis, eye dis-          ^genls having shorter duration activity are evaluated
          eases secondary lo vascular stenosis or atrophy, cere- w for sustained release ifthe systemic toxicity and potential
          bral vascular stenotic diseases or the like);                    therapeutic index appear to permit intravenous administra-
       (ii) the initial increase in luminal area facilitated by the        tion lo achieve the 50% inhibition, or if the agent is
          agent does not result in or accentuate chronic stenosis          amenable to local delivery to the vascular smooth muscle
          of the lumen;                                                    cells with sustained release at an effective anti-proliferative
       (iii) inhibits target cell contraction or migration; and                  Sustained release agents are evaluated in a sus^ined
                      •
       (IV) iscytostatic.                                                  release dosage  formanti-proliferative
                                                                                   Preferably,   for dose optimization    and efficacy
                                                                                                                  agents useful in the
     Preferably, atherapeutic agent employed herein will have all          practice ofthe present invention decrease vascular stenosis
     four properties; however, the first and third are more impor-  by 50% in baUoon traumatized pig femoral arteries and,
     tant than the second and fourth for practice of the present 20 more preferably, to decrease vascular stenosis to a similar
     invention. Cytochalasin B, for example, was evaluated to              extent in pig coronary arteries. Such agents are then evalu-
     determine suitability for use in free therapeutic agent pro-          able in human clinical trials.
     tocols. The biological stenting effect of cytochalasin B is             Cell proliferation (i.e., DNA synthesis) inhibition is the
     achievable using a single infusion of the therapeutic agent           primary characteristic for sustained release of agents,
     into the traumatized region of the ve.ssel wall at a dose 25 Staurosporin, for example, exhibits a differential between
     concentration ranging from about 0.1 microgram/ml to                  ^H-leucine and ^H-thymidine uptake such that itiscytostatic
     about 1.0 micrograms/ml.                                              ^t administered doses. Longer duration cytotoxicity studies
       An agent useful in the sustained release embodiments of             did not indicate that prolonged exposure to the therapeutic
     the present invention exhibits one ormore ofthe following                   would adversely impact the target cells. In addition,
     characteristics-                                          30                 pulsing indicated that staurosporin inhibits target cell
                           j .,luminal
       (1) retains an expanded    - . volume
                                        ,    for „lowing
                                                     • ang.o-
                                                          •                proliferation.  Any convenient
                                                                                ^ility of inhibiting         method for
                                                                                                     cell proliferation mayevaluating the
                                                                                                                             altemaUvely
          pasty (e.g., PTCA, percutaneous transluminal angio-              ^e employed, however. Consequently, staurosporin iseffec-
          plasty (PIA) or the like) or other trauma, including                   retaining an expanded luminal volume,
          atheroectomy (e.g., rotoblater, laser and the like), coro-  pjjgjj levels of lipoprotein Lp(a) are known toconstitute
          nary artery bypass procedures or the like; or resulling 35 ^major risk factor for atherosclerosis, coronary heart disease
          from vascular disease (e.g., atherosclerosis, eye dis-           and stroke. One symptom associated with such conditions
          eases secondary to va.scular stenosis or atrophy, cere-          and other problems, such as restenosis following balloon
          bral vascular stenotic diseases or the like);                    angioplasty and other pathogenic conditions, is the prolif-
       (ii) inhibits target cell proliferation (e.g., following 5          eration or the migration of smooth muscle cells. No direct
          minute and 24 hour exposure to the agent, in vitro               link between Lp(a) and proliferation of vascular smooth
          vascular smooth muscle tissue cultures demonstrate a             muscle ceUs had been established in the prior art.
          level of inhibition of ^H-thymidine uptake and.                    An in vivo pathway for the modulation of vascular
          preferably, display relatively less inhibition of                smooth muscle cellproliferation is shown in FIG. 15. This
          ^H-leucine uptake);                                              mechanism isbelieved toconstitute a portion of the mecha-
       (iii) at adose sufficienuo inhibit DNAsvnthesis, produces «                    vascular smooth mu^le cells in a
          only mUd to moderate (e.g., grade 2or 3in the assays non-proliterative state in healthy vessels. The pathway has
          described below) morphological
       ....... .
                                                cytoloxic effects;         been elucdat^ by the .nveijtorsofapatent apphcatton Med
       (iv) inhibits target cell,, contraction;
                                            .
                                                and,                       on even date herewith, entitled Prevention and Treatment of
                                                                           Pathologies Associated with Abnormally Proliferative
       (v) is cytostatic.                                               50 Smooth Muscle Cells.
        Upon identification ofa therapeutic agent exhibiting one      Vascular smooth muscle ceU proliferation isinhibited by
     ormore ofthe preceding attributes, the agent issubjected to       active form ofTGF-beta. Tamoxifen has been shown by
     a second testing protocol that involves longer exposure of        experimentation detailed in Example 16 hereof to stimu-
     vascular smooth muscle cells to the therapeutic agent.        jate both the production and the activation of TGF-beta.
        An agent useful in the sustained release embodiments of 55 Heparin stimulates the activation ofTGF-beta by affecting
     the present invention exhibits the following characteristics:         ^^e release of the active form of TGF-beta from inactive
       (i) upon long term (e.g., 5 days) exposure, the agent               complexes present inserum. TGF-beta neutralizing antibod-
          produces the same orsimilar invitro effect onvascular            iesinhibit the activity of TGF-beta, thereby facilitating the
         smooth muscle tissue culture DNAsynthesis and pro-                proliferation of vascular smooth muscle cells.The apparent
          tein synthesis, asdescribed above for the 5 minute and go jnvivo physiological regulator oftheactivation ofTGF-beta
          24 hour exposures; and                                    is plasmin. Plasmio is derived from plasminogen through
       (ii) at an effective dose in the long term in vitro assay for    activation by, for example, tPA (tissue plasminogen
          DNA synthesis inhibition, the agent exhibits mild to          activator). Plasminogen and, therefore, plasmin activity is
          moderate morphological cytotoxic effects over a longer        inhibited by the lipoprotein Lp(a) or apolipoprotein(a) (apo
          term (e.g., 10 days).                                      65 (a)), thereby decreasing the activation of the latent form of
       Further evaluation of potential anti-proliferative agents        TGF-beta and facilitating proliferation of vascular smooth
     within the present invention is conducted in an in vivo               muscle cells.
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 48 of 67 PageID# 68



                                                             5,811,447
                                   39                                                              40
        An additional pathway for the modulation of vascular         activation, plasminogen activator levels in human vascular
     smooth muscle ccll proliferation is shown in FIG. 16.           smooth muscle ccll cultures were measured in the presence
     Resting smooth muscle cells constitute cells in their normal,   and absence of the lipoproteins and in the presence of a large
     quiescent non-proliferative state. Such resting smooth          excess of plasminogen, so that the lipoproteins present
     muscle cells may be converted to proliferating smooth 5 would not significantly act as competitive inhibitors. Total
     muscle cells through activation by platelet derived growth      plasminogen activator activity was not ajOTecled by the
     factor (PDGF), fibroblast growth factor (FGF) or other          presence of any of the lipoproteins in the vascular smooth
     stimulatory moieties. 'ITie proliferating smooth muscle cells   muscle cell cultures. For example, plasminogen activator
     may be converted to continual proliferating smooth muscle       activity in the conditioned medium remained at 0.7+/-0.06
     cells (i.e., smooth muscle cells capable of generating a lo mU/ml with Lp(a) additions up to 500 nM.
     pathological state resulting from over-proliferalion thereof)      Lp(a) and apo(a) both reduced the level of active TGF-
     by an autocrine growth factor. This growth factor is believed   beta by more than 100-fold compared to control or LDL-
     to be produced by proliferating smooth muscle cells. An         treated cultures. The level of total latent plus active TGF-
     increased level of autocrine growth factor, which can be        beta measured by ELISA as described in Example 16 was
     inhibited by the active form of TGF-beta or an appropriately 15 unaffected by the presence of Lp(a) or apo(a), however.
     structured (e.g., designed) small molecule inhibitor, is        These facts lead to the conclusion that Lp(a) stimulates
     believed to mediate the production of continual proliferating   proliferation of human vascular smooth mascle cells by
     smooth muscle cells.                                            inhibiting plasmin activation of latent TGF-beta to active
        Lp(a) consists of low density lipoprotein (LDL) and          TGF-beta.
     apo(a). Apo(a) shares approximately 80% amino acid iden- 20 To further test this conclusion and exclude the possibility
     tity with plasminogen (see MacLean et A\.,Nature, 330; 132,     that Lp(a) was acting by binding active TGF-beta as well as
     1987). Lp(a) has been found to inhibit cell-associated plas     reducing plasmin activity, human vascular smooth muscle
     minogen activity (see, for example, Harpel et al., Proc. Natl.  cells were cultured in the presence of Lp(a). These cells had
     Acad. Sci. USA, 86: 3847,1989). Experiments conducted on        a population doubling time of 47+/-3 hours. Addition of
     human aortic vascular smooth muscle cells derived from 25 plasmin was able to overcome the population doubling time
     healthy transplant donor tissue, cultured in Dulbecco's         reducing effect of Lp(a) and reduce the cell number to
     modified Eagles medium (DMEM)+10% fetal calf serum              control levels, with the population doubling time increased
     (PCS) as described in Grainger et al., Biochem.J., 283: 403,    to 97+/-4 houre.
     1992, indicated the following:                                     The role of plasmin in the pathway was confirmed by
        1) Addition of Lp(a) to sub-confiuenl human vascular 30 studies in which inhibitors of plasmin activity were added to
     smooth muscle cells stimulated their proliferation in a dose    human vascular smooth muscle cells. Like Lp(a), these
     dependent manner (addition of 500 nM Lp(a) to human             protease inhibitors increased cell number. Aprotinin, for
     vascular smooth muscle cells caused a reduction in doubling     example, decreased the population doubling time from 82+/
     lime from 82+/-4 hours to 47+/-4 hours);                        -4 hours in control cultures to 48+/-5 hours, and alpha2anti-
        2) Addition of apo(a) had a similar effect, although a 35 plasmin decreased the population doubling lime to 45+/-2
     higher concentration of apo(a) appeared to be required          hours. 500 nM Lp(a) and aprotinin addition resulted in only
     therefor; and                                                   a slight additional stimulation of proliferation, with the
        3) Addition of LDL at varying concentrations up to 1         population doubling time for cultures of this experiment
     micromolar had no effect on proliferation.                      being 45+/-6 hours. Neutralizing antibodies to TGF-beta
        One possible mode of action for Lp(a) and apo(a) is 40 similarly decreased population doubling time in vascular
     competitive inhibition of surface-associated plasminogen        smooth muscle cells (see, for example. Example 16). In
     activation and the subsequent activation of TGF-beta by         summary, Lp(a), plasmin inhibitons and neutralizing anti
     plasmin. TGF-beta is a potent growth inhibitor of a number      body to TGF-beta stimulate proliferation of vascular smooth
     of anchorage-dependent cells, including smooth muscle           muscle cells, while plasmin nullifies the growth stimulation
     cells. TGF-beta is produced as a latent propeptide having a 45 of Lp(a). These results support the theory that the mode of
     covalently linked homodimer structure in which the active       action of Lp(a) and apo(a) is the competitive inhibition of
     moiety is non-covalently linked to the amino-terminal por       plasminogen activation.
     tion of the propeptide. Latent TGF-beta must be cleaved            Experimentation conducted to ascertain the impact of
     (e.g., in vitro by acid treatment or in vivo by the serine      tamoxifen on TGF-beta and vascular smooth muscle cell
     protease plasmin) in order to become capable of inhibiting 50 proliferation is set forth in detail in Example 16. The results
     the proliferation of vascular smooth muscle cells. Plasmin is   of those experiments are summarized below.
     therefore a leading candidate to be a physiological regulator      1) Addition of tamoxifen decreased the rate of
     of TGF-beta.                                                    proliferation, with maximal inhibition observed at concen
        The hypothesis that Lp(a) and apo(a) were acting on          trations above 33 micromolar. 50 micromolar tamoxifen
     cultured human vascular smooth muscle cells by interfering 55 concentrations produced an increase in cell number (96
     with activation of latent TGF-beta was tested. In support of    hours following the addition of serum) that was reduced by
     this hypothesis, an observation was made that plasmin           66%+/-5.2% (n=3).
     activity associated with vascular smooth muscle cells was          2) Tamoxifen did not significantly reduce the proportion
     reduced 7-fold by Lp(a) and 5-fold by apo(a). The plasmin       of cells completing the cell cycle and dividing. Inhibition of
     activity in the conditioned medium was also reduced by 60 vascular smooth muscle cells caused by tamoxifen therefore
     Lp(a) and apo(a) by about 2-fold, but was much lower than       appears to be the result of an increase in the cell cycle time
     cell-associated plasmin activity in vascular smooth muscle      of nearly all (>90%) of the proliferating cells.
     cell cultures. These observations are consistent with previ        3) Tamoxifen decreases the rate of proliferation of serum-
     ous findings that Lp(a) is a more potent inhibitor of surface-  stimulated vascular smooth muscle cells by increasing the
     associated, rather than fluid phase, plasminogen activation. 65 time taken to traverse the Gj to M phase of the cell cycle.
        To exclude the possibility that Lp(a) was affecting the         4) Tamoxifen decreased the rate of proliferation of vas
     synthesis of plasminogen activators rather than plasminogen     cular smooth muscle cells by inducing TGF-beta activity.
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 49 of 67 PageID# 69



                                                                 5,811,447
                                     41                                                                  42
        5) Vascular smooth musclc cells produced TGF-beta in                 1) production or activation of TGF-beta;
     response to tamoxifen. Tamoxifen appears to increase TGF-               2) having TGF-beta activity; and
     beta activity in cultures of rat vascular smooth muscle cells           3) inhibit the activityor productionof an autocrinegrowth
     by stimulating the production of latent TGF-beta and                 factor produced by proliferating smooth muscle cells.
     increasing the proportion of the total TGF-beta which has 5             Smooth muscle cell proliferation is a pathological factor
     been activated.                                                      in myocardial infarctions, atherosclerosis, thrombosis, res-
        6) Tamoxifen, unlike heparin, docs not act by releasing           tenosis and the like. Therapeutic agents of the present
     TGF-beta from inactive complexes present in serum.                   invention, including tamoxifen, TGF-beta and the like, hav
        7) TGF-betal mRNA was increased by approximately                  ing at least one of the activities recited above and therefore
     10-fold by 24 hours after addition of tamoxifen (10 lo being capable of inhibiting proliferation of vascular smooth
     micromolar). This result suggests that the expression of             muscle cells, are usefiil in the prevention or treatment of
     TGF-beta mRNA by the smooth muscle cells wiU be                      these conditions. Manipulation of the proliferation modula
     increased, thereby facilitating decreased proliferation              tion pathway for vascular smooth muscle cells to prevent or
     thereof by activated TGF-beta. This mechanism can be                 reduce such proliferation removes or reduces a major com
     exploited using cells incorporating nucleic acids encoding 15 ponent of the arterial lesions of atherosclerosis and the
     TGF-beta mRNA, which cells are identifiable by persons               restenosed arteries following angioplasty, for example.
     skilled in the art employing known techniques.                          More specifically, chronically maintaining an elevated
        8) Tamoxifen is a selective inhibitor of vascular smooth          level of activated TGF-beta reduces the probability of ath
     muscle proliferation with an ED50 at least 10-fold lower for         erosclerotic lesions forming as a result of vascular smooth
     vascular smooth muscle cells than for adventitial fibroblasts. 20 muscle cell proliferation. Consequently, administration of
        Additional experimentation has shown that the addition of         TGF-beta, TGF-beta activators or TGF-beta production
     Lp(a) or apo(a) substantially reduced the vascular smooth            stimulators protects against atherosclerosis and subsequent
     muscle cell proliferation inhibitory activity of tamoxifen,          myocardial infarctions that are consequent to coronary
     with the population doubling time in the presence of tamox           artery blockage. Also, substantially increasing the activated
     ifen and Lp(a) being 42+/-2 hours. Al^, the presence of 25 TGF-beta level for a short time period allows a recipient to
     Lp(a) reduced the levels of active TGF-beta produced in              at least partially ofiiset the strong stimulus for vascular
     response to the addition of tamoxifen by about 50-fold.              smooth muscle cell proliferation caused by highly traumatic
     Addition of plasmin to rat vascular smooth muscle cells              injuries or procedures such as angioplasty. Continued lower
     treated with tamoxifen and Lp(a) resulted in most of the             dose delivery to the traumatized site further protects against
     TGF-beta being activated, and proliferation was again 30 restenosis resulting from vascular smooth muscle cell pro
     slowed (with the population doubling time being 57+/-3               liferation in the traumatized area.
     hours). Tliese observations are consistent with the theory              Other embodiments of the present invention involve the
     that Lp(a) acts by inhibiting TGF-beta activation.                   administration of taxol or analogs thereof in soluble or
        Identification of therapeutic agents (direct or indirect          sustained release dosage form. Taxol is believed to stabilize
     TGF-beta activators or production stimulators) that act to 35 vascular smooth muscle cells against division by binding to
     inhibit vascular smooth muscle cell proliferation by the             microtubules and inhibiting the organization and ordering of
     pathway shown in FIG. 15 can be identified by a practitioner         the microtubule network. Cell migration may also be inhib
     in the art by conducting experiments of the type described           ited by this mechanism. Taxotere, an exemplary taxol
     above and in Example 16. Such experimental protocols                 analog, has a different method of action, but also inhibits cell
     facilitate the identification of therapeutic agents useful in the 40 division.
     practice of the present invention and capable of one of the             The invention will be better understood by making ref
     following activities:                                                erence to the following specific examples.
        1) activation or production of TGF-beta;
                                                                                                   EXAMPLE 1
        2) having TGF-beta activity;
        3) activation of plasmin;                                      45    Binding to Vascular Smooth Muscle Cells In the Blood
        4) activation of plasminogen; and                                 Vessel Wall In Vivo
        5) reduction of Lp(a) or apo(a) level.                               FIG. IB illustrates the binding of NR-AN-01 (a murine
     Having TGF-beta activity includes, but is not limited to,            IgG2b MAb) to the smooth muscle cells in the vascular wall
     disruption of cyclin-dependent protein kinase (CDK) trans            of an artery in a 24-year old male patient, 4 days after the i.v.
     formation from a slow migrating form to a rapid migrating 50 administration of NR-AN-01. FIG. IB is a photomicrograph
     form, disruption of CDK-cyclin complex formation or acti             of a histological section taken through the medial region of
     vation or the like.                                                  an arterial wall of the patient after NR-AN-01
        Identification of therapeutic agents (direct or indirect          administration, where the section was reacted ex vivo with
     TGF-beta activators or production stimulators) that act to           HRP-conjugated goat anti-mouse IgG. The reaction of the
     inhibit vascular smooth muscle cell proliferation by the 5S HRP-conjugate with NR-AN-01 MAb was visualized by
     pathway shown in FIG. 16 can be identified by a practitioner         adding 4-chloro-l-naphthoI or 3,3'-diaminobenzidine tet-
     in the art by conducting experimentation using known                 rahydrochloride as a peroxidase substrate (chromogen). The
     techniques that is designed to identify growth factors made          reaction product of the substrate forms an insoluble purple
     by proliferating smooth muscle cells, pericytes, lym-                or dark brown precipitate at the reaction site (shown at #2,
     phorecticular cells or the like, which growth factors also act 60 FIG. IB). A counter stain was used to visualize collagenous
     on those cells (i.e., autocrine growth factors). Known tech          extracellular matrix material (shown at #2, FIG. IB) or cell
     niques for rational drug design are then used to screen small        nuclei (#1, FIG. IB). Smooth muscle cells are visualized
     molecules for the ability to inhibit the production or activity      under microscopic examination as purple stained cells (FIG.
     of such autocrine growth factors. Such experimental proto            lAand FIG. IB). This photomicrograph(FIG. IB) demon
     cols facilitate the identification of therapeutic agents usefiil 65 strates the ability of the MAb to specifically bind to human
     in the practice of the present invention and capable of one of       vascular smooth muscle in vivo, and to be internalized by
     the following activities:                                            the cells and remain in the cells for extended periods.
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 50 of 67 PageID# 70



                                                             5,811,447
                                 43                                                                   44
                              EXAMPLE 2                                   glacial acetic acid was added to the reaction mixture and the
                                                                          solvent was removed under reduced pressure. To the dried
       TherapeuticCo»jugatesContainingTrichothecene Thera                 residue dichloromethane was added and the precipitated
     peutic Agents                                                        DCU was filtered. Solvent from the filtrate was removed
        Conjugates of NR-AN-01 and RoridinA were constructed              under reduced pressure to yield a white solid. From the
     by chemically coupling a hemisuccinate derivative of the             crude product, 0.208 g (60%) of 3 was purified by prepara
     trichothecene cytotoxin (as described below) to a mono               tive HPLC in 50% acetonitrile with 2% acetic acid as a
     clonal antibody designated NR-AN-01. Two conjugates                  mobile phase.
     were prepared,one coupled at the RoridinA 2' position and               Synthesis of 13'-t-Bulyldimethylsilyl RoridinA (4):
     one at the 13' position. Two schemes were used in this          10
     synthesis, as depicted in FIG. 2 and FIG. 3. The conjugate              To 72.3 rag (0.136 mmol) of Roridin A in 0.5 ml dim
                                                                          ethylformamide solution, 0.055 g (0.367 mmol)
     was then purified from unreacted Roridin A by PD-10
     SEPHAROSE® column chromatography (Pharmacia;                         t-butyldimethylsilyl chloride and 0.025 g (0.368 mmol) of
                                                                          imidazole were added. The reaction mixture was stirred at
     Piscataway, N.J.), analyzed by size exclusion high pressure
     liquid chromatography, and the column fractionswere char             room temperature for 15 hours. Completion of the reaction
                                                                     15
     acterized by SDS-PAGE and isoelectric focusing (lEF), as             was followed by silica gel thin layer chromatography using
     described below.
                                                                          1% MeOH—CHCI3 as a developing solvent. Solvent from
                                                                          the reaction mixture was removed in vacuo and dried. The
       FIG. 2 shows diagrammatically the first reaction schemc            crude product was partitioned between water and methylene
     for synthesisof RoridinA hemisuccinyl succinimidate (RA-             chloride. Solvent from the combined methylene chloride
     HS-NHS)througha twostep processwith reagents: succinic          20
                                                                          extracts was removed under reduced pressure and dried. ITie
     anhydride, triethylamine (ifetg) and dimethyl amino pyri-            crude product was purified by flash chromatography using
     dine (DMAP)present in dichloromethane (CHjClj) at room               EtOAc:Hexane(1:3) as an eluting solvent. Solvent from the
     temperature (RT); and, N-hydroxysuccinimide (NHS) and                eluants was removed under reduced pressure to yield 0.66 g
     dicyclohexyl carbodiiraide (DCC) reagents also in CHjCU              (75%) of 4 as a solid.
     at RT                                                           25
                                                                             Synthesis of 13'-t-Butyldimethylsilyl 2' Acetyl Roridin A
       FIG. 3 shows diagrammatically the second reaction
                                                                          (5):
     scheme for synthesis of Roridin A hemisuccinyl succinimi
     date (RA-HS-NHS) through a five step process with                       To 0.1 g (0.155 mmol)of 13'-t-butyldimethylsilyl Roridin
     reagents: t-butyl dimethyl silyl chloride (TBMS-Cl) and              A in 10 ml dichloromethane, 0.3 ml acetic anhydride, 0.2 ml
     imidazole in dimethylformamide (DMF) at room tempera            30   triethylamine and a few crystals of dimethylaminopyridine
     ture (RT); acetic anhydride, triethylamine (TEA), and                were added and stored at room temperature for 2 hours.
     diethylaminopyridine in dichloromethane (CH2CI2) at RT;              Completion of the reaction was followed by TLC in 1%
     succinic anhydride, triethylamine (TEA) and dimethylami-             methanol-methylene chloride as a developing solvent. Sol
     nopyridine (DMAP) in (CH^Clj) at RT; and,                            vent was removed under reduced pressure and purified by a
     N-hydroxysuccinimide (NHS) and dicyclohexyl carbodiim-          35   silica gel column using 1% methanol-chloroform as an
     ide (DCC) reagents.                                                  elution solvent. Solvent from the eluants was removed under
                                                                          vacuum to yield 0.085 g (80%) of 5 as a solid.
        Synthesis of 2' Roridin-AHemisuccinic Acid (2):
                                                                            Synthesis of 2' Acetyl Roridin A (6):
        To 0.5 g (0.94 mmol) of Roridin A, 15 ml of dichlo
     romethane was added. To this solution with stirring was                To 0.05 g (0.073 mmol) of 2' acetyl 13'-t-
                                                                     40
     added 0.104 g (1.04 mmol) of succinic anhydride. To the              butyldimethylsilyl RoridinA in 5 ml tetrahydrofuran, 0.3 ml
     reaction mixture, 0.2 ml of triethylamine in 5 ml dichlo             of IM tetrabutyl-ammonium fluoride solution in THF was
     romethane was added. To the homogeneous reaction                     added. The reaction mixture was stirred at room temperature
     mixture, a catalytic amount of dimethylaminopyridine was             for 2 hours. Completion of the reaction was followed by
     added and stirred at room temperature for 15 hours. Comple           silica gel thin layer chromatography using 1% MeOH—
                                                                     45
     tion of the reaction was followed by thin layer chromatog            CHCI3 as the developing solvent. Solvent from the reaction
     raphy (CH2CI2 : CH30H=9.7:0.3 with few drops of acetic               mixture was removed under reduced pressure and dried. Tlie
     acid). At the endof the reaction, 0.3 mlof glacialacetic acid        crude product was purified on a silica gel column using 1%
     was added and the solvent removed under reduced pressure.            CH3OH—CHCI3 as an eluting solvent. Solvent from the
     The dried crude residue was partitioned between water and            combined eluants were removed under vacuum to yield
                                                                     50
     methylene chloride. The combined methylene chloride                  0.020 g (48%) of 6 as a solid.
     extracts (3x50 ml) were dried over anhydrous sodium                     Synthesis of 2'-Acetyl 13'-hemisuccinyl Roridin A (7):
     sulfate, solvent as removed under vacuum and dried to yield             To 0.05 g (0.087 mmol) of 2'-acetylRoridinA in 1 ml of
     0.575 g (96%) of crude mixture of three compounds. Pre               dichloromethane, 0.025 g (0.25 mmol) succinic anhydride
     parative C18 HPLCseparation of the crude mixture in 50%         55   and 35 ml of triethylamine was added. A few crystals of
     acetonitrile-water with 2% acetic acid yielded 0.36 g (60%)          dimethylaminopyridine was added as a catalyst. The reac
     of 2 as a white solid.                                               tion mixture was stirred at room temperature for 24 hours.
        Synthesis of Succinimidyl 2'—Roridin A Hemisuccinate              Completion of the reaction was followed by thin layer
     (3):                                                                 chromatography using 5% MeOH—CHjClj as developing
       To 0.3 g (0.476 mmol) of 2' RoridinA hemisuccinic acid        60   solvent. At the end of the reaction 30 ml of glacial acetic acid
     in 30 ml dichloromethane, 0.055 g (0.478 mmol)                       was added. Solvent from the reaction mixture was removed
     N-hydroxysuccinimide was added. To the clear reaction                under reduced pressure and dried. The crude product was
     mixture, 0.108 g (0.524 mmol) dicyclohexylcarbodiimide               partitioned between water and ethyl acetate. Solvent from
     was added. The reaction mixture was stirred at room tem              the combined ethyl acetate fractions was removed under
     perature for 6 hours. Completion of the reaction was fol        65   reduced pressure. Crude product was purified by passing
     lowed by TLC (CH2CI2 : CH30H=9.7:0.3 with a few drops                through a silica gel column to yield 0.039 g (66%) of 7 as
     of acetic acid) as a developing solvent. A few drops of              a white solid.
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 51 of 67 PageID# 71



                                                              5,811,447
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       Synthesis of Succinimidyl 2'-Acetyl 13'—Roridin A                     Immunoassay of the Roridin A-antibody conjugates was
     Hemisuccinate (8):                                                    performed by either competitive ELISA using biotinylated-
       To 0.036 g (0.0050 mmol) of 2'-acelyl 13'-Roridin A                 Ab with Streptavidin/Peroxidase detection or by a competi
                                                          tive cell binding assay using ^^^I-labeled antibody.
     hemisuccinic add in 2 ml dichloromethane, 0.009 g (0.09
     mmol) N-hydroxysuccinimide was added. To a stirred 5 Alternatively, immunoreactivity was measured under con
                                                                           ditions of antigen saturation in a cell binding assay wherein
     solution, 0.012 g (0.059 mmol) dicyclohexylcarbodiimide
                                                                           antibody was first trace labeled with 1-125 by the chloramine
     was added. The reaction mixture was stirred at room tem
                                                                           T method and then subsequently derivatized with 2' and 13'
     perature for 8 hours. Completion of the reaction was fol              Roridin A precursors.
     lowed by silica gel thin layer chromatography using 5%
                                                                             The structural formula of the trichothecene is shown
     MeOH-CHjCl, as a developing solvent. A few drops of                   below:
     glacial acetic acid was added to the reaction mixture. Sol
     vent from the reaction mixture was removed under reduced
     pressure and dried. The crude product was purified on a
     silica gel column using 5% MeOH—CH2CI2 as an eluting
     solvent. Solvent from the combined eluants was removed
     under vacuum to yield 0.025 g (61%) of 8 as a white solid.
        Conjugation of Succinimidyl 2'-Roridin A Hemisuccinate
     (3) and Succinimidyl 2'-Acctyl 13'-RoridinA Hemisuccinate
     (8) to NR-AN-01 Whole Antibody (MAb):
                                                                      20
       Conjugation reactions were performed at pH 8.0 in borate
     buffer in the presence of 25% dimethylsulfoxide (DMSO)
     solvent at room temperature with gentle mixing for 45                                                   CH(OH)—CH3
     minutes prior to purification by gel permeation chromatog
     raphy. The molar trichothecene drug precursor to antibody
     offerings were 25:1 and 40:1 for the 2' and 13' Roridin A                               EXAMPLE 3
     analogues (3 and 8), respectively. Antibody concentration          Kinetics of Binding to Smooth Muscle Cells
     was 0.9 to 1.0 mg/ml during the conjugation reaction.              For administration by i.v. catheter, it is desirable that the
        A Typical 2' Analogue (3) Reaction with 25 mg of             therapeutic conjugates of the invention be administered in
     Antibody was as follows:                                     30 less than 3 to 5 minutes, so that blood fiow can be reestab
        To 4.7 ml of 5.3 mg Ab/ml in phosphate buffered saline       lished in the patient. Therefore, studies were conducted to
     (i.e., PBS; 150 mM NaCl, 6.7 mM Phosphate, pH 7.3) was          determine the binding kinetics of a smooth muscle binding
     added 10 ml PBS and 5 ml of borate buffer (0.5M, pH 8.0).       protein with a Ka of >10® liter/mole. Because human vas
     With stirring gently to the reaction mixture, 6.3 ml of DMSO    cular smooth muscle cells grow slowly in culture, and
     containing 1.37 mg of succinimidyl 2' Roridin A hemisuc- 35 baboon smooth muscle cells were found to express the
     cinate (3) was then added dropwise over a 15 second period.     human CSPG cell surface marker, B054 baboon artery
        I^urification:                                               smooth muscle cells and human A375 M/M (melanoma;
        To purify, one ml reaction aliquots were applied to          ATCC#CRL1619) cells bearing CSPG surface marker were
     Pharmacia PD-10 Sepharose® columns equilibrated in PBS.         used in many of the studies described in the Examples,
                                                                           below.
     The eluted conjugate was collected in 2.4 to 4.8 ml fractions.
     The PD-10 purified conjugate aliquots were then pooled and               For the kinetic binding studies, A375 M/M and B054
     concentrated on an Amicon PM-10 DiAflo® concentrator to
                                                                           cells were seeded in sterile 96 well microtiter plates at 2500
     1.5 to 2.0 mg of Ab/ml; sterile filtered through a 0.2fi              cells/well. Plates were wrapped in aluminum foil, and incu
     Gelman Acrodisc® and filled into sterile glass vials in 5 ml          bated at 37° C. overnight in a humidified atmosphere of 5%
     volume.                                                          45   C02/95% air. After approximately 18 hr, incubation plates
                                                                           were removed and cells were fixed with 0.05% glutaralde-
       The 2' conjugate was quick frozen in liquid nitrogen and
                                                                           hyde for 5 minutes to prevent membrane turnover. Follow
     then stored at -70° C. until use. The 13' Roridin A NR-AN-
                                                                           ing fixation, the plates were exhaustively washed with PBS
     01 conjugate was stored frozen or refrigerated (i.e., 5°-10®
                                                                           containing 0.5% Tween-20®. Serial two-fold dilutions of an
     C.).
                                                                   50      NR-AN-01 therapeutic conjugate containing Roridin A were
        Characterization of Conjugates:                                    prepared at protein concentrations of 10 mg/ml to 20 ng/ml,
        Protein concentration was determined by BCA assay                  and each dilution was aliquoted into two wells. The plates
     using the copper reagent method (Pierce Chemical Corp.).         were incubated at 4' C. with the NR-AN-01 for 5, 15, 30,
        Assessment of degree of antibody derivatization was           and 60 minutes, after which the unbound protein was
     performed by first hydrolyzing an aliquot of conjugate in 55 removed by aspiration and 100 ml of CS buffer was added
     0.2M carbonate, pH 10.3 for 4 hours (at room temperature         (5% chicken serum/0.5% Tween-20® in PBS) to each well.
     for 2' conjugate or at 37° C. for the 13' conjugate) followed    CS buffer was removed and the NR-AN-01 therapeutic
     by filtration through a PM-30 membrane. The filtrate was         conjugate bound to the cells was visualized by adding 100
     then assayed for Roridin A on C-18 reverse phase HPLC            ml of HRP-conjugated goat anti-mouse IgG (Sigma Chemi
     using a mobile phase of 50:48:2 ratio CH3CN:H20:H0AC, eo cal Co., St. Louis, Mo.) to each well; incubating at 4® C. for
     respectively.A 1.32 correction factor was used to correct for 1 hr.; washing with PBS/0.05% Tween® to remove unbound
     parallel macrocyclic ring decomposition that gives polar      goat IgG; and, adding 2,2'-azino-bis(3-ethylbenzthiazoline-
     products during the hydrolysis of the 13' conjugate.          6-sulfonic acid (ABTS) chromogenic substrate (i.e., for
        Size exclusion chromatography on DuPont Zorbax®            HRP). After incubating for 30 minutes, the amount of
     HPLC and isoelectric focusing using Serva® gel plates (pH 65 NR-AN-01 bound to the cells was quantified by measuring
     3 to 10) were also performed. No indication of aggregation    the absorbance at 415 nm and 490 nm using an ELISA plate
     was observed by HPLC.                                                 reader equipped for data acquisition by a Compaq computer.
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 52 of 67 PageID# 72



                                                             5,811,447
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        FIG. 4A graphicallydepicts the results of in vitro studies      cells were seeded at 2.5x10^ cells/well. Serial two-fold
     in which A375 m/m marker-positive cells were held at 4® C.         dilutions of free Roridin A and 2'RA-HS-NR-AN-Ol (i.e.,
     (i.e., to prevent membrane turnover) for 5 minutes (open           Roridin A coupled through a hemisuccinate (HS) coupling
     squares, FIG. 4A), 15 minutes (closed diamonds, FIG. 4A), agent at the 2' position to NR-AN-01) were prepared in
     30 minutes (closed squares, FIG. 4A)or 60 minutes (open 5 DMEM over a range of protein concentrations from 20
     diamonds, FIG. 4A) with different concentrations of       mg/ml to40pg/ml. Test agents were added (induplicate) to
     NR-AN-Ol (NRANOl /ig/ml). The binding ofthe NR-AN-                 microtiler weUs (100 ral/weU), and the plates were wrapped
     01 MAb lo Ihe A37S cells was quaotifled by washing 10              "                      mcubaled at 37° C. in a humidified
     remove unbound antibody, adding HRP-conjugaled goat                atmosphere consisting of 5% C02/95% air for 24 hours.
     anti-mouse IgO lo react with the ceU-bound MAb, washing 10                          Z'llTnT Tr°°m (>>1:.
     to remove
           ..
               uSjound
                 ..
                       goat second antibody, and ...adding  2,2?
                                                        j'fnr^x
                                                                        ''"EM w^ add^ (100 ml^ell) and the cells were
                                                                        returned to incubate for an additional overnight (i.e., 16-18
     azino-bis(3-ethylbenzthiazoline-6-sulfon.c acid) (ABTS)                                                        of the "recovery
     substrate for petoxida^. Color development was monitored                             n^etabolic activity was determined by add-
     after 30 mmutes at both 41d nm and 490 nm (ABS415,490).            j^g 20 ml to each well ofa 5 mg/ml MTT solution. The
       FIG. 4B graphicallydepicts the results of in vitro studies 15 plates were covered and incubatedat 37° C. for 4 hours and
     conducted in a manner similar to those described above in       then the reaction was developed by adding 100 ml/well of
     regard to FIG. 4A, but using B054 marker-positive smooth           10% SDS/O.IN HCl. The dark blue solubilized formazan
     muscle cells, i.e., instead of the A375 m/m cells.                 reaction product was developed at room temperature after
        The results presented in HG. 4A and HG. 4B show                 16-18 hours and quantified using an ELISAmicrotiter plate
     significant binding ofNR-AN-01 to A375 and B054 cells                          absorbance of570 nm.
     within 5 minutes at 4" C, even at the lowest dose of 20            .            graphically depicts the results ofinvitro studies
                                                                        in which B054 marker-positive smooth muscle cells were
                                                                        incubated with different concentrations of RA-NR-AN-01
                            EXAMPLE4                                    (NRANOl-RA; open squares, FIG. 5A) or free Roridin A
                      . .                             .              25 (Free RA; closed diamonds, FIG. 5A) for a period of 24
       Effects of Rondin Aand RA-NR-AN-01 Conjugates                    hours, washed, and then returned toculture for an additional
       The effects of Roridin A (RA) and RA-NR-AN-01 con-        16-18 hourovernight (o/n) recovery period prior to testing
     jugates on cellular protein synthesis (i.e., by ^H-leucine  metabolic activity in an MTT assay. The concentrations of
     incorporation) and metabolicactivity(i.e., by mitochondrial Free RAand RA-NR-AN-01 are expressed as the calculated
     MTT assay) were tested in the experiments detailed in 3Q concentration of Roridin A (in mg/ml plotted on a logscale)
     EXAMPLE 5 and EXAMPLE 6, below. The studies in                    in the assay (i.e., rather than the total rag/ml of NR-AN-01
     EXAMPLE 4 include experiments to determine the effects            protein in the assay), so that direct comparisons could be
     of long-term (i.e., 24 hour) treatment with the agents. The       made. The metabolic activity of the cells in the MTT assay
     studies in EXAMPLE 5 include experiments to determine             is presented as the percentage of the metabolic activity
     the effects of "pulse" (i.e., 5 minute) treatment on cells. In 35 measured in a control untreated culture of cells (i.e., %
     both studies, the cellular specificity of the effects were        control).
     evaluated by including "target" cells(i.e.,cellsbearing the            FIG. 5B graphically depicts theresults of in vitro studies
     CSPG "marker") and non-target cells. For comparative               conducted in a manner similar lo those described above in
     purposes, free-RA(i.e., uncoupled) wasalso included in the     regard to FIG. 5A, but comparing the effects of only
     studies. The effects on cellular protein synthesis or meta- 40 RA-NR-AN-01 (NRANOl-RA) on three different celltypes:
     bolic activity were evaluated either immediately following     namely, B054 marker-positive smooth muscle cells(B054-
     the treatment, or a "recovery period" was allowed (i.e.,       NRANOl-RA; open squares, FIG. 5B); HT29 marker-
     involving incubation of the cells overnight at 37° C.) to      negative control cells (HT29NRAN01-RA; closed
     determine the long-term effects of the agents on the cell      diamonds, FIG. SB); and, M14 marker-positive cells (M14-
     populations.                                                45 NRANOl-RA; closed squares, FIG. 5B).Asdescribed above
       Metabolic EffectsAfter 24 Hours Exposure:                        in regard to FIG. 5A, the concentrations in the present
        While it is known that monoclonal antibody-drug conju-         experiment are expressed in terms of ug/ml of Roridin A.
     gates may have a degree of specificity for cells bearing          Metabolic activity of the cells is expressed in a manner
     marker antigens when employed invivo, it hasproven more           similar to that in FIG. 5A, i.e., as the percentage of activity
     dif5cult in many systems to demonstrate in vitro specificity 50   measured inanuntreated control culture ofcells (%control),
     of action, especially with compounds that are lipophilic.              The results presented in FIG. 5A and FIG. 5B show that
     Therefore, the present experiments were conducted in which metabolic activity measured in the MTT assay was signifi-
     the inhibitory effects of the NR-AN-01-Roridin A conjugate cantly decreased in all populations of test cells, even 16-18
     was tested on target and non-targetcells over 24 hours.The hours after a 24-hour incubationin either free RoridinA or
     results with RA-NR-AN-01 were compared to the effect of 55 the 2' or 13' RA-NR-AN-01 conjugates.The effects of the
     free Roridin A over the same 24-hour period. A modified    RA-NR-AN-Ol-conjugates appeared to be non-specifically
     melhyl-tetrazolium blue (MTT) assay was utilized with      inhibitory for both target (B054 and M14) and non-taiget
     3-(4,5-dimethylthiazol-2-yI)-2,5-diphenylletrazolium bro-         (HT29) cells(FIGS. 5AandSB).Theinhibitory effects were
     mide (Sigma) to determine cellular metabolic activity. This   observed at a free Roridin A or RA-conjugateconcentration
     assay is thought to measurecellular mitochondrial dehydro- 60 of >10 ng/ml.
     genase activity. For some of these studies, M14 (melanoma)       For comparative purposes, a second study was conducted
     and B054 (smooth muscle) cell lines were used as marker-      in which the effects of Pseudomonas exotoxin (PE) conju-
     positive targetcells and HT29cells (coloncarcinoma;ATCC       gates on cells were evaluatedin a similar protocol.For these
     #HTB38)were used as the non-target specificitycontrol. In     studies, target and non-taiget ceDswere treated with PE or
     otherstudies, A375was used as a marker-positive cell.The 65 PE-NR-AN-01 for 24 hours, and then allowed a "recovery
     HT29 and M14 cells were seeded in 96-welI microtiter        period" (as above)before metabolic activitywas testedin an
     platesat a concentration of 5.0x10^ cells/well, andtheB054  MTTassay.
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 53 of 67 PageID# 73



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       FIG. 6Agraphically depicLs ihc results of in vitro studies      (i.e., by aspiration) and ^H-leucine wasadded (asabove). In
     conducted in a manner similar to those described above in         both cases (i.e., whether short-term or long-term), protein
     regard to FIG. 5A, but designed to study the metabolic            synthesis of the cellswas evaluated by incubating the cells
     effects ofPE-NR-AN-01 (NRANOl-PE) on cells, i.e., rather          with the ^H-leucine for 4 hours at 37° C. in a humidified
     than RA-NR-AN-01. Three different cell types were uti- 5 chamber (as above), and all results are calculated by com-
     lized; namely, B054 marker-positive smooth muscle cells           parison with non-treated cells (i.e., 100% control). After 4
     (B054; open squares, FIG. 6A); HT29 marker-negative               hours the H-leucine was removed, the cells were removed
     control cells (HT29; closed diamonds, FIG. 6A); and, M14                               by trypsm-treatment, aspirated (using a
     maker-positive cells (MT14; closed squares, FIG. 6A). In                                                   Technology, Inc.,
     this study, the concentration of conjugate is expressed in to            Mass.)) and collected by filtration on glass fiber
            NR-AN-01 protein (plotted on alog scale), and the Alters- TTie glass fiber fifers were dned and radioactivity
     mctaboIic activity is expressed as the percentage of the MTf qualified by liquid scintillation spectroscopy maBeckman
     activity measured in an untreated control culture (% l>qu>d scmtillation counter.
     control)                                                                     graphically depicts the results ofinvitro studies
       no. 6B graphicaUy depicts ihe results of in vicco studies 15                   investigate the effects OD control HT29 marker-
     conducted in manner sitnilar to those discussed above in          " ' f ^ f tninute exposure to different «n«n-
     regard to FIG. 6A, but designed to cotnpare Ihe effects           ""'Hp      f
     obtained with tree PE(PE) to those obtained above, i.e., in                          mo                 a                 i     j
     FIG. 6A, with PE-NR-AN-01. The ceUs, culture conditions,                                          <13 RA-NR,W01; ; dosed
     calculations, and presenution of the results are the same as 20 '"f         FG-        f             ^ ^n«»™.ons of Free
     in FIG 6A, above                                                     '-                    or13'NR-AN-01 are expressed asthe
                                                         ,     .       calculated concentration of Roridin A in the assay (in «g/ml
        Ihe results presented in RG. 6Aand FIG. 6Bshow that                       ^
     24 hours exposure to PL-NR-AN-Ol or free PE was no^               nR-AN-01 protein, so that direct comparisons of the results
     specifically inhibitory to ceUs at concentrations of >100         ^3^ ^e made. For these studies, the cells were treated for 5
                                                        _              minutes, washed, and then returned to culture for 4 hours.
        While this type of non-specific inhibition was judged to       during which time cellular protein synthesis was evaluated
     be ofpotential value for biological atheroectomy, itwas not       by adding q.S mCi/ml of^H-leucine tothe culture medium,
     considered desirable for treatment of restenosis following        At the end of the 4 hour period, cellular proteins were
     angioplasty where dead and dying cells may release factors        collected and radioactivity was determined. The results are
     that stimulate smooth muscle proliferation.                       expressed asthe percentage of the radioactivity recorded in
                            EXAMPLE 5                                  ^ control (non-treated) HT29 cell culture (i.e., %control).
                                                                         FIG. 7B graphically depicts the results of in vitro studies
       Effects ofPulse-Treatment on Cellular Activity                  investigating the effects on control HT29 marker-negative
        Additional studies were conducted to evaluate theeffects 35 celk of a 5 minute expose to different concentrations of Free
     of a short-lerm, i.e., 5 minute, exposure to a Roridin           ra (open squares,FIG. 7B), 2'RA-NRANOI (closed
     A-containing therapeutic conjugate oncells. Inthe.se studies,    squares, FIG. 7B), or 13'RA-NRAN01 ( closed triangles,
     both metabolic activity (measured in MTT assays) and             FIG. 7B), asdescribed above in regard toFIG. 7A,butinthe
     cellular protein synthesis (measured by ^H-leucine               present experiments the cells were incubated for a 16-18
     incorporation) were evaluated.                                4^ hour recovery period (i.e., overnight; o/n) prior to testing
       Effects After5 Minutes of Exposure: Protein Synthesis           protein synthesis in a fourhour^H-leucine protein synthesis
       The effectsof a 5-minuteexposureto free RoridinA (RA)    assay. The results are presented in a mannersimilar to those
     or a therapeutic conjugate were evaluated. Roridin A-NR-   above in FIG. 7A.
     AN-01 coupled through a hemisuccinyl (HS) at either the 2'   The results presented in FIG. 7A and FIG. 7B show the
     position (2"RA-HS-NR-AN-01) or the 13' position (13'RA- 45 short-term and long-term effects, respectively, of RA, 2'RA-
     HS-NR-AN-01) were employed. (In the case of 13'RA-HS-             HS-NR-AN-01, and 13'RA-HS-NRtAN-01 on protein syn-
     NR-AN-01, the 2'position of Roridin A was also acetylated.)       thesis by HT29 control cells. The results show a dose-
     The RA, 2' or 13'RA-NR-AN-01 conjugates were diluted              response inhibition of ceUular protein synthesis by the free
     two fold in sterile DMEM over a range of concentrations           Roridin A, but not by RA-NR-AN-01, in HT29 cells. The
     from 400 ng/ml to 780 pg/ml of RoridinA. (The test samples 50 inhibition triggered by RA during the 5 minutes of incuba-
     were all normalized to Roridin A, so that direct comparisons      tion was still manifest after the 16-18 hours recovery period
     could be made of the effects at comparable doses.) Samples        (FIG. 7B). In contrast, treatment of non-target H729 cells
     were aliquoted (in duph'cate) into duplicate microtiter plates    with 2'RA-HS-NR-AN-Ol or 13'RA-HS-NR-AN-01 did not
     at 100 mlAvell and incubated at room temperature for five         result in detectable inhibition of protein synthesis. Thus,
     minutes.                                                       55 these results (in contrast to those obtained above over 24
       Bothshort-term and long-term effectsof the test samples    hours)seem to suggest a surprising degree of specificity to
     on marker-positive A375 and marker-negative Hi:29 cells      the in vitro actionof the NR-AN-Ol-conjugates when treat-
     were determined. For studying the short-term effects, 100    ment was delivered in a 5-minute "pulse". However, it was
     ml/well of pH]-leucine (0.5 mCi/ml) was added immedi-        also possible that the NR-AN-Ol-conjugate was inactive,
     ately after the 5-minute treatment with conjugate (or RA) 60 and so additional experiments were conducted to evaluate
     and proteinsynthesiswas evaluatedover a four-hour period.    the effect of the conjugates on target cells.
     For determining the long-term effects, the cells were treated    FIG. 7C graphically depicts the results of in vitro studies
     for 5 minutes, washed, and then returned to culture for a     investigating the effects on A375m/m marker-positive cells
     24-hour "recovery" period in DMEM medium containing           of a 5 minute exposure to different concentrations of Free
     either 5% NBS/5% Serum Plus® (i.e., for A375 or HT29 65 RA (open squares, FIG. 7C), 2'RA-NR-AN-Ol (closed
     cells) or 10% FBS (i.e., for B054 cells). At the end of the   squares, FIG. 7C) or 13'RA-NR-AN-01 (closed triangles,
     "recovery" period, the incubation medium was removed          FIG. 7C), as described above in regard to FIG. 7A. In the
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 54 of 67 PageID# 74



                                                               5,811,447
                                  51                                                                52
     present studies, Ihe A375 cells were incubated for 5 minutes      for 16-18 hours. Serial two-fold dilutions of Roridin A
     in the test agent, washed, and tested for protein synthesis       (RA), 2'RA-HS-NR-AN-Ol .and 13'RA-HS-NR-AN-01
     overthenext 4 hours byadding 0.5mCi/raPlI-leucine to the          were prepared from 400 ng/ral to 780 pg/ml, and 100 ml
     culture medium. The results of the experiments are plotted    aliquots of the dilutions were dispensed into duplicate wells,
     in a manner similar to those described, above, in regard to 5 After 5 minutes exposure to the lest samples, the cells were
     FIG. 7A.                                                      washed to remove the test samples, and fresh medium was
       nC. 7D graphically depicts the results of invitro studies added. The cells were allowed 48hours of recovery prior to
     investigating the effects onA375 m/ml marker-positive cells testing: i.e., plates were incubated for 48 hours, and then
     of a 5 minute exposure to different concentrations of Free  cellular metabolic activity was determined by adding 20
     RA (open squares ,FIG. 7D), 2'RA-NR-AN-Ol (closed 1° ml/well ofa5 mg/ml MTTsolution. The plates were covered
     squares, FIG. 7D), 13'RA-NRAN01 (closed triangles, FIG.     and incubated at37° C.for 4 hours and then the reaction was
     7D), asdescribed above in regard toFIG. 7B. In the present  developed as described above (see EXAMPLE 4, above),
     studies, theA375 cells were incubated for 5 minutes in the        The dark blue solubilizcd formazan reaction product was
     test agent, washed, and then returned to culture for a 16-18      developed at room temperature after a 16-18 hour incuba-
     hour recovery period (i.e., overnight; o/n Recovery), after       tion. The .samples were quantified using an ELISAmicrotiter
     which time protein synthesis was evaluated during a4 hour         P'ate reader at an absorbance of 570 nm.
     ^H-lcucine protein synthesis assay. Theresults of theexperi-        FIG.8A graphically depicts the results of in vitrostudies
     ments are plotted in a manner similar to those described          investigating the effects on B054 marker-positive smooth
     above in regard to FIG. 7A.                                       muscle cells of a 5 minute exposure to different concentra-
        The results presented in FIGS. 7Cand FIG. 7D show the          «ions ofRoridin A(open squares, FIG. 8A), 2'RANR-AN-Ol
     short-term and long-term effects, respectively, ofRA, 2'RA-       (NRANOl-2'RA; closed diamonds, FIG. 8A), or 13' RANR-
     HS-NR-AN-01 and IS'-RA-HS-NR-AN-Ol on protein syn-                AN-Ol (NRANOl-13'RA; closed squares, FIG. 8A). ITie
     thesis by A375 target cells. Treatment of target cells with       experiments were conducted in a manner similar to those
     either the 2' or 13'RA-NR-AN-01 therapeutic conjugate             described above in regard to FIG. 7B, but metabolic activity
     resulted in a short-term inhibition of protein synthesis, i.e.,   was assayed byMTT assay, i.e., rather than protein synthesis
     observed immediately after the 5-minute pulse treatment           asin FIG. 7B, and cells were also given 48hours to recover
     (RG.7C). These findings, when combined with the findings          (rather than 24 hours, as in FIG. 7B). The results of the
     in FIG. 7A and FIG. 7B, above, suggest that the RA-NR-            experiments are plotted in a manner similar to those
     AN-01 conjugates were active and that they were specifi-          described (above) in regard to FIG. 7A .
     cally inhibitory for target cells but not non-target cells.          FIG. 8B graphically depicts the results of in vitro studies
     Interestingly,when "pulse" treated target cells were returned     investigating the effects on A375 m/m marker-positive cells
     to culture no long-term inhibitory effects were ob-served         of a 5 minute exposure to different concentrations of Roridin
     (FIG. 7D). The results presented in FIGS. 7C and FIG. 7D          A (open squares, FIG. 8B), 2'RA-NR-AN-Ol (NRANOl-
     again show that Roridin A is non-spccifically inhibitory to       2'RA; closed diamonds, FIG. 8B), 13'RA-NR-AN-01
     test cells (i.e., in a manner similar to FIG. 7A and FIG. 7B,     (NRANOl-13'RA; closed squares, FIG. 8B). The experi-
     above) and that its effect on the cells is manifest even after    ments were conducted (and the results plotted) in a manner
     a 16-18 hour recovery period. Thus, the specific effects of       similar to those described above in regard to FIG. 8A.
     the RA-NR-AN-Ol conjugates on target cells during a                 pIG. 8Cgraphically depicts the results of in vitro studies
     "pul^" treatment appear to be a property ofthe NR-AN-01           investigating the effects on HT29 marker-negative cells ofa
     binding protein.                                                  5 minute exposure to different concentrations of Roridin A
       The results obtained with B054 arterial smooth muscle           (open squares, FIG. 8C), 2'RA-NR-AN-Ol (NRANOl-2'RA;
     cells were similar to those obtained with the A375 cells,         closed diamonds, FIG. 8C), 13'RA-NR-AN-01 (NRANOl-
     above, i.e., free RoridinAshowed a dose-response inhibition       13'RA; closed squares, FIG. 8C). The experiments were
     of protein synthesis in the short-term equated to be 60%,         conducted (and the results plotted) in a manner similar to
     66%, and 90% of control at 200 ng/ml, 100 ng/'ml, and 50          those described above in regard to FIG. 8A.
     ng/ml; and inlong-term the effects onprotein synthesis were              results presented in RGS. 8A-8C show slight dif-
     equated to be 27%, 46%, and 98% of control at the same            ferences between the different RA-NR-AN-Ol conjugates at
     dosages. In contrast, the 2' or 13'RA-NR-AN-01 showed             ihe highest doses, but at the lower doses the 2' and 13'RA-
     only 10-20% inhibition for short- or long-term effects on         NR-AN-01 did not significantly inhibit target cell (i.e.,
     protein synthesis (i.e., >80% of control).                        b054 and A375) or non-target cell (i.e., HT29) metabolic
        Thus, the results show a short-term specific reversible    activityover the long-term(i.e., 48 hours). Thus, the results
     effect of Roridin A-conjugated NR-AN-01 on target cells       suggest that the short-term inhibition of target cell protein
     when delivered as a "pulse" treatment. However,since only     synthesis(FIGS. 7C-7D, above)does not result in long-term
     proteinsynthesiswas evaluatedin these experiments, it was 55 metabolic effectson the cells, as measurable in MTTassays,
     possible that cellular metabolic activity might be affectedin That these assays were able to detect metabolicalterations in
     the cells as a result of the "pulse" treatment. Therefore,    celk resultingfrom a 5 minuteexposureis evidencedby the
     additional studies were conducted in which cellular meta-     results obtained with free Roridin A. In this case, free
     bolic activity was evaluated following "pulse" treatment.     Roridin A was non-specifically inhibitory to target and
        EffectsAfter 5 Minutesof Exposure: MetabolicActivity go non-target cell types, even when the cells were exposed to
       MTT assays were conducted at 48 hours following a               the agent foronly 5 minutes and then returned toculture for
     5-minute exposure of target and non-target cells to RA or         'he 48-hour recovery period (FIGS. 8A-8C).
     RA-NR-AN-Ol conjugates. Target cells in these studies           Thus, the findings with free Roridin A suggest that the
     included B054 and A375, and non-target cells included        MTT assay was capable of detecting metabolic alterations
     HT29 cells. Sterile 96 well microtiter plates were seeded 65 induced during a 5-minule exposure. Taken together these
     with 2500 cells/well, wrapped in aluminum foil and incu-     finding suggest that RA-NR-AN-Ol conjugates can specifi-
     bated in a humidifiedchamber containing 5% C02/95% air       cally inhibit target cell activity (i.e., protein synthesis) when
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 55 of 67 PageID# 75



                                                               5,811,447
                                S3                                                                      54
     administered in a "pulse" treatment, and that these effects            sites were excised and prepared for immunohislology, once
     were reversible without significant long-term effects on               again using goat anti-mouse IgG to identify NR-AN-01.
     either protein synthesis or cellular melaboHc activity (as             NR-AN-01 was identified in the vessel wall of swine coro-
     measured in an MTl' assay). These in vitro properties ofthe            „ary and femoral arteries 3-5 days after surgery, and the
     pi-NR:,^-01 conjugate were judged to be higUy useful 5 nR-AN-01 appeared to be associated only with vascular
     for inbtbttion of stn^th muscle cell activity .n vtvo.                                      ceUs. ITtese lindings suggest that NR-AN-01
     Therefore, animal model studies were next conducted to                 .          ,,    ^                         .
     evaluate the effects of these therapeutic conjugates in vivo.                          ofspectlically bu,dmg to its target antigen mvivo.
                             EXAMPLE 6                                 10                                     EXAMPLE 7
       Determination of Infusion Conditions in an Animal                        , .....          ...      ,         ...          ,
                                                                                Inhibition of Vascular Smooth Muscle Cells In Vivo

       The therapeutic conjugates of the invention are useful for             Intimal smooth muscle proliferation that follows balloon
     inhibiting stenosis following vascular trauma or disease. In           catheter-induced trauma is a good model to evaluate the
     an illustrative example, vascular trauma that is induced               therapeutic efficacy of conjugates for inhibiting smooth
     during angioplasty is treated during the surgical procedure            muscle cell activity in vivo in response tovascular trauma,
     by removing the catheter used to perform the angioplasty,              including restenosis following angioplasty. Domestic pigs
     atri inserting aballoon infusion catheKr into the vessel. The                                                     NR-AN-01 (i^., termed
     mfusion catheter is positioned With the instillation port (or, „              ,                      i l- i-          , •       -   i
     alternatively, apermeable membrane region) in the trauma-                                                                               ^^MBP
     tized area of the vessel, and then pressure is applied to                  '^ese studies; and therapeutic conjugates with Rondin A
     introduce the therapeutic conjugate. For example, an infu-                  termed VSMBP - RA). ITie events which normally
     sioncatheter with two balloons may be used, andwhen one                follow balloon angioplasty in the porcine artery have been
     balloon is inflated on either side of the trauma site a fluid          described previously (12). In these studies, dilation of the
     space is created that can be filled with a suitable infusion '         carotid artery using an oversized balloon (balloon: artery
     fluid containing the therapeutic conjugate. It has been                ratio approximately 1.5:1) resulted in complete endothelial
     reported previously that infusion ofa horseradish peroxidase           denudation over anarea of1.5-2cminlength. Although this
     (HRP) marker enzyme at a pressure of300 mm Hg over 45                                             jc injury was .selected in an attempt to
     seconds in dog or human ^rooary arteries resulted in ^ minimize thrombosis, there was stiU marked platelet depo-
     penetration of the HRP into the vessel wafl (6). However,               ..       , .   .   .     •              j     i       i, .
                  11 molecule
     HRP is a smaller    1 1 .1-
                               than Km  AM01 andJ human
                                    NR-AN-01         u    andJ              sition and thrombus formation, llie
                                                                                                              , procedure also resulted
     dog coronary arteries arc also considerably smaller than the               dissection through the internal elastic lamina into the
     carotid orfemoral arteries in the present domestic pig model           arterial media and necrosis of medial smooth muscle cells,
     system. Experiments were therefore conducted todetermine,              Intimal thickening due to smooth muscle proliferation was
     in a domestic pig model system, the infusion conditions                apparent 7 days after injury and reached a mean maximum
     suitable for delivery of a therapeutic conjugate to the vas-           thickness of 85 mm at 14 days. The histological appearance
     cular smooth muscle ceUs in carotid and femoral arteries.              of this neointima is very similar to the proliferative neoin-
     Delivery conditions were monitored by evaluating the pen-              timal tissue of human restenosis (13).
     etration of the therapeutic conjugate into the vascular wall,
     and specific binding of the therapeutic conjugate to the                   Asingle dose lest protocol was conducted in domestic
     vascular smooth muscle cells in the vessel wall.                                        NR-AN-Ol-Roridin A conjugates. Localized
        Using an infusion catheter, the coronary and femoral administration ofthe test conjugates, i.e., through acatheter
     arteries of dome.stic pigs or non-human primates were   '"t® a region of traumatized vessel confined by temporary
     infused with NR-AN-01 for 45 seconds to 3 minutes at 45 slip ligatures, was designed to reduce systemic toxicity
     multiple pressures in the range of about 0.4 atmospheres               while providing a high level of exposure for the target
     (300 mm Hg) to 3 atmospheres. After infusion, the vessels              smooth muscle cells. This intra-artery route of administra-
     were flushed with sterile saline and prepared for immuno-              tion in animal model studies simulates the proposed route in
     histochemistry using HRP-conjugated goat anti-mouse IgG   human coronary arteries. The test protocol was designed as
     to detecttheNR-AN-01 mouse IgGin thevesselwall. It was jq an initial in vivo screening of intra-arteriolar, site specific,
     determined that fuU penetration was achieved of NR-AN-01               catheter administered, vascular smooth muscle binding pro-
     into these vessel walls at a pressureof 3 atmospheres after            tein (VSMBP) conjugates. Toxicity of fi"ee drug was also
     3 minutes.                                                             evaluated, i.e., for pathobiological effects on arteriolar
      Immunohistology was also used to determine which ani-       smooth muscle cells. The therapeutically effective dosage of
     mal model systems expressed the target antigen for NR-AN- 55 the Roridin A-NR-AN-01 conjugate was determined by in
     01. Vascular tissue sections from readily available experi-            vitro studies, and the proper intra-arteriolar administration
     mental animal ^ecieswere exposed to NR-AN-01, washed,                  pressure was determined by administering free MAb and
     and reacted with HRP-conjugated goat anti-mouse IgG.                   MAb conjugates toanimals, asdescribed above inExample
     Only non-human primates and swine were found to share the    7
     250 kD NR-AN-01 target antigen with man.                  eo
       To determine whether NR-AN-01 could bind in aspecific                   Six domestic crossbred swine (Duroc X), weanling feeder
     manner to its target antigen in vivo, the coronary and                 pigs ofapproximately 30pounds body weight, were used in
     femoral arteries of domestic pigs were infused with thera-             the experiment. The animals were randomly assigned tothe
     peutic conjugates using an infusion catheter, the infusion     following treatment regimen where each pig has four dif-
     siteswere flushed with sterile saline, thesui^cal siteswere 65 ferent treatments divided between the right and leftcarotid
     then closed, and the animals were maintained for an addi-              and femoral arteries, one of which is a PBS control (Tables
     tional 3-5 days. At the end of this time, the vascular infusion        1-3, below).
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 56 of 67 PageID# 76



                                                                    5,811,447
                                   55                                                                    56
                                                                             Va.) and 0.5 ml xylazine (Lloyd Laboratories, Shenandoah,
                                 TABLE 1                                     la.) per 30 lb body weight by intramuscular injection,
                                                                             heparinized (i.v. 2 ml sodium heparin, 1000 unils/ml), and
       GROUP   TREATMENT                                                     euthanized by i.v. pentobarbital. Both the right and left
        NO.    GROUP                MATERIAL DESCRIPTION
                                                                             carotid and femoral arteries were removed with normal
               CONTROL, VSMBP       VSMBP, 200 /ig/ml in PBS, pH 6.5         vessel included both proximal and distal to the treated
               CONTROL, PBS         PBS, pH 6.5, in injection                segment. The arteries were measured and the location of
                                    sterile water                            ligatures and gross abnormalities noted. The arteries were
               CONTROL, DRUG        Roridin A, 2.5 /<g/ml in PBS,            transected at 2 mm intervals and arranged in order in
                                    pH 6.5
                                                                             cryomolds with O.C.T. (optimum cutting temperature) com
               TEST, CONJUGATE      VSMBP-RA2' (200//g/ml VSMBP &       10
                                    2.5 /<g/mlRA)                            pound (Tissue Tek®, Miles Laboratories Inc., Elkhart, Ind.)
               TEST, CONJUGATE      VSMBP-RA13' (200 /ig/ml VSMBP            and frozen in liquid nitrogen. 'ITie blocks were .sectioned at
                                    & 3.1 ;jg/Dil RA)                        5 microns and stained with H4feE, Massons Trichrome and
               TEST, CONJ + RA      VSMBP-RA2' (200        VSMBP &           Movats Pentachrome for morphological studies. Sections
                                    2.5 /i^ml RA) PLUS free                  were also used for immunohistological staining of vascular
                                    Roridin A (2.5 ;/g/ml)
                                                                             smooth muscle.
               TEST, CONJ + RA      VSMBP-RA13" (200//g/ml VSMBP
                                    & 3.1 /ig/ml RA) PLUS free                  Histological examination of the step sections of the arter
                                    Roridin A (2.5 /<g/ml)                   ies revealed marked inhibition of intimal smooth muscle
                                                                             proliferation in the regions traumatized and treated with
        Surgical Procedure:                                                  RA-NR-AN-01 conjugates (Table 2). This inhibition was
                                                                             evident even at sub-gross evaluation of the vessels. The
        Test conjugates and control compounds were adminis                   inhibition of intimal smooth muscle cell proliferation was
     tered as a single intra-artery infusion at the site of endothe-         produced with minimal or no histological evidence of
     lial denuding and trauma induced by a balloon catheter. Both            smooth muscle cell death in the artery wall. A cross-sections
     the carotid and femoral arteries were abraded over 1 cm to
                                                                             of one such traumatized artery is provided in FIGS. 9A and
     2 cm of endothelium by intraluminal passage of a 23 cm,            25
                                                                             9B.
     size 3 (femoral) and size 4 (carotid) Uresil Vascu-Flo®
     silicone occlusion balloon catheter (Uresil Technology                                               TABLE 2
     Center, Skokie, 111.), sufficiently distended with saline to
     generate slight resistance. This technique produced slight               INTIMAL SMOOTH MUSCLE PROLIFERATION INTRAUMAOZED
     distension of the artery. Following this treatment, proximal       30                       AND TOEATED PORCINE ARTERIES

     and distal slip ligatures, 3-0 silk, were placed near the ends
                                                                                                                             INTIMAL SMC
     of the abraded region, and a size 8 French, Infant Feeding                                       NO. ARTERIES          HYPERTROPHY*
     Catheter (Cutter-Resiflex, Berkeley, Calif.) attached to an                   TREATME.NT          EVALUATED               ave. (range)
     Inflation Pro® (USQ, C. R. Bard, Inc., Billerica, Mass.)
                                                                                   Control, MAB             4                   3.75 (3-4)
     pressure syringe was used to administer the lest conjugates        35
                                                                                   Control, PBS             4                      4(4)
     and control compounds directly to the denuded segment at                      Control, RA              2                      4(4)
     a pressure of three atmospheres for three minutes. The slip                   Test, 2'RA
     ligatures were removed after the three minute exposure                        (High pressure)          1                      1(1)
                                                                                   (I^w pressure)           1                      3(3)
     period and arterial blood flow was re-established. In these                   Test, 13'RA
     studies, branches of the femoral or carotid arteries were          40         (High pressure)          1                      1(1)
     ligated with 00 silk suture as required to attain pressurized                 (Low pressure)           1                      1(1)
     infusion in the treated region. The largest distal branch of the
                                                                             'Intimal SMC Hypertrophy: intimal smooth muscle cell hypertrophy scored
     femoral artery (the saphenous artery) was incised and used              on a scale from 1+ (minimal) to 4+ (maximal)
     as an entry site for the catheters which were then passed into
     the main femoral artery. FoUowing this catheterization pro         45    The results presented in FIG. 9A show (at 160x
     cedure in the main femoral artery, the secondary branch was             magnification) a cross-sectional of an untreated artery 5
     ligated. In these cases, ligation or incision was used to aUow          weeks after angioplasty. Dominant histological features of
     entry of the catheters and the opening was then closed with             the artery include displacement of the endothelium (see #1
     3 to 4 sutures of 5-0 monosilamen polybutester (Novafil, D              in FIG. 9A) away from the internal clastic lamina (see #2,
     & G Monofil Inc., Monati, PR).                                     50   FIG. 9A), apparently due to intimal smooth muscle prolif
        FoUow-up Procedures:                                                 eration (see #3, FIG. 9A).
        FoUowing surgery, the pigs were kept in 3x5 foot indoor                 The results presented in FIG. 9B show (at 160x
     runs with cement floors during the quarantine and surgical              magnification) a cross-scction of a treated artery 5 weeks
     recovery periods. They were then transferred to indoor/                 after angioplasty and infusion of the RA-NR-AN-01 thera-
     outdoor pens for the remainder of the five week healing            55   peutic conjugate. The vessel in this section was subjected to
     period prior to collection of tissues for histology.                    greater mechanical stresses than the vessel shown in FIG.
                                                                             9A, with multiple sites where the external elastic membrane
        The animals recovered normally from surgery with no
                                                                             was ruptured and associated proliferation of smooth muscle
     evidence of hemorrhage or inflammation at the surgical                  cells in the outer layers of the media was observed (i.e., see
     sites. All six animals were examined 5 to 6 days after             60   #4 in FIG. 9B). Treatment with therapeutic conjugate inhib
     treatment with a doppler stethoscope, and all arteries in each
                                                                             ited intimal hypertrophy, as evidenced by the lack of dis
     of the animals were patent. Post treatment all animals had
                                                                             placement of the endothelium (see #1, FIG. 9B) from the
     normal appetite, activity and weight gain.
                                                                             internal elastic lamina (see #2, FIG. 9B). Surprisingly, this
        Gross Pathology and Histological Evaluation:                         inhibitory effect on intimal smooth muscle cells was accom-
        Five weeks foUowing the traumalization and treatment of         65   plished without inhibiting hypertrophy of medial smooth
     the arteries, the animals were sedated with 0.6 ml Telazol®             muscle cells in the areas where the external elastic mem
     (tiletamine hydrochloride; A. H. Robins Co., Richmond,                  brane was ruptured (see #4, FIG. 9B).
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 57 of 67 PageID# 77



                                                               5,811,447
                                 57                                                                      58
       This is a highly fortunate result because wound healing              assisted in determining the immediate cytotoxic effect of the
     proceeds in the treated vessel without the adverse conse               therapeutic agents. The medium was then aspirated, and the
     quences of intimal hyperplasia and stenosis, or necrosis of            cells were washed twice with cold 5% TCA. 400 microliters
     smooth muscle cells in the media.                                      of 0.2M NaOH was added per well, and the plates were
       In these histological studies, comparisons were also made            incubated for two hours at room temperature on a rotating
                                                                            platform. 200 microliters per well of the cell solution was
     of the effectiveness of both the 2' and the 13'—^Roridin A
                                                                            transferred into plastic scintillation vials (Bio-Rad
     conjugate with the finding that the 13' conjugate (i.e.,
                                                                            Laboratories), and 4 milliliters of Bio-Safe® II liquid scin
     13'RA-HS-NR-AN-01) appeared to be more active in inhib
                                                                            tillation fluid (Research Products InterCorp., Mount
     iting intimal hyperplasia of smooth muscle cells than the 2*
                                                                            Prospect, 111.) was added prior to vortexing. Vials were
     conjugate (i.e., 2' RA-HS-NR-AN-01). In this study, low           10
                                                                            counted on a Beckman LS2800 liquid scintillation counter
     pressure infusion of the 13' conjugate appeared to inhibit
                                                                            interfaced with Beckman "Data Capture" software for con
     smooth muscle proliferation more effectively than high
                                                                            version to a Lotus 1-2-3® file and analysis using Lotus
     pressure and the 13' conjugate also appeared to be more
                                                                            1-2-3®.
     effective than the 2' conjugate.
                                                                       15     5 minute exposure; ^H-thymidine uptake: Vascular
        In FIG. 9B, therapeutic conjugate administered at the site          smooth muscle cells were incubated in complete medium
     following angioplasty resulted in approximately 95% inhi               with 5% FBS (Gibco) overnight at 37° C. in a humidified,
     bition of the smooth muscle hypertrophy that restricted the            5% COj environment in sterile 24 well plates. The medium
     lumen of the untreated vessel (FIG. 9A). Significantly, the            was aspirated from the wells and serum free medium supple
     therapeutic conjugate exerted its effects on the smooth                mented with growth factors (DMEM: F-12 basal medium
                                                                       20
     muscle cells migrating from the medial smooth musclc                   supplemented with growth factor cocktail, catalog number
     layers into the intima, without affecting either endothelium,          11884,which contains insulin (5 micrograms/ml), transferrin
     or producing any signs of necrosis (i.e., cell death) in the           (5 micrograms/ml) and sodium selenite (5 nanograms/ml),
     smooth muscle cells in the medial layers of the arterial wall.         available from Sigma Chemical, St. I^uis, Mo.) was added.
     Studies also failed to show any histological signs of mono-            Cells were incubated in this medium for 24 hours. For a 5
                                                                       25
     nuclear infiltration or fibrosissuch as might result from toxic        minute therapeutic agent exposure, log dilutions of the
     effects on the vessel wall. Also, visible signs of healing were        therapeutic agent were incubated with the cells in complete
     observed in the intimal layers of treated vessels and with
                                                                            medium. After 5 minutes and medium aspiration, 1 ml/well
     re-growth of endothelium observed, i.e., endotheUal cells              of 1.0 microcurie/ml "H-thymidine dispersed in complete
     growing over the thin layer of smooth muscle cells in the              medium was added. The 24 hour exposure involved incu
                                                                       30
     intima that lie between the endothelium and internal elastic
                                                                            bation of the cclls with 1 ml/well of 1.0 microcurie/ml of
     lamina (i.e., #1 and #2, FIG. 9B). These combined histo                ^H-thymidine dispersed in complete medium and log dilu
     logical observations suggest the highly desirable features of          tions of the therapeutic agent being tested. In both exposure
     wound healing, re-growth of endothelium and improved                   trials, the cells were then incubated overnight at 37° C. in a
     vascular strength following treatment with a therapeutic               humidified, 5% CO2 environment. The cells were visually
                                                                       35
     conjugate that inhibits smooth muscle hyperplasia in the               scored for viability and cell number. Cells were washed and
     intimal layers of the vessel.                                          prepared for transfer into plastic scintillation vials as
                             EXAMPLE 8
                                                                            described forthe ^H-leucine protocol. Vials werecounted on
                                                                    a Beckman LS2800 liquid scintillation counter interfaced
       Vascular Smooth Muscle Cell In Vitro DNA and Protein         with Beckman "Data Capture" software for conversion to a
                                                                       40
     Synthesis Inhibition                                           Lotus 1-2-3® file and analysis using Lotus 1-2-3®.
        The ability of various therapeutic agents to inhibit DNA      These protocols are amenable to use with other target cell
     synthesis and protein synthesis in vascular smooth muscle      populations, especially adherent monolayer cell types.
     cells was tested. ^H-leucine and 'H-thymidine uptake and         Morphological Cytotoxicity Evaluation-Ehilsed Exposure:
     cytotoxicity assays were conducted in accordance with the 45 Vascular smooth muscle cells were seeded at 4.0x10"* cells/
     following protocols.                                           ml medium/well on a commercially prepared four well slide
        5 minute exposure; ^H-leucine uptake: Vascular smooth       (Nunc, Inc., Naperville, 111.). Enough slides were seeded to
     muscle cells at 40,000 cells/ml were seeded in sterile 24 well accommodate two pulsed exposure lengths (5 minutes and
     plates at 1 ml/well. The plates were incubated overnight at    24 hours) and prescribed increment evaluation points (24
     37® C., 5% C02, 95% air in a humidified atmosphere 50 hours to 128 hours). All slides were run in duplicate to reveal
     (saturation). Log dilutions of the therapeutic agent of inter  any assay anomalies. The therapeutic agent was diluted in
     est were incubated with the vascular smooth muscle cells for           the same medium used in the ^H-leucine and ^H-thymidine
     5 minutes or 24 hours. Samples of the therapeutic agents               assays. Each four well slide was concentration bracketed to
     were diluted in DMEM:F-12 medium (Whittaker                            one log greater concentration (well "B"), one log lower
     Bioproducts, Walkersville, Md.) with 5% fetal bovine serum        55   concentration (well "D") of the minimal effective concen
     (FBS, Gibco BRL, Gaithersburg, Md,.) and 5% Serum                      tration (well "C"), as determined by the 3H-leucine and
     Plus® (JRH Biosciences, Lenexa, Kans.). Following thera                3H-thymidine assays described above. As a control for
     peutic agent incubation, the solution was aspirated, and 1             normal morphology, one well (well "A") was left untreated
     ml/well of 0.5 microcurie/ml ^H-leucine in leucine-free                (medium only). Incubation took place in a 37° C., 5% COj
     DMEM (Dulbecco's Modified Eagle's Medium) with 5%                 60   humidified incubator. After each of the two (5 minutes and
     Serum Plush was added. The plates were re-incubated                    24 hours) exposure points, the therapeutic agent medium
     overnight at 37° C, 5% CO2 in a humidified atmosphere.                 was aspirated firom each well, including the untreated well.
     The cells were visually graded using an inverted microscope            One milliliter of fresh medium was then added to replace the
     using a scoring scale to determine viability and cell number.          aspirated medium. Re-incubation followed until each of the
     The 1 to 3 grade is based upon percent of cell viability and      65   incremented evaluation points were achieved. At those
     number compared to control wells, with 3=100%,                         points, the medium was aspirated and subsequently replaced
     2=70%-100% and l=0%-70%. A record of this scoring                      with 1 ml of 10% neutral buffered formalin for one hour to
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 58 of 67 PageID# 78



                                                                  5,811,447
                                  59                                                                    60
     allow for proper fixation. These fixed slides were stained by              was demonstrated with monoclonal antibody (NR-AN-01)
     hematoxylin (nuclear) and eosin (cytoplasmic) for morpho                   coated gold beads both in vitro and in vivo. The vascular
     logic evaluation and grading.                                              smooth muscle cell tissue cultures (B054), an antigen
        Results: The results of the 24 hour ^H-leucine protein                  positive control cell line (A375) and an antigen negative
     inhibition assay and the 24 hour ^H-thymidine DNA syn                      control cell line (HT29) were incubated with 10 nm gold
     thesis inhibition assay are shown in FIGS. lOA-lOD for                     beads, with one group coated with NR-AN-01 and a second,
     suramin, staurosporin, nitroglycerin and cjftochalasin B,                  uncoated control group. The cells were exposed to the beads
     respectively. All of the tested compounds showed an avail                  as monolayer and cell suspension cultures, and were exam
     able therapeutic range (area under the curve of ^H-leucine                 ined at six time points (i.e., 1 minute, 5 minutes, 15 minutes.
     assay is greater than that resulting from the ^H-thymidine lo 30 minutes, 60 minutes and 24 hours) for binding and
     assay), indicating usefulness in the practice of sustained mtemahzation by electron microscopy.
     release dosage form embodiments ofthe present invention.                     Table 3shows the results ofthe experimentation, indicat-
     More specifically, the compounds inhibited the ability of                  '"S     the binding to the cell surface is specific. The
     vascular smooth muscle cells to undergo DNA svnthesis in relative grading system used throughout Table 3 represents
     the presence of 5% FBS to a greater extent'than they 15 asubjective assessment ofparticle binding, wherein 0=none;
     inhibited protein synthesis ofvascular smooth muscle cells.                l=minimal; 2=mild; 3=moderate; and 4=marked. If aggre-
     The protein and DNA synthesis inhibitory effects of                               particles settled on the monolayer surface of both
     suramin, staurosporin, nitroglycerin and cytochalasin Bdur-                   smooth muscle cells and the control cells, the particles
     ing a 5 minute and 24hour pulsed exposure are shown in                     were nonspecifically internalized by macro and micro
     FIG. 10 A-D, respectively.                                    20 phagocytosis. When the cells were maintained in a cell
                                                                      suspension, non-specific internalization was minimal or
                              EXAMPLE 9                               absent. Non-specific adherence of gold beads devoid of
                                                                      NR-AN-01 to surface mucin produced by HT29 cells was
        Specific Binding and Internalization of Targeted Particles    observed, resulting in modest non-specific internalization
     by Vascular Smooth Muscle Cells                               25 thereof. Vascular smooth muscle cell uptake of NR-AN-01
        llie ability of va.scular smooth muscle cells to bind and     targeted gold beads was highly specific in cell suspension
     internalize particles coated with binding protein or peptide     cultures.


                                                                                        TABLE 3

                                                                                      Primary
                                                                                      vessicle
                                                                                    micro/macro
                                                                 Cell     Cell      phagostasis   coated   secondary                      cndoplasmic
                                    Time        Grid   Product   Line    Surface    pinocytosis    pit     vcssicle    lysosome   golgi    reticulum

                                    Cell
                                    Monolayer

                                    1 min       Aa     05(G)     A375       2            0          0         0           0        0          0
                                                Ba     05(G)     Hrr29     0             0          0         0           0        0          0
                                                C      05(G)     B054       2            ]          0         0           0        0          0
                                                Da     (G)       A375      0             0          0         0           0        0          0
                                                Eb     (G)       HT29      0             0          0         0           0        0          0
                                                F      (G)       B054      0             0          0         0           0        0          0
                                    5 min       Ac     05(G)     A375      4             1          0         0           0        0          0
                                                Bb     05(G)     HT29      0             0          0         0           0        0          0
                                                Ca     05(G)     B054      3             0          0         0           0        0          0
                                                Dc     (G)       A375      0             0          0         0           0        0          0
                                                Ea     (G)       Hr29      0             0          0         0           0        0          0
                                                Fa     (G)       B054      0             0          0         0           0        0          0
                                    15 min      Aa     05(G)     A375      3             1          0         0           0        0          0
                                                Bb     05(G)     HT29      0             0          0         0           0        0          0
                                                ca     05(G)     B054      2             1          0         0           0        0          a

                                                Da     (G)       A375      0             0          0         0           0        0          0
                                                Ea     (G)       HT29      0             0          0         0           0        0          0
                                                Fe     (G)       B054      0             0          0         0           0        0          0
                                    30 min      A      05(G)     A375      4             3          0         2           0        0          0
                                                B      05(G)     HT29      0             0          0         0           0        0          0
                                                c      05(G)     B054      3             2          0         1           0        0          0
                                                D      (G)       A375      0             0          0         0           0        0          0
                                                E      (G)       HT29      0             1          0         0           0        0          0
                                                F      (G)       B054      1             3          0         0           0        0          0
                                    60          Aa     05(G)     A375      4             3          2         3           2        0          1
                                                Ba     05(G)     m'29      0             0          0         0           0        0          0
                                                Cc     OS(G)     B054      3             2          0         2           0        0          1
                                                Da     (G)       A375      0             1          0         0           0        0          ]
                                                Ec     (G)       HT29      1             1          0         1           0        0          0
                                                Fa     (G)       B054      1             2          0         1           0        0          0
                                    24 hrs      Ab     05(G)     A375      2             1          1         2           4        0          2
                                                Ba     05(G)     Hr29      0             1          1         2           3        0          0
                                                Cc     05(G)     B054      3             3          1         3           4        1          1
                                                Da     (G)       A375      0            3           0         2           3        0          0
                                                Eb     (G)       HT29      0            3           0         3           1        0          0
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 59 of 67 PageID# 79



                                                                         5,811,447
                                       61                                                                               62

                                                 TABLE 3-continued

                                                   Primary
                                                   vessicle
                                                  micro/mawo
                                Cell    Cell      phagostasis   coated   secondary                        endoplasmic
     Time      Grid   Product   Line   Surface    pinocytosis    pit      vessicle     lysosome   golgi    reticulum

               FTj              B054        0                     0          2
                      (G)                             2                                    3       0          0
     Cell
     Pallets


     1 mil)    lA     05(G)     A375        2         0           0          0             0       0          0
               7A     05(G)     HT29        0         0           0          0             0       0          0
               13A    05(G)     B054        3         0           1          0            0        0          0
               IB     (G)       A375        0         0           0          0            0        0          0
               7B     (G)       HT29        0         0           0          0            0        0          0
               13B    (G)       B054        0         0           0          0            0        0          0
     5 min     2A     05(G)     A375        3         1           0          0            0        0          0
               8A     05(G)     HT29        0         0           0          0            0        0          0
               lAA    05(G)     B054        2         1           0          0            0        0          0
               2B     (G)       A375        0         0           0          0            0        0          0
               SB     (0)       HT29        0         0           0          0            0        0          0
               15B    (G)       B054        0         0           0          0            0        0          0
     15 min    3A     05(G)     A375        4         1           0          1            0        0          0
               9A     05(G)     HT29        0         0           0          0            0        0          0
               15A    05(G)     B054        1         1           0          0            0        0          0
               3B     (G)       A375        0         0           0          0            0        0          0
               9B     (G)       HT29        0         0           0          0            0        0          0
               15B    (G)       B054        0         0           0          0            0        0          0
     30 min    4A     05(G)     A375        4         2           0          0            0        0          0
               lOA    05(G)     HT29        0         0           0          0            0        0          0
               ]6A    05(G)     B054        2         1           0          0            0        0          0
               4B     (G)       A375        0         0           0          0            0        0          0
               lOB    (G)       HT29        0         0           0          0            0        0          0
               16G    (G)       B054        0         0           0          0            0        0          0
     60 min    5A     05(G)     A375        3         3           0          2            1        0          0
               11A    05(G)     HT29        0         0           0          0            0        0          0
               17A    05(G)     B054        2         2           0          2            0        0          0
               5B     (G)       A375        0         0           0          0            0        0          0
               11B    (G)       HT29        0         0           0         0             0        0          0
               17B    (G)       B054        0         0           0         0             0        0          0
     24 hrs    6A     05(G)     A375        3         1           0          3            3        0          0
               12A    05(G)     HT29        0         0          0          0             0        0          0
               15A    05(G)     B054        2         1          0           1            3        0          0
               6B     (G)       A375        0         0          0          0             0        0          0
               12B    (G)       HT29        1         2          0          2             2        0          0
               18B    (G)       B054        0         0          0          0             0        0          0




       FIG. 11 shows a tangential section parallel to the inner      with delayed internalization and lysosome concentration.
     surface of a smooth muscle cell characterized by numerous       FIG. 13 shows particulate concentration in the lysosomes in
     endocytic vesicles, several of which contain antibody coated 45 vivo at one week following bead administration.
     gold beads in the process of being internalized by the cell.
     These endocytic vesicles with particles attach^ to cell                                                  EXAMPLE 10
     surface antigens were stimulated to fuse with lysosomes at                         Vascular Smooth Muscle In \^tro DNA and Protein Syn
     a higher than expected rate for normal cell surface mem                         thesis Inhibition By Staurosporin and Cytochalasin
     brane recycling. The resultant marked accumulation of inter             50
                                                                                        The ability of staurosporin and cytochalasin to inhibit in
     nalized particles was observed at the 24 hour time point and
                                                                                     vitro DNA and protein synthesis in vascular smooth muscle
     is shown in FIG. 12.
                                                                                     cells was tested. ^H-leucine and ^H-thymidine uptake and
        The targeted gold bead vascular smooth muscle cell
                                                                                     cytotoxicity assays were conducted in accordance with the
     surface binding, internalization and lysosome concentration
                                                                                     following protocols.
     was observed in vivo as well. NR-AN-01 coated gold beads                55
                                                                                       Cultured Cells:
     were infused via intravascular catheter, open ended with
     treated area occluded proximally and distally with slip                            B054 cells (baboon smooth muscle cells) were derived
     ligatures, at 3 atm pressure applied for 3 minutes into the                     from explants of aortic baboon smooth muscle cells. Cells
     wall of a pig femoral artery immediately following balloon                      were expanded in DMEM (Dulbecco's Modified Eagle's
     trauma. The bead internalization rate varied with the degree            60
                                                                                     Medium):F-12 medium (Whittaker Bioproducts,
     of damage sustained by the vascular smooth muscle cell                          Walkersville, Md.) with 5% fetal bovine serum (FBS,
     during the balloon trauma. Cells with minimal or no damage                      Gibco) and 5% Serum Plush (JRH Biologicals) ("complete
     rapidly internalized the particles by endocytosis and                           medium"), and a seed lot of cells was frozen in liquid
     phagocytosis, concentrating the internalized particles in                       nitrogen for future use at passage seven.
     lysosomes. Cells that were killed by the trauma exhibited               65         5 Minute Exposure; Protein Synthesis Assay:
     surface bead binding. Cells that were damaged by the trauma                       Vascular smooth muscle cells at 40,000-50,000 cells/ml
     but survived were characterized by bead surface binding                      were seeded and processed as described in Example 8, "5
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 60 of 67 PageID# 80



                                                              5,811,447
                                 63                                                              64
    minute exposure; ^H-leucine uptake." lx)gdilutions of stau-               Medium (2)=Complete Medium              with   1.0 //Ci/ml
    rosporin (200 ng/ml, 20 ng/ml,2 ng/ml, 0.2 ng/mland 0.02                    ^H-thymidine.
    ng/ml) were dispersed ia complete medium. For cytochala-                Medium (2) is used in the final 24 hour incubation of the
    sin B, log dilutions at 20 /ig/ml, 2.0 /<^ml, 0.2 /^g/ml, 0.02          experiment.
    /ig/mland 0.002 //g/ml weredispersed in complete medium.                  Theseprotein andDNAsynthesis assays are amenable for
    Complete medium wasthen added to thecontrol wells. One                  use with other target cell populations, especially adherent
    ml/well of each therapeutic agent dilution was added in                 monolayer cell types.
    quadruplicate wells, andthe agent of interest wasincubated                Results: The minimum effective dose (MED) of each
    with the vascular smooth muscle cells for 5 rain at room                agentwas determinedas a percentageof the control that was
    temperature in a sterile ventilated hood. Following thera          10
                                                                            treated with medium only; 50% of control values was
    peutic agent incubation, thewells were subsequently treated             chosen as the cytotoxicitybenchmark. At a 5 min exposure,
    as described in Example 8, "5 minute exposure; 'H-leucine               stauro-sporin demonstrated an MED of 100 ng/ml in the
    uptake."                                                                protein synthesis assay and 1 ng/ml in the DNAassay. The
       5 Minute Exposure; DNA Synthesis Assay: Vascular                     24 hour MED for staurosporin was 10 ng/ml in the protein
     smooth muscle (B054) cells were seeded and processed in                synthesis assay and 1 ng/ml in the DNAsynthesis assay.
                                                                       15
     24 well plates, as described above under "5 Minute Expo                Both assays gave an MED of 1 ng/ml for a 120 hour
     sure: Protein Synthesis Assay." After 5 minincubation with             exposure of staurosporin.
     the testtherapeutic agent, the medium was aspirated and 1                 At a 5 minuteexposure, cytochalasin B demonstrated an
     ml/well of1.0/iCi/ml ^H-thymidine (rather than ^H-leucine)             MED of 10 //g/ml in the protein synthesis assay as well as
     dispersed in complete medium was added. The cells were                 in theDNAassay. The24 hourMED forcytochalasin B was
     thenincubated overnight at 37° C. in a humidified, 5% CO^         20   1.0«g/mlin the protein synthesis assay and0.1/<g/ml in the
     environment. The toxic cffect of the therapeutic agent was             DNA synthesis assay. Both assays gave anMED of approxi
     then determined, as described in the Protein Synthesis                 mately 0.1 ug/ml for a 120 hour exposure of staurosporin.
     Assay, above.                                                             Cytochalasin C and cytochalasin D therapeutic agents
       24 and 120 Hour Exposure: Protein Synthesis Assay:                   were tested at 24 and 48 hour exposures using the same
     Vascular smooth muscle (B054) cells at 20,000 cells/rnl           25   dilutions as described for cytochalasin B, above. At 24
     were seeded in sterile 24 well plates and incubated in                 hours, cytochalasin C demonstrated anMED of 1.0/ig/ml in
     complete medium (1 ml/well) overnight at 37°C.,5%CO^,                  theprotein synthesis assay andanMED of 0.01 /ig/ml inthe
     95% air in a humidified atmosphere(saturation). Log dilu
     tions of staurosporin (100 ng/ml, 10 ng/ml, 1 ng/ml, 0.1               DNA synthesis assay. At 48 hours, cytochalasin C demon
     ng/ml and 0.01 ng/ral) were dispersed sequentially in the              strated an MED of 0.1 ug/ml in the protein synthesis assay
     two media, as described below. For cytochalasin B, log            30
                                                                            and0.01 /<g/ml in theDNA synthesis assay. Cytochalasin D
     dilutions at 10fig/ml, 1.0/tg/ml, 0.1/<g/ml, 0.01 /<g/ml and           demonstrated an MED of 1.0 /^g/ml in the 24 hour protein
     0.001 //g/ml were dispersed sequentially inthe two media, as           synthesis assay and anMED of0.1 /<g/ral in the 24hr DNA
     described below:                                                       synthesis assay. A 48 hour exposure to cytochalasin D gave
       Medium (l)=Complete medium; and                                      an MED ranging between 0.1 and 0.01 /ig/ml in both the
       Medium (2)=DMEM (Icucine-free) with 0.5 //Ci/ml                      proteinsynthesis and DNAsynthesisassays.
                                                                       35
          ^H-leucine. Medium (2) is used for the final 24 hour                                      EXAMPLE 11
          incubation period of the experiment.
     More specifically, in the 24 hour assay, each therapeutic                 Vascular Smooth Muscle Cell Migration Inhibition
     agent was diluted in Medium (2), as noted above. Medium                  Scratch assays to determine the extent of smooth muscle
     (1) was aspirated from the wells, and aliquots oftherapeutic               njigj-ation inhibition by cytochalasin Bwere performed
     agent dilutions in Medium (2)were added in quadruplicate                   accordance with the following protocol:
     to theappropriate wells. Medium (2) was then added to the                 •/    t smooth muscle
                                                                               Vascular               1 cells
                                                                                                           ii„ (B054)
                                                                                                               /-o/-»c^\ were derived from
     control wells.                                                         explants of baboon aortic smooth muscle, as described in
        In the 120 hourassay, each therapeutic agentwasdiluted              Example 10. ITie cells were grown in flat bottom, six well
     in
     in Medium
        Medium (1), as
                    as noted
                       noiea above. Medium (1) was
                             aoove. ivieuium   w<u> aspirated
                                                    dajjuaitta              tissue
                                                                            tissue culture plates, which
                                                                                   culture plates, wnicn hold
                                                                                                         noia about
                                                                                                               aooui 5j mlof
                                                                                                                        mi oi medium.
                                                                                                                              uicuiuiu. ITie
                                                                                                                                         luc
     from thewells, andaliquots of therapeutic agent dilutions in           ygscuiar smooth muscle cells were plated at 200,000 cells/
     Medium (1)were added inquadruplicate         to fhft
                              in nilorlninliVafp. fn the appropriate
                                                          annmnriatc                             C* in
                                                                            well andplaced at 37"C. in a
                                                                                                       o humidified 5%COj incubator
                                                                                                                            inriihfllnr

     wells. Medium (1) wasthen added to thecontrol wells. The               for 18 hours. The wells were then scratched with a sterile
     medium waschanged every 24 hours, and fresh therapeutic                portion of a single edge razor blade thatwas held by clamp
     agent was added to the test wells. At 96 hr, (i.e., the fourth         or pliers and was brought aseptically into contact with the
     day), each therapeutic agent was diluted in Medium (2), as        50   bottom of the well at a 90" angle. The cells from a small area
     noted above. Medium (1) wasaspirated from thewells, and                along the scratch were removed by a sterile cotton tipped
     aliquots of therapeutic agent dilutions in Medium (2) were             applicator while the blade wasincontact with thebottom of
     added inquadruplicate tothe appropriate wells. Medium (2)              the well. After incubation, the presence of cells in the
      IS tnen
     was then aaaea
              added lo
                    to me
                       the coniroi
                           control weiis.
                                   wells.                                   "scratched" area is indicative of cell migration across the
       The test agents in ^H-leucine (and controls) were incu- 55 scratch line. Acontrol incubation showed significant cellular
     bated overnight
           /wrArninfit at 37° C., 5% CO2 inin a
                                              s\ humidified
                                                 hiiinidifi6d atmo
                                                              allHO-    migration, and
                                                                                    mA serves
                                                                                         c^r\rt^c as
                                                                                                  ac the standard
                                                                                                         ctiinH^rrl against which
                                                                                                                            which the
                                                                                                                                  the
     sphere. The toxic effect of the therapeutic agents was then        migration of cells exposed to the therapeutic agent is com
     determined, as described in the 5 Minute Exposure: Protein         pared.
     Synthesis Assay, described above. In addition, the changes           Briefly, astock solution ofcytochalasin B(Sigma Chemi
     in cells at each dilution were photographed using a Zeiss 60 cal Co.) in dimethyl sulfoxide (DMSO) at 1 mg/ml was
     microscope (Zeiss, West Germany) at 320x. The medium               prepared. Test dilutions ofcytoch^asin Bor control medium
     was then aspirated, and thecellswere processed with TCA,           were added. Each experiment included two sets of plates:
     as described above.
                                                                          Aset:Test agent exposure for 1,3, 6,8 and10daysonly;
        24 and 120 Hour Exposure; DNASynthesis Assay: This                   and
     assay was performed according to the procedure described
     for "24 and 120 Hour Exposure; Protein Synthesis Assay",        65    B set: Test agent exposure for 1, 3, 6, 8 and 10 days,
     except Medium (2) in this 24 & 120 hr DNA Synthesis                     foUowed by a seven day recovery time with control
      Assay is:                                                                   medium.
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 61 of 67 PageID# 81



                                                                                           5,811,447
                                 65                                                                                                                 66
     Both sets of plates were fixed (10% formalin in PBS) and                                                                                EXAMPLE 12
     stained (0.02% crystal violet) at the end of the timed
     exposures. Test concentrations for cytochalasin B were 1,
     0.1 and 0.01 /'g,/ml, and a negative medium control was
     included. Fresh medium and drug were supplied 3 times per
                                                                                                            Therapeutic Agent Cytotoxic Effects on Vascular
     week.
                                                                                                                 Smooth Muscle Cells—Pulse and Continuous
        Table 4 shows the results of these experiments. In this
     Table, "M" indicates Migration Grade, wherein -=no migra                                                                                 Exposure
     tion; +l=minimal; +2=raild; +3=moderate; and +4=marked
     (maximum density; Umit of cell contact inhibition) migra                                 10
     tion of vascular smooth muscle cells into the cleared area
     adjacent to the scratch. In this Table, "P' denotes a mor                                           Vascular smooth muscle cells were exposed to a thera
     phological Toxicity Grade, wherein -=no toxicity;                                                 peutic agent in one of two exposure formats:
     +l=minimal; +2=mild; +3=moderate; and +4=marked tox
     icity. The migration results arc expressed as "Grade in the                              15
     Cleared Area of the Well / Grade in an Undisturbed Region
     of the Well." The toxicity values represent a grade for all                                         Pulse exposure: ITie pulse exposure protocol is described
     cells in each well.                                                                               in Example 8 above (see "Morphological Cytotoxicity
        The data indicate that cytochalasin B inhibits the migra                                       Evaluation—^Pulsed Exposure").
     tion (+1 to +2) of vascular smooth muscle cells into the
                                                                                              20
     cleared area adjacent to the scratch at a dose of 0.1 /<g/ml
     with only minimal (- to +1) morphological toxicity.The data
     also show that the treated cells (0.1      regain the ability                                       Continuous exposure: The same methodology is used for
     to migrate (+3 to +4) following removal of the therapeutic                                        continuous exposure morphological cytotoxicity evaluation
     agent, even after 10 days of continuous exposure to the
                                                                                                       as for the pulse exposure, except that the test wells were
     therapeutic agent.                                                                       25
                                                                                                       continuously exposed to therapeutic agent in medium during
                                        TABLJE 4
                                                                                                       the exposure period. The raedium and therapeutic agent
                                                                                                       were aspirated from each well daily, including from the
          SCRATCH-MIGRATION ASSAY: INHIBITION OF VASCULAR
                                                                                    untreated control well, and were replaced with 1 ml of fresh
         SMOOTH MUSCLE CELL MIGRATION BY CYTOCHALASIN B
                                                                                 30 raedium and therapeutic agent (or medium alone for control
                     Continuous Exposure           7-<Jay Recovery Post Exposure    wells). Re-incubation followed, until each of the incremental
                                                                                    evaluation points of the long term continuous exposure
             Cbntrol                             Control                            protocol was achieved. These incremental evaluation time
     Oay     0.0         0.01   0.1       1.0    0.0       0.01  0.1     1.0        points were at 6,24,48,72,96,120,168,216 and 264 hours.
                                                                                 35
     1 M         +1/+3   +1/+3 +1/+3 -/+2        +3/+4     +3/+4 +3/+4 +2/+3        At the designated time period, the appropriate cells were
     T       -           -
                                          +3     -        -            -
                                                                         +2         fixed, stained and evaluated as in the pulse exposure proto
     3M      +3/+4       +.V+4 +1/+4 -f+2        +3/+4     +3/+4 +3/+4 +21+3
     T       -
                                +1        +3     -        -            - +1
                                                                                    col. The results of a continuous exposure experiment are
     6M      +31+4       +3/+4 +2/+4 -1+2        +4/+4     +4/+4 +3/+4 +2/+3        shown in Table 5 for suramin, staurosporin and cytochalasin
     T                          +1        +4                             +3      40 B. The 5 min and 24 hr data presented in Table 5 are
             -                                   -        -            -




     8 M     +31+4       +3/+4 +2/+4 -/+2        +4/+4    +4/+4 +3/+4 +2/+3
     T       -
                                +1        +4     -
                                                          -            -
                                                                                  +3
                                                                                                       correlates of the data contained in FIGS. lOA, lOB and IOC.
     10 M    +3/+4       +3/+4 +2/+4 -1+1        +4,'+4   +4/+4 +4/+4 +21+3
     T       -
                                +1        +4     -        -            -
                                                                                  +3




                                                                                                           TABLES

                                                                                       MORPHOLOGICAI. CYTOTOXICITY ASSAY
                                                                                                          Drue & Pose

                                                                           Cytochalasin B                                     Suramin                             StaurosDorine

                                      Exposure Protocol       10 «g        l/'g    0.1        0.01 «g      10 mg     1 mg        0.1 mg       0.01 mg    100 ng   10 ng   1 ng     0.1 ng

                                      5 min + 2 hrs            0.5          0          0           _

                                                                                                                 0        0            0        _
                                                                                                                                                           0       0           0     _




                                      5 min + 6 hrs            4            1          0           -             1        0            0        -          0       0       -




                                      5 min + 24 hrs           4            0.5        0           -
                                                                                                                 1        0            0        -
                                                                                                                                                           0       0           0     -




                                      5 min + 48 hrs           4            1          0           -             2        0            0        -          2       1           0     -




                                      5 min + 72 hrs           4.5          1          0           -
                                                                                                                 3        1            0        -
                                                                                                                                                           3       1.5         0     -




                                      5 min + 96 hrs           5            1          0           -
                                                                                                                 3        1            0        -
                                                                                                                                                           3.5     1.5         0     -




                                      5 min + 120 hrs          5            1          0           -
                                                                                                                 3        1            0        -
                                                                                                                                                           4       1.5         0     -




                                      Continuous 6 hrs             -
                                                                            3          0           0             3        1            0        -
                                                                                                                                                           0       0           0     0
                                      Continuous 24 hrs            _
                                                                            3          1           0             3        2            0        -          -
                                                                                                                                                                   0           0     0
                                      24 hrs + 24 hrs              -
                                                                            3          0.5         0             4        3            0        -          -
                                                                                                                                                                   0.5         0     0
                                      24 hrs + 48 hrs              -
                                                                            4          1           0             4        3            0        -          -
                                                                                                                                                                   2           0     0
                                      24 hrs + 72 hrs              -
                                                                            4          0.5         0             4        3            0.5      -          -
                                                                                                                                                                   1           0     0
                                      24 hrs + 96 hrs          _
                                                                            4          0           0             4    3.5              1        -          -
                                                                                                                                                                   1.5         0     0
                                      24 hrs + 120 hrs         -
                                                                            4          0           0         -        -            -            -          -
                                                                                                                                                                   1.5         0     0
                                      Continuous 24 hrs        -
                                                                            3          0           0         -
                                                                                                                          1            1        0          -
                                                                                                                                                                   3           1     0
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 62 of 67 PageID# 82



                                                                             5,811,447
                                         67                                                                        68

                                                       TABLE 5-conlinued

                                           MORPHOLOGICAL CYTOTOXICrrY ASSAY
                                                               Drug & Dose

                                  Cvtochalasin B                             Suramin

     Exposure Protocol      10/ig l/<g    0.1 //g   0.01 /ig   10 mg   1 mg     0.1 mg 0.01 mg 100 ng 10 ng 1 ng   0.1 ng

     Continuous 48 hrs             3          1        0                3          2     0              3     2      0
     Continuous 72 hrs             3          1        0                4          3     0              3     2      0
     Continuous   96 hrs           3          2        0                4         3      0              3     2      1
     Continuous   120 hrs          3          1        0                5          4     0              3     2      1
     Continuous   168 hrs          4          1        0                5          4     0              3     2      1
     Continuous   216 hrs          4          1        0                5         4      0              3     2      1
     Continuous   264 hrs          4          1        0                5          4     0              4     2      1




        At an in vitro effective dosage, cytochalasin B (1                             1) 5 /<m sections of test artery were dehydrated in cold
     an anti-migration/contraction effective dose) and stauro-                            acetone (-20® C.) for 10 minutes;
     sporin (1 ng/ml; an anti-proliferative effective dose) exhib                      2) Sections were mounted on glass microscope slides, and
     ited a cytotoxicity grade of 1 (minimal) and 2 (mild),                       20
                                                                                          the slides were dried in a 37° C. oven for 10 minutes;
     respectively. Independent studies have indicated that a grade                     3) Slides were rehydrated in PBS for 10 minutes;
     of 3 (moderate) or less is preferred for a cytostatic, antipro-
                                                                                       4) Slides were subjected to Feulgen's acid hydrolysis
     liferative agent of the present invention.
                                                                                          using IN HCl, wherein two aliquots of IN HCl are
                                EXAMPLE 13                                        25      preheated to 37" C. and 60° C. prior to proceeding;
                                                                                       5) Slides were rinsed with 1 ml of IN HCl at 37° C. for
       In Vivo BRDU Assay: Inhibition of Vascular Smooth
                                                                                          1 min;
     Muscle Cell Proliferation
                                                                                       6) Slides were transferred to 60° C. IN HCL for 15 min;
        BRDU assay: In vivo vascular smooth muscle prolifera
     tion was quanlitatedby measuringincorporation of the base                         7) Slides were rinsed with 1 ml of IN HCl at 37° C. for
                                                                                  30
     analog 5-bromo-2'-deoxyuridine (BRDU, available from                                 1 min;
     Sigma Chemical Co.) into DNA during cellular DNA syn                              8) Slides were washed with room temperature PBS, using
     thesis and proliferation. BRDU incorporation was demon                               3 changes of PBS at 5 min intervals;
     strated histochemically using commercially available anti-                        9) Endogenous, cross-reactive sites on the sections were
     BRDU monoclonal antibodies. The 1 hour pulse labeling                               blocked with normal goat senim (1:25 in PBS) for 20
                                                                                  35
     permits assessment of the number of cells undergoing divi                            min;
     sion during the pulse period.                                                     10) Slides were wa.shed with PBS, as in step 8;
        The BRDU pulse labeling protocol described above is                            11) Sections were incubated with mouse anti-BRDU
     used as a standard evaluation technique with in vivo pig                            antibody (DAKO Corporation, Carpinteria, CaUf.) at
     vascular studies. Follov/ing surgical and treatment proce                    40      10 //g,/ml for 30 min;
     dures (discussed, for example, in Examples 7 and 11 herein)                       12) Slides were washed with PBS, as in step 8;
     and a post-surgical recovery period, pigs were sedated and                        13) Sections were incubated with horseradish peroxidase-
     pulsed with BRDU 1 hour prior to tissue collection.                                 labeled (HRPO) goat anti-mouse IgGj (Jackson Immu-
        Briefly, the pigs were sedated with tiletamine hydrochlo-                        noresearch Laboratories, Inc., West Grove, Pa.; diluted
     ride and xylazine (as in Example 7, "Gross Pathology and                     45     1:20 in PBS) and 4% human AB serum for 30 min;
     Histological Evaluation") by intramuscular injection.                             14) Slides were washed with PBS, as in step 8;
     BRDU was then administered intravenously via the lateral
                                                                                       15) Sections were incubated with chromogen (3,3'-
     ear vein. Two ml of BRDU at a concentration of 50 mg/ml
                                                                                         diaminobenzidine (DAB; Sigma) at 5 mg/ml in 200 ml
     was administered to each 30-40 lb pig. One hour later, the
                                                                                         PBS) and 200 /d of 30% H2O2 for 10 min;
     pigs were sacrificed by intravenously administered pento-                    50
     barbital. Test artery segments were then removed (a segment                       16) Slides were washed with PBS, as in step 8;
     included normal vessel located proximally and, if possible,                       17) Samples were counterstained with Gill I hematoxylin
     distally with respect to the treated artery segment). ITie                          (Gill I Lerner Laboratories, Pittsburgh, Pa.; 30 dips);
     artery segments were transected at 2 ram intervals; arranged                      18) Slides were washed with PBS, as in step 8; rinsed with
     in order in cryomolds with O.C.T. (optimum cutting 55                               a bluing solution (1 gm lithium carbonate in 500 ml
     temperature) compound (Tissue Tek®, Miles Laboratories,                             dH20); washed with deionized water; and
     Inc., Elkhart, Ind.); and frozen in liquid nitrogen. The blocks                   19) Test samples were then dehydrated, cleared and
     were sectioned at 5 microns and immunohistologically                                coverslipped.
     stained to detect BRDU using the following procedure.              At the conclusion of this procedure, a positive immuno-
        BRDU-labeled cell detection: After BRDU (1 g BRDU 60 histological stain exhibits a brown color at the site(s) of
     diluted in 17 ml sterile water and 3 ml IN NaOH) pulse          reactivity.
     labeling and test artery segment removal and sectioning (as        Cytocidal agents inhibited BRDU uptake relative to a
     above), immunohistochemical staining with anti-BRDU             PBS control; however, cytochalasin B and staurosporin
     monoclonal antibody provides a visual means of determin         inhibited BRDU uptake (i.e., cell proliferation) without
     ing a mitotic index over a specified time period. The 65 killing the vascular smoolh muscle cells. The number of
     immunohistochemical staining method was performed as            vascular smooth muscle cells labeled with BRDU was
     follows:                                                        assigned a grade at 400x magnification as follows:
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 63 of 67 PageID# 83



                                                                5,811,447
                               69                                                                              70
        l=^l/high power field (HPF);                                                                   EXAMPLE 15
        2=2 to 5/HPF;
        3=>5 to ^10/HPF; and
                                                                               Direct Conjugation of NR-AN-01Antibody to Carboxylic
                                                                             Functional Groups of a Latex Particle
        4=>10/HPF.
        Both cytochalasin B and staurosporin inhibited prolifera                Antibody-coated latex particles (a model of an antibody-
     tion for 24 hours following balloon trauma (grade 1),                   coated, sustained release dosage form) may be obtained
     yielding a BRDU labeling grade equivalent to that of a                  using the following aseptic technique:
     pretrauma baseline (grade 1). PBS and monoclonal antibody                 Conjugation:
     controls exhibited grade 2.5 to 4 BRDU labeling during the
     same time period. At 4 days post-trauma, arteries treated          10      To 4 ml 0.05M sodium borate, pH 8.5, containing 0.01%
     with cytochalasin B or staurosporin, as well as PBS and                 Tween-20<|) (polyoxyethylene sorbitan monolaurate, Sigma)
     monoclonal antibody controls, exhibited a BRDU labeling                 is added 0.5 ml PBS containing 5 rag NR-AN-01 mono
     grade of 4. The anti-proliferative, non-cytocidal properties            clonal antibody. To this solution at room temperature is
     of cytochalasin B and staurosporin suggest that these agents            added, with vortexing, 2.5 ml of an aqueous suspension
     are amenable to sustained release dosage formulations for
                                                                        15   containing 50 mg of 1 ftm diameter carboxylated latex
     reduction of vascular stenosis.                                         particles. Immediately thereafter, 0.50 ml of water contain
                                                                             ing 100 mg of freshly dissolved l(3-dimelhyl-aminopropyl)
                             EXAMPLE 14                                      3-ethyl carbodiimide HCl is added with vortexing. The
                                                                             solution is then incubated with shaking for 1-2 hr at room
        Biological Stenting of Balloon Traumatized Pig Arteries         20   temperature. The reaction mixture is then diluted with 50 ml
     Using Cytochalasin B
                                                                             of 50 mM phosphate buffer, pH 6.6, containing 0.2% gelatin
       Balloon traumatized pig arteries that had been treated                stabilizer (phosphate/gelatin buffer). The mixture is centri-
     with cytochalasin B displayed a larger luminal area at the 4            fuged at 40,000xg for 2 hr at 4°-10*' C. The supernatant is
     day and 3 week, post-treatment
                      ...           time points, as compared to              decanted, and the pellet is resuspended in 50 ml phosphate/
     arteries treated with other test agents or controls. Ten femo- .5                                             soQjcation for 10 sec. Cen-
     ral arteries (two arteries obtained from each of the 5 pigs that        trifugation is repeated, and the pellet is resuspended two
     were treated according to the single dose protocol described            times, followed by resuspension in the phosphate/gelatin
     in Example 7) were evaluated histologically. The maximal                buffer. The conjugated particles are then lyophilized using
     luminal area of each artery was measured and calculated                 standard protocols and sorbitol excipients.
     from digitized microscopic images by a BQ System IV                30
     computerized morphometric analysis system (R & M                          Characterization:
     Biometrics, Inc., Nashville, Tenn.). This experiment was                  (a) Sizing: Particle size homogeneity is asses.sed by laser
     repeated with 5 additional pigs (two arteries per pig;                  anisotropy or, for particles larger than 1 ftm, by microscopic
     cytochalasin B dose=0.1 fig/ml, applied for 3 min at 1 atm              examination.
     pressure; same time points). The data obtained from the two        35
     experiments were combined. An increase in lumen area at                   (b) Specific Binding Assessment: Specific binding to
     the 3 week post-cytochalasin B treatment time point was                 smooth muscle cells is determined by histological exami
     observed.
                                                                             nation of tissue or cell pellet microtome slices after incu
                                                                             bation of protein/peptide conjugates with conjugated
       The luminal area of the traumatized and cytochalasin
     B-.reated segment otthe arteries were ato <»mpared to the „ Pf
                 ^                                      ^                    tn^                mivfiiri*
                                                                                                                     prolein/peptide ittcUided in
                                                                                                              Pr#»Tj>rr^H
     luminal area of the normal, untreated region of the femoral
                                                                             include second antibody assays (i.e., anti-mouse Ig) or
     artery proximal to the lest area. The results showed that the
                                                                             competition assays (i.e., radioscintigraphic detection in con
     lumen area in the test region was approximately two times
                                                                             junction with radioisotopically labeled protein/peptide
     as large as the area of the normal control segment of the
                                                                             conjugates).
     same artery. The negative control agents, PBS and mono-            45
     clonal antibody NR-AN-01, showed no increase or a slight                (c) Assessment of the extent of protein/peptide deriviti-
     decrease in lumen area as compared to the normal control              zation: ITiis determination is performed by coating the latex
     segment of the same artery.                                           particles with radioisotopically labeled antibody, followed
        A cytochalasin B dose response study was then conducted            by detection of radioactivity associated with the coated
     on 10 pigs, following the experimental protocol described in       50 particles.
     Example 7. Briefly, both arteries in each of 2 pigs were                  The characterization of antibody-coated particles is
     treated with one of the following doses of cytochalasin B:              described in Table 6.
     0.0 fig/ml (i.e., PBS negative control); 0.01 ^ug/ml; 0.10
     /<g/ml; 1.0 /^ml; and 10.0 /^g/ml.The agent was delivered
                                                                                                            TABLE 6
     by intraluminal catheter at 1 atm pressure for 3 min, and the      55
     arteries were evaluated 3 weeks later by the morphometric                        Characlerization of ?JR-AN-01-Coated Latex Particles
     analysis system described above. The ratio of treated artery
                                                                                   Particle     Offering of      //g Ab Bound/     Ab Molecules
     luminal area to proximal normal artery luminal area was
                                                                                   Diameter     Ab/Particle       5 Dig l^ex        Per Particle
     determined as a percent change in treated vs. normal area. A
     significant threshold effect was observed at doses from 0.1        60         1.2 /an        40,000               42              3520

     /ig/ml (-140% increase) to 1.0 j«g/ml (FIG. 14). The 10                       1.2 Jim        84,000               66              5470
                                                                                   0.4 Jim        32,000               99              3160
     fig/ml dose appeared to be toxic to the vascular smooth                       QAjtm          64,000              140              4550
     muscle cells (data not shown). The subthreshold dose (0.01                    0.1 Jim           932              140                    65
     /ig/ml) and negative control (PBS) exhibited a ±-20%
     change in luminal area. These data suggest that cytochalasin       65
     B acts as a "biological stent" when delivered to traumatized              The particle aggregation effect of pH during antibody
     arteries.                                                               conjugation is presented in Table 7.
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 64 of 67 PageID# 84



                                                                         5,811,447
                                         71                                                                72
                                                                               microcuries/ml; available from Amersham International)
                                     TABLE?                                    was added 12 hours after restimulation and the cells were
                                                                               harvested after 24 hours. DNA synthesis by adventitial
                       Eficct of pH DuringAntibodyConjugation-                 fibroblasts was determined similarly, except that the cells
                                   ParticleAggregalion                       5 were made quiescent in serum-free DMEM for 24 hours.
            Particle       pH* During          Particle Aeereaation"             CeUswere prepared for counting by hemocytometer from
                                                                               triplicate culture dishes as described in Grainger el al.,
           Diameter        Conjugation     +Tween 20 ®      -Twcen 20 ®        Biochem. J., 277:145-151,1991. CeUs were also countedby
            1.2 /tm            8.5             <5%               <2.5%
                                                                               direct microscopic observation of gridded culture dishes.
            1.2 y/m            7.0            -20%               -10%       10 The grids were scored into the plastic on the inner surface,
            1.2//m             5.5             10%               100%          so that the cells could not migrate into or out of the area
            0.4 /im            8.5            <10%                <5%          being counted during the experiment. CeUs in each of four
            0.4 Jim            7.0            -30%               -20%
            0.4 fim            5.5            100%               100%
                                                                               squares in two separate wells were counted at each time
            0.1 /im            8.5            <20%               <10%          point. AH ceU counting experiments were repeated on at
            0.1 Jim            7.0            -50%               -40%       15 least three separate cultures.
            0.1 /im            5.5            100%               100%
                                                                                  A stock solution of tamoxifen (5 mM; available from ICI
     "Using 50 mM MES(pH 5.5);phosphate(pH 7.0);or borale (pH8.5) buffer,      Pharmaceuticals) was made up in 10% ethanol (EtOH) and
     as described.                                                             dUuted in DMEM and 10% FCS to give the final concen
     *"As assessed by microscopic examination, on a scale of 0-100%.           tration. The effects of each tamoxifen concentration were
     These data suggest that proteins or peptides may be directly 20 compared with the effects observed in control weUs con
     conjugated with sustained release dosage forms of the            taining the same final concentration of the ethanol vehicle.
     present invention. More specifically, poly-lactic/glycolic       Recombinant TGF-beta (available from Amersham
     acid particulates having terminal carboxylic acid groups will    International) was dissolved in 25 mM Tris/Cl to give a 5
     be conjugated according to the procedure described herein        microgram/ml stock solution and sterile filtered through a
     or the alternative procedures described in the specification 25 Spinnex Tube (.such as a Centrex Disposable Microfilter
     hereof.
                                                                      Unit available from Rainin Instrument Company, Inc.,
                                                                      Woburn, Mass.). Neutralizing antiserum to TGF-beta
                            EXAMPLE 16
                                                                      (BDA19; available from R&D Systems) was reconstituted
                                                                      in sterile MilliQ water (available from Millipore
          Impact of Tamoxifen on Vascular Smooth Muscle            30 Corporation, Bedford, Mass.). At 10 micrograras/ml, this
           Cells and the Relationship thereof to TGF-Beta             antibody completely abolished the activity of 10 ng/ml
                       Production and Activation                      recombinant TGF-beta on subcultured (8th passage) vascu
                                                                               lar smooth muscle cells.
        Cell culture, DNA synthesis assay and cell counting. Rat        Assays for TGF-Beta. The TGF-beta activity present in
     vascular smooth muscle cells were cultured after enzymatic 35 medium conditioned on various cells was determined by
     dispersion of the aortic media from 12-17 week old Wistar       DNA synthesis assay on mink lung endothelial (MvLu)
     rats as described in Grainger et al., Biochem. J., 211:         cells; a modification of the assay described in Danielpour et
     145-151, 1991. When the cells reached confluence (after         al., J. CeU. Physiol., 138: 79-83, 1989. MvLu ceUs were
     about 6 days) the cells were relea-sed with trypsin/EDTA        subcultured at 1:5 dilution in DMEM+10% FCS. After 24
     (available from Gibco) and diluted 1:2 in Dulbecco's modi 40 hours, the medium was replaced with the conditioned
     fication of Eagle's medium (DMEM; available from ICN/           medium to be tested in the absence or presence of the
     Flow) supplemented with 100 U/ml penicillin and 10% fetal       neutralizing antiserum to TGF-beta at 10 micrograms/ml.
     calf serum (FCS). The cells were then replated on tissue        DNAsynthesis during a 1 hour pulse of [^H]-thymidine (5
     culture plastic (available from ICN/Flow) at approximately      microcuries/ml) was determined 23 hours after addition of
     1x10" cells/cm^. The cells were subcultured repeatedly in 45 the test medium. TGF-beta activity was calculated as the
     this way when confluence was attained (about every 4 days),     proportion of the inhibition of DNA synthesis which was
     and the ceUs were used between passages 6 and 12.               reversed in the presence of neutralizing antibody, using a
        Rat adventitial fibroblasts were culhired as described in    standard curve to convert the inhibition values into quanti
     Grainger et a\., Biochem. J., 283: 403^08,1992. Briefly, the    ties of TGF-beta. The TGF-betal standards and conditioned
     aortae were treated with collagenase (3 mg/ml) for 30 50 media both contained 10% FCS in DMEM.
     minutes at 37° C. The tunica adventitia was stripped away          The total latent and active TGF-beta present was deter
     from the media. The adventitia was dispersed for 2 hours in     mined by a sandwich ELISA. Maxisort? 96-weU ELISA
     elastase (1 mg/ml) and collagenase (3 mg/ml) dissolved in       plates (available from Gibco) were coated with neutralizing
     medium Ml99 (available from ICN/Flow). The ceUs were            antiserum against TGF-beta (BDA19; available from R&D
     then spun out (900xg, 3 minutes), resuspended in DMEM+ 55 Systems) at 2 micrograms/cm^ in phosphate buffered saline
     10% FCS and plated out at 8x10"* cells/cm^on tissue culture     (PBS) overnight at room temperature. The plates were
     plastic. When the cells reached confluence (after about 10      washed between each step with tris-buffered saline contain
     days), they were subcultured as described for vascular          ing 0.1% Triton X-100 (available from Sigma Chemical
     smooth muscle cells. Adventitial fibroblasts were subcul        Company). The plates were incubated with samples for 2
     tured every 3 days at 1:3 dilution and used between passages 60 hours, with a second antibody to TGF-beta (BDA5; avail
     3 and 9.                                                        able from R&D Systems) at 0.1 micrograms/mil for 2
        DNAsynthesis was assayed by [^H]-thymidinc incorpo           hours, anti-rabbit IgG peroxidase conjugated to antibody
     ration as described in Grainger et al., Biochem. J.,            (available from Sigma Chemical Co.), made up according to
     277:145-151, 1991. Vascular smooth muscle cefls were                      manufacturer's instnictions, for 15 minutes. Absorbances at
     subcultured, grown in DMEM+10% FCS for 24 hours, made 65 492 nm were converted into quantities of TGF-beta protein
     quiescent in serum-free DMEM for 48 hours and restimu-   using a standard curve. Both conditioned media and stan
     lated with 10% FCS at "0" hours. [^H]-thymidine (5       dards were assayed in the presence of 10% FCS in DMEM.
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 65 of 67 PageID# 85



                                                              5,811,447
                                73                                                                   74
     This assay was linear for TGF-beta concentrations in the            stimulated vascular smooth muscle cells by increasing the
     range from 0.1 ng/ml to 20 ng/ml in the presence of 10%             time taken to traverse the Gj to M phase of thecell cycle.
                      .                                                     Based upon these results, it appeared that tamoxifen
       RNA Preparalion and Nonhern Analysis. Total cytoplas- exhibited effects similar to those previously described for
     mic RNA was isolated bam cultured vascular ^ooth s TGF-beta (see, for example, Assoiao etal., J. Cell. Btol.,
     ^5-288, ^^oo'
                1991f V"•                               V
                      Northern ^nalysK was petformed by cte-             119:            1986) with respect to proliferation
                                                                                                                 ^           of sub-
     •fTaa huffpr
     in                                IH H 20 mM 3-(N-
           buffer contaming 2.2M formaldehyde,                           serum. Tamoxifen
                                                                                  r l     is known
                                                                                               •   to induce
                                                                                                        n i- TGF-beta
                                                                                                                  j activity
                                                                                                                      -l    r in
     morpholino)propa..es»lfonic acid, 1 mM EDTA, 5 .^M                    breast carcnoma <«U Imes as deserted, for
     sodiljmace;L and0.5micrograms/mlethidium b.omide.
     •n.e integrity of the RNA was checked by visualizing the gel Con^uently, expenmentauon was conducted to determine
     under UV illumination prior to transfL onto Hybond N                                           "t proMeration of
     (available Crom Pharaiacia LKB) as specified by the manu-                    '""X"":             ^ ""'""fTGfbeu activity.
                                                        v-^ et al.,
     tacturer. rilters were hybridized as described m Kemp      ,i ir When
                                                                       , . , quiescent vascular
                                                                                              • smooth
                                                                                                  .u      muscle ccells
                                                                                                                      mwere- stimu-
                                                                                                                                  i
     »• /        r OT7
     7iiocrte/H.J.,      IOC 100 if»f>i using
                    277:285-288,1991,      • a [P]-oligolabeled
                                                         r i u i j    .'^ted With 10%
                                                                                    . ,«PCS • m the presence
                                                                                                       , ,      of...50 micromolar
                     , , ,    .             j-    .       •     -1     tamoxifen and 10 micrograms/ml neutralizing antiserum
     mouse TGF-betal probe corresponding to ammo acids                     . ,       , ..      ,,           . . . ,u
     /-o no   •  .u               •    flu       u  . I    1  .
     68-228 in the precursor region of the TGF-betal polypeptide  j    against TGF-beta, the cells proliferated
                                                                                                     r .l     i at l-
                                                                                                                    the, same
                                                                                                                           i rate as
     as set forth in Millan et al.. Development, 111: 131-144.                                           ^'^anol vehicle alone.
       Results. Vascular smooth muscle cells from the aorta of ,o .                                                               P*"""
     adult rats proliferate with acell cycle lime of approximately "                                  ^ tamoxifen, such cells were
     35 hours in DMEM+10% FCS (see. for example, Grainger                  tamoxifen for 96 hours in the presence of 10%
     etal.,^wc/z^/«.J.,277:145-151,1991).Additionoftamox-                 conditioned medium w^ then collected and
     ifen decreased the rate ofproliferation with maximal inhi- TGF-beta activity was determmed by the modified mink
     bition at concentrations above 33 micromolar. 50 micromo- ,5   ep"helial (Mvl^) cell assay described above. Tamox-
     lar tamoxifen concentrations produced an increase in cell "                                                 •"
     number (96 houre following the addition ofserum) that was                                       micromolar) in fresh
     reduced by 66%+/-5.2% (n=3). The slower rate of prolif- DMEM+10% FCS to the MvLu cells had no effect on DNA
     eration was hypothesized to stem from acomplete blockage synthesis, demonstrating that tamoxifen did not induce
     of proliferation for a proportion of the vascular smooth 30 Production ofactive TGF-beta by the MvLu cells.
     muscle cells or from an increase in the cell cycle time of all         TGF-beta isproduced as a latent propeptide which can be
     of thecells. To distinguish between these possibUities, the         activated outside the ceU by proteases such as plasmin. To
     proportion ofthe cells passing through Mphase and the time          determine whether tamoxifen increased TGF-beta activity
     course of entry intocell division were determined.                  bypromoting the activation of latent TGF-beta or bystimu-
       Quiescent vascular smooth muscle cells were stimulated 35         ^^ting the production of the latent propeptide which was
     with DMEM+10% FCS in the absence or presence of 33          subsequently activated, the total latent plus active TGF-beta
     micromolar tamoxifen, with the cell number being deter-     Present m the conditioned medium was determined by
     mined at 8 hour intervals by time lapse photomicroscopy. In sandwich ELISA as described above. After 96 hours in the
     the presence ofethanol vehicle alone, more than 95% ofthe   presence of tamoxifen (50 micromolar), the total TGF-beta
     vascular smooth muscle cells had divided by 40 hours, 40                          increased by approximately 4-fold,
     whereas there was no significant increase incell number in  Furthermore, the proportion of the TGF-beta present in
     the presence oftamoxifen until after 48 hours. By 64 hours, ^^tive form was increased from <5% in the medium condi-
     however, more than 90% of the cells had divided in the                     on vascular smooth muscle cells in the presence of
     presence of tamoxifen. The time taken for 50% of the cells          ethanol vehicle alone toapproximately 35% in the medium
     to divide after stimulation by serum was increased from 45 conditioned on cells treated with tamoxifen. Thus, tamox-
     35+/-3 hours (n=7) to 54+/-2 hours (n=3) by 33 micromolar       ^PP^^rs to increase TGF-beta activity in cultures of rat
     tamoxifen. Since tamoxifen did not significantly reducc the vascular smooth muscle cells by stimulating the production
     proportion ofcells completing the cell cycle and dividing, oflatent TGF-beta and increasing the proportion ofthe total
     inhibition ofvascular smooth muscle cells caused by tamox-  TGF-beta which has been activated.
     ifen appears to be the result of an increase in the cell cycle 50     Heparin increases TGF-beta activity in medium condi-
     timeof nearly all (>90%) of the proliferating cells.                tioned on vascular smooth muscle cells (unpublished data).
       To determine whether tamoxifen increased the duration of          The mechanism of action of heparin in this regard appears
     the cell cycle of vascular smooth muscle cells by increasing to involve the release ofTGF-beta from inactive complexes
     the duration of the Gq toS phase, the effect of tamoxifen on present in serum, because pretreatment of serum with hep-
     entry into DNA synthesis was analyzed. Tamoxifen at con- 55       immobilized on agarose beads is as effective as direct
     centrations upto 50 micromolar did not significantly affect  addition of free heparin to the cells. To determine whether
     the time course or the proportion of cells entering DNA      tamoxifen acts to release TGF-beta from sequestered com-
     synthesis following serum stimulation ofquiescent vascular   plexes inserum which are not immunoreactive inthe ELISA
     smooth muscle cells(DNA synthesis between 12 hours and       assay, 10% FCS+DMEM was treated with 50 micromolar
     24 hours after stimulation was measured by[^H]-thymidine 60 tamoxifen for 96 hours at 37° C. in the absence of cells,
     incorporation: control at17614+/-1714cpm; 10micromolar              Medium treated in this way contained similar levels of
     tamoxifen at16898+/-3417cpm; and 50micromolar tamox-                TGF-beta protein and activity to untreated medium. It
     ifen at 18002+/-4167 cpm). Since the duration ofS phase is          appears, therefore, that tamoxifen, unlike heparin, does not
     approximately 12hours (unpublished data), tamoxifen does            fct by releasing TGF-beta from inactive complexes present
     not appear to have significantly impacted the time course of 65   serum.
     entry into DNA synthesis. These results therefore imply that     ITae content of TGF-betal mRNA was also analyzed by
     tamoxifen decreases the rate of proliferation of serum-         Northern analysis at various time points after addition of
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 66 of 67 PageID# 86



                                                              5,811,447
                               75                                                                       76
     lamoxifen. Subcultured rat vascular smooth musclc cells                changes can be made therein without departing from the
     (6th passage in exponential growth) in the absence or                  spirit and scope of the invention.
     presenceof ethanol vehicle alone contain very little mRNA                What is claimed is:
     for 1GF-betal. By 24 hours after addition oftamoxifen (10                j       method for biologically stenting amammalian blood
     micromolar), TGF-betal mRNA was increased approxi- 5                                            comprises:
     mately 10-fold.
       Although TGF-beta decreases the rate ofproliferation of                administering to the blood vessel ofa mammal cytocha-
     vascular smooth muscle cells, it does not affect the rate of                 lasin B or a cytochalasin that is a functional analog of
     proliferation of fibroblasts. Tamoxifen at concentrations of                 cytochalasin B in an amount and for a period of lime
     up to 50 micromolar did notreduce the rate of proliferation 1°               effective to inhibit the contraction of vascular smooth
     of subcultured adventitial fibroblasts. Tamoxifen is therefore               muscle cells while not eliminating their ability to
     a selective inhibitor of vascular .smoothmuscle proliferation                secrete extracellular matrix.
     with an EDjo at least 10-fold lower for vascular smooth                   2. The method of claim 1 wherein the vessel is subjected
     muscle cells than for adventitial fibroblasts.                         to angioplasty.
                                                                              3. The method of claim 1 wherein the cytochalasin is
                                Citations                                   infused to achieve a concentration of about 10"^ to 10"^"M.
       1. Popma, J.J.etal. 1990. Factors influencing restenosis               4. The method of claim 1 wherein the cytochalasin is
     after coronary angioplasty. Amer. J. Med. 88: 16N-24N.                 locally administered in one or more doses.
       2. Fanelli, C. et al. 1990. Restenosis following coronary 20                                         ^                 cytochalasin is
     angioplasty. Amer. Heart Jour. 119: 357-368.                           admimstered by catheter.
                                                                              6. The method of claim 1 wherein the cytochalasin is
       3. Johnson, D. E. et al. 1988. Coronary atherectomy:
                                                                            administered in solution.
     Light microscopic and immunochemical study of excised                                                                          lj-
     tissue (abstract). Circulation 78 (Suppl. II):• 11.82.
         , , .                                        r               ->5
                                                                            . Tl"=                       1t"'"'" cotitpristng the adm..i-
                                                                            istration of a cytostatic agent m a sustained release dosage
       4. Lm, M. W. et al. 1989. Restenosis after coronary                                              &                                     &
     angioplasty; Potential biologic detenminants and role of                     "        . . r i -            i.   • .u     . .
             uJ'u.;. Circulation 70.
     intimal hyperplasia.            79: 1
                                         1374—1387.                           S.Themethod of claim 7 wherein thecytostatic agent is
                                                                            effective to inhibit cellular proliferation subsequent to stent-
        5. Clowes, A. W. et al. 1985. Significance of quie.sccnt
     smooth muscle migration in the injured rat carotic artery.                                .•           j          - •       • #• •
     Circ Res 56- 139-145                                  30                 9. A therapeutic method comprising maintaining or
                                                                            expanding blood vessel luminal area by systemically admin-
       6. Goldman B. el at. 1987. Influence of ptessure on                           ^                           cytochalasin B
     permeabdity otnormal and dtsea^ muscular arteriK to           ^cytochalasin that is afunctional analog of cytochalasin
     horseradish peroxidase; A new catheter approach. Athero-    ^
     sclerosis 65. 215 225.                                   35          method of claim 9wherein the cytostatic agent
        7. Wolinsky, H. et al. 1990. Use ofa perforated balloon             comprises cytochalasin Bor a cytochalasin that is a func-
     catheter to deliver concentrated heparin into the wall of the          lional analog thereof
     normal canine artery. JACC 15 (2): 475^81.                           ^      lugthod of claim 10wherein thesustained release
       8. Nabel, E. G.et al. 1989. Recombinant gene expression         formulation comprises microparticles or nanoparticles com-
     in vivo within endothelial cells of the arterial wall. Science 40 posing say cytochalasin Borsaidfunctional analog thereof.
     244: 1342-1344.                                                          12. A method for biologically stenting a mammalian
       9. Middlebrook, J. L. et al. 1989. Bindingof T-2 toxin to            blood vessel, which methodcomprises administering to the
     eukaryotic cell ribosomes. Biochem. Pharm. 38(18):                     blood vessel of a mammal a cytoskeletal inhibitor in an
     3101-3110.                                                             amount and for a period of time effective to inhibit the
        10. Barbacid, M. et al. 1974. Binding of [acetyl-"C]                contraction or migration of the vascular smooth muscle
     trichodermin to the peptidyl transferase center ofeukaryotic           cells.
     ribosomes. Eur. J. Biochem. 44: 437-444.                                 13.Themethod of claim 10 wherein thecytostatic agent
                                    A
       11. Sclingemann et al. 1990. Am. J.T Pathol.
                                            n .u 1 136:
                                                    IK.                     comprises taxol
                                                                                         l or
                                                                                            j ar Structural
                                                                                                  i •       analog
                                                                                                             l   • thereof.
                                                                                                                   .l     . • j           ^
     1393-1405                                                                        ^method of claim 10 wherein the sustamed release
                                                                            formulation comprises microparticles or nanoparticles com-
       12. Steele P. M., Chesebro J. H., Stanson A. W., et al.              prising said cytochalasin Bor said functional analog thereof.
     1985. BaUoon angioplasty: natural history of the patho-                  ^5                            ^                administration of
     physiological response to injury in a pig model. Circ. Res.            cytochalasin B or a functional analog thereof is before,
     57:105-112.                                                            during orafter the trauma.
       13. Schwartz, R. S., Murphy J. G., Edwards W. D., 55                   16. The method of claim 10 wherein the administration of
     Camrud A. R.,Vliestra R. E.,Holmes D.R. Restenosis after               cytochalasin B or a functional analog thereof is before,
     balloon angioplasty. A practical proliferative model in por-           during or after the trauma.
     cine coronary arteries. Circulation 1990; 82:2190-2200.                  17. The method of claim 16 wherein the administration of
        14. Bumol, T. F. and R. A. Reisfeld. 1982. Unique                   cytochalasin B or a functionalanalog thereofand the admin-
     glycoprotein-proteoglycan complex definedby monoclonal                 istration of the cytostatic agent is simultaneous.
     antibody on human melanoma cells. Proc. Nail. Acad. Sci.                  18.The method of claim10 wherein the administration of
     USA 79:1245-1249.                                                      the cytostatic agent is before or after the trauma.
     While the preferred embodiment of the invention has been
     illustrated and described, it will be appreciated that various                                 *****
Case 1:15-cv-01673-TSE-TCB Document 1-1 Filed 12/21/15 Page 67 of 67 PageID# 87




                   UNITED STATES PATENT AND TRADEMARK OFFICE
                         CERTIFICATE OF CORRECTION
      PATENT NO.: 5,811,447

      DATED:          Sep. 22, 1998
      INVENTOR{S) Kunz

           Itiscertified that enor appears in the above-identified patent and that said Letters Patent ishereby
      corrected as shown below:


         Claim 1, column 76, line 4, please insert -traumatized- after "biologically stenting a" therefor.


         Claim 14, column 76, line 50, please delete "formulation" and insert -form- therefor.


         Claim 14, column 76, line51, please delete first instance of "said".


         Claim 14, column 76, line 51, please delete "said ftinctional" and insen -a functional- therefor.




                                                                                Signed and Sealed this
                                                                        Twentieth Day of February, 2001


                                          Attest:



                                                                                          NICHOLAS P.CODICI


                                          Attesting Officer            Acli.,s Diwtor of tUe UmrcJ Sicie, Palem and Trademark OJfivt
